     Case 5:22-cv-01648-JLS-KS Document 1 Filed 09/19/22 Page 1 of 112 Page ID #:1



1    Michele Casillas and Jason Casillas
2    P.O. Box 81 Running Springs, CA 92382                              09/19/2022
3    Casillas.ca.1722@gmail.com                                               AP




4
     (949) 872-9462 or (949) 872-9466
     Plaintiff in Pro Per
5

6

7                            UNITED STATES DISTRICT COURT
8                           CENTRAL DISTRICT OF CALIFORNIA
9

10   Michele Casillas and Jason Casillas,              Case No.: 5:22-cv-01648-JLS(KS)
11                     Plaintiff,
                          v.
12   The County of Riverside; Judge Kristi E.
                                                       CIVIL RIGHTS COMPLAINT OF
13   Hester, as an individual and in her official
     capacity; Judge Arthur Hester, as an individual DAMAGES PURSUANT TO 42 U.S.C. §
14   and in his official capacity; Judge Mickie E.     1983
15
     Reed, as an individual and in her official
     capacity; Judge Randolph Rogers, as an
16   individual and in his official capacity; Judge
     Gregory Olson, as an individual and in his        JURY TRIAL DEMANDED: √YES NO
17
     official capacity; Appointed Minor’s Counsel
18   Carol Lee Adams, as an individual and in her
     professional capacity; The Law Offices of
19
     Adams and Clark, as a business entity; Social
20   Worker Stephanie Kocis, as an individual and in
     her official capacity; The Riverside County
21
     DPSS/Child Protective Services, as a business
22   entity; Victoria Lopez as an officer of the court
     and as an individual; The County of San
23
     Bernardino; Social Worker Jeanne Sierra-
24   Leyva, as an individual and in her official
     capacity; Lisa Wilson, as an individual; Maria
25
     Nordin, as an individual; Venetia Dahlman, as
26   an individual; Richard Ortiz Jr., as an
     individual;
27
                      Defendant(s).
28           Plaintiff, Michele Casillas, and Jason Casillas (“Casillas”), by way of complaint against
     CIVIL RIGHTS COMPLAINT - 1
     Case 5:22-cv-01648-JLS-KS Document 1 Filed 09/19/22 Page 2 of 112 Page ID #:2



1    (“Defendants”), Kristi E. Hester, Arthur Hester, Mickie E. Reed, Randolph Rogers, Gregory
2    Olson, Stephanie Kocis, Lisa Wilson, Jeanne Sierra-Leyva, Carol Lee Adams, Victoria Lopez,
3    Maria Nordin, Venetia Dahlman, Richard Ortiz Jr., alleges as follows:

4                                          I. INTRODUCTION
5       1. Casillas brings this action to enforce 18 U.S.C. § 3283 offenses against children no statute
     of limitations due to the offense involving the physical abuse and kidnapping of a child without a
6
     cause under eighteen years of age. In which it is prohibited by the Fifth Amendment to the
7
     United States Constitution. The County of Riverside Kristi Hester, Mickie E. Reed, Carol
8
     Adams, and Richard Ortiz Jr., defendants, willfully, fraudulently, and maliciously abducted
9
     Meilani from her mother, Michele, and concealed her from Michele, and effectively deprived
10
     Michele of her god given child of the society and services of Meilani. It is illegal to maliciously
11   remove a child from his or her parent or legal guardian as stated under California Penal Code §
12   278 PC and under California Penal Code § 278.5 PC to maliciously deprive another adult of
13   his/her lawful right to custody of, or visitation with, a child. Defendant Hester bias and prejudice

14   orders to remove the minor child from her primary home without consent from Plaintiff seizure
     implicating the Fourth Amendment. Deprives Plaintiff rights to be protected under 42 U.S.C. §
15
     1983 and willfully deprived a right or privilege protected under 18 U.S.C. § 242 acts done
16
     beyond the bounds of that official's lawful authority.
17
        2. Plaintiff alleges that defendant Carol Adams, as court appointed Minor’s Counsel
18
     employed with County of Riverside, conspired to provide false and misleading reports to the
19
     County of Riverside Superior Court of California. Adams violates 18 U.S.C. § 371 forged,
20   altered, prepared, submitted, and filed with the Riverside Superior Court; Larson Justice Center
21   due to the history of abusing its discretion by targeting minor child. The fraudulent documents
22   were filed as an Emergency Ex-Parte by Minor’s Counsel, Adams that would violate under the

23   Constitutional Rights, Federal Tort Claims Act, Procedural Tort, Conversion Tort, Defamation of
     Character, and 8 U.S.C. § 1324c (a)(1)(2)(5) to conceal Respondent Ortiz misconduct and to
24
     intentionally obtain minor child. Defendant Carol Adams is a California lawyer who represented
25
     minor child Meilani Ortiz in proceedings in the Superior Court of California. Plaintiff was
26
     unfairly targeted by the
27

28
     CIVIL RIGHTS COMPLAINT - 2
     Case 5:22-cv-01648-JLS-KS Document 1 Filed 09/19/22 Page 3 of 112 Page ID #:3



1    County of Riverside Superior Court Laron Justice Center and victims of crimes for the court’s
2    deprivation of Constitutional Rights, Federal, and State Statutory Rights.
3       3. Plaintiff alleges that defendant Kristi Hester, as Judge employed with the County of

4
     Riverside, violates Mrs. Casillas and minor child American with Disabilities Act, Human Rights
     Act, First Amendment, Due Process Clause in both the Fifth and Fourteenth Amendment, Eighth
5
     Amendment being cruel and unusual punishment resulted in unacceptable suffering, pain, and
6
     humiliation in society for the loss of her child. Where actions occurred under color of state law
7
     for the deprivation of constitutional protection. Thus, makes it a Constitutional and Federal
8
     Statutory question when a judge acts as a trespasser of the law and intentionally denies equal
9    protection that failed to obtain substantial justice. That has caused a minor child’s ongoing abuse
10   being physical, psychological, and child abduction due to the Legal Abuse Syndrome.
11      4. Due to this discretion in the state courts that lead to this suit being filed in Federal Court
12   for civil rights violations under 42 U.S.C § 1983 in connection with the custody dispute in the

13
     Superior Court of California; fraud on the Superior Court of California; negligence occurred
     resulting in emotional stress “due to the fact that Plaintiff’s minor child was forced to live with
14
     Defendant Ortiz”; negligence against the County of Riverside, California, arising from the
15
     conduct of its agents and employees; intentional infliction of emotional distress arising from the
16
     custody proceedings held at the County of Riverside Superior Court Larson Justice Center and
17
     the placement of the child with her abusive father; a defamation claim (it is not clear where the
18   alleged defamatory statements were made); a claim for “child endangerment” due to the
19   placement of the child with her father with a history of domestic violence within the last five
20   years under California Family Code § 3044; and a claim for tortious interference with contract
21   based on defendants’ alleged interference with a contract to marry between plaintiff Casillas.

22
        5. Casillas brings this action where judicial discretion was used to cover up and ignored for
     extortion. Constitutional law states the government principle of our constitutional democracy is
23
     that all the officers of government from the lowest are creatures of the law and are bound to obey
24
     it. There is no man or woman in the country so high that he or she is above the law and where the
25
     abuse of power, no rule of law, no accountability, there is abuse, corruption, subjugation,
26
     indignation. No officer of the law may set the law at defiance with impunity. see. Butz v.
27   Economou, 438 U.S. 478, (1978). Casillas states, “I would rather be threatened with jail than to
28
     CIVIL RIGHTS COMPLAINT - 3
     Case 5:22-cv-01648-JLS-KS Document 1 Filed 09/19/22 Page 4 of 112 Page ID #:4



1    be threatened with the loss of my child.” No parent shall endure the pain of losing a child due to
2    fraud upon the court at the County of Riverside Superior Court Larson Justice Center.
3        6. Due to this case involving a minor child at the age of seven years old that was taken away

4
     from her primary parent Mother and Plaintiff Michele Casillas based on false claims and fraud
     upon the court. Minor child was diagnosed with type one diabetes and hospitalized while under
5
     the care of minor child Father and Defendant Richard Ortiz Jr. Judge and Defendants Kristi
6
     Hester and Mickie E. Reed discriminating orders that would completely ignore the Constitutional
7
     Due Process Clause. Defendants interfered by threat, intimidation or coercion with Plaintiff’s
8
     Constitutional rights. Defendants had child taken away from mother while under the care of
9    Loma Linda Children’s Hospital. County of Riverside Superior Court violates Plaintiff minor
10   child for having a medical disability that falls under The Americans with Disabilities Act of 1990
11   or ADA (42 U.S.C. § 12101) is a civil rights law that prohibits discrimination based on
12   disability. It affords similar protections against discrimination to Americans with disabilities as

13
     the Civil Rights Act of 1964.
         7. Therefore, Casillas brings this action suit in which the plaintiff requires the court to
14
     declare law unconstitutional Civil Rights under section 42 of the Civil Rights Act. Where a case
15
     shall lay with providing the court with legal documents to establish standing by showing as proof
16
     of violations. Being material fact in plaintiffs dispute as victims in civil dispute that is entitled to
17
     a legal right. A form of legally binding preventive adjudication by which all parties involved in
18   actual legal matters in pari delicto. Please take judicial notice that Mr. and Mrs. Casillas have a
19   clear background. Mr. Casillas works for California Department of Forestry and Fire Protection.
20   Mrs. Casillas has even worked for The Department of Corrections and Rehabilitations and in her
21   third year of college pursuing her career for a Bachelor of Science in Nursing. Zero criminal

22
     record of any kind nor ever having any sort of substance abuse and a clear driving record.

23
                                  II. JURISDICTION AND VENUE

24       8. This court has complete jurisdiction under 28 U.S.C. § 1331 the district courts shall have
25   original jurisdiction of all civil actions arising under the United States Constitutional Law, 28
26   U.S.C. § 1343 district courts shall have original jurisdiction of any civil action because of the

27
     deprivation of any right or privilege of a citizen of the United States. Harman v. Superior Ct of
     the State California 307F 2.d 796 (1962). Where a claim under civil rights act expressly gives
28
     CIVIL RIGHTS COMPLAINT - 4
     Case 5:22-cv-01648-JLS-KS Document 1 Filed 09/19/22 Page 5 of 112 Page ID #:5



1    the district court jurisdiction, no matter how imperfectly the claim is stated. This suit's cause of
2    actions for damages is in excess of $75,000.00, as required by 28 U.S.C. § 1332. Federal
3    question jurisdiction arises pursuant to 42 U.S.C. § 1983 Article III, section 2, clause 1 federal

4
     judicial power shall extend to all cases, in law and equity arising under Constitutional Law of the
     United States; and The First, Fourth, Fifth, Eighth, and Fourteenth Amendments is the most
5
     common basis or right against cruel and usual punishment, and a fair due process that have been
6
     significantly impacted. This complaint of Habeas Corpus for and by a child detained in the
7
     unlawful State of California and under the American of Disabilities Act of 42 U.S.C. § 12101.
8
        9. Venue is proper pursuant to 28 U.S.C. § 1391 because (a) Applicability of section. (1) (2)
9    (b) (1) (e) Actions where the defendant is an officer or employee of the United States (1) In
10   general, (2) Service. Venue is proper in the Central District in that the events and conduct
11   complained of herein all occurred in the Central District. 47 U.S.C. § 33 The District Court of
12   the United States shall have jurisdiction over all offenses against the cause of actions and

13
     offenses of this chapter and of all suits of civil nature arising there under.

14
                                   III. PARTIES to This Complaint

15   A. The Plaintiff(s)
16      10. Plaintiff Michele Casillas and Jason Casillas reside at: P.O. Box 81 Running Springs, CA
17   92382.

18
     B. The Defendant(s)
        11. Defendant Kristi E. Hester works at Larson Justice Center - Superior Court of Riverside
19
     County. Defendant’s title or position is Judge in the Family Law Division.
20
     This Defendant is sued in his/her (check one or both): √ individual capacity √ official capacity
21
     This Defendant was acting under color of law because: The victim’s civil rights, and those rights
22
     were so clearly established that a reasonable judge would have known their conduct was a
23   violation. Being a state actor, the defendant conduct was intentional or showed extreme
24   indifference to the rights of others due to conspiring with other government officials. Therefore,
25   violating Plaintiff’s First Amendment, Eighth Amendment, and Fourteenth Amendment of the
26   United States Constitution. Defendant interfered with Plaintiff’s federal or state constitutional or

27
     statutory rights by using threats, intimidation, or coercion with that Plaintiff’s constitutional
     rights. Thus, neglected her duties and or professional conduct as a state actor or official to protect
28
     CIVIL RIGHTS COMPLAINT - 5
     Case 5:22-cv-01648-JLS-KS Document 1 Filed 09/19/22 Page 6 of 112 Page ID #:6



1    the minor child deprivation of rights and violated the child’s substantive due process by failing to
2    investigate several suspicious events during the period when she was directly responsible for the
3    child.

4
         12. Defendant Arthur Hester works at Palm Springs Court - Superior Court of Riverside
     County. Defendant’s title or position is Judge in Small Claims, Unlawful Detainers, Limited
5
     Civil, Name Changes, and Civil Harassments.
6
     This Defendant is sued in his/her (check one or both): √ individual capacity √ official capacity
7
     This Defendant was acting under color of law because: The victim’s civil rights, and those rights
8
     were so clearly established that a reasonable judge would have known their conduct was a
9    violation. Being a state actor, the defendant conduct was intentional or showed extreme
10   indifference to the rights of others due to conspiring with other government officials. Therefore,
11   violating Plaintiff’s First Amendment, Eighth Amendment, and Fourteenth Amendment of the
12   United States Constitution. Defendant interfered with Plaintiff’s federal or state constitutional or

13
     statutory rights.
         13. Defendant Mickie E. Reed works at Larson Justice Center - Superior Court of Riverside
14
     County. Defendant’s title or position is Judge in Family Law Division and DCSS
15
     Family Support.
16
     This Defendant is sued in his/her (check one or both): √ individual capacity √ official capacity
17
     This Defendant was acting under color of law because: The victim’s civil rights, and those rights
18   were so clearly established that a reasonable judge would have known their conduct was a
19   violation. Being a state actor, the defendant conduct was intentional or showed extreme
20   indifference to the rights of others due to conspiring with other government officials. Therefore,
21   violating Plaintiff’s First Amendment, Eighth Amendment, and Fourteenth Amendment of the

22
     United States Constitution. Defendant interfered with Plaintiff’s federal or state constitutional or
     statutory rights by using threats, intimidation, or coercion with that Plaintiff’s constitutional
23
     rights. Thus, neglected her duties and or professional conduct as a state actor or official to protect
24
     the minor child deprivation of rights and violated the child’s substantive due process by failing to
25
     investigate several suspicious events during the period when she was directly responsible for the
26
     child.
27       14. Defendant Randolph Rogers works at Michael Antonovich Antelope Valley Courthouse
28   - Superior Court of Los Angeles County. Defendant’s title or position is Honorable Judge.
     CIVIL RIGHTS COMPLAINT - 6
     Case 5:22-cv-01648-JLS-KS Document 1 Filed 09/19/22 Page 7 of 112 Page ID #:7



1    This Defendant is sued in his/her (check one or both): √ individual capacity √ official capacity
2    This Defendant was acting under color of law because: The victim’s civil rights, and those rights
3    were so clearly established that a reasonable judge would have known their conduct was a

4
     violation. Being a state actor, the defendant conduct was intentional or showed extreme
     indifference to the rights of others due to conspiring with other government officials. Therefore,
5
     violating Plaintiff’s First Amendment, Eighth Amendment, and Fourteenth Amendment of the
6
     United States Constitution. Defendant interfered with Plaintiff’s federal or state constitutional or
7
     statutory rights.
8
         15. Defendant Gregory Olson works at Larson Justice Center - Superior Court of Riverside
9    County. Defendant’s title or position is Commissioner in the Family Law Division and now
10   assigned as Traffic and In-custody Arrangements.
11   This Defendant is sued in his/her (check one or both): √ individual capacity √ official capacity
12   This Defendant was acting under color of law because: The victim’s civil rights, and those rights

13
     were so clearly established that a reasonable judge would have known their conduct was a
     violation. Being a state actor, the defendant conduct was intentional or showed extreme
14
     indifference to the rights of others due to conspiring with other government officials. Therefore,
15
     violating Plaintiff’s First Amendment, Eighth Amendment, and Fourteenth Amendment of the
16
     United States Constitution. Defendant interfered with Plaintiff’s federal or state constitutional or
17
     statutory rights by using threats, intimidation, or coercion with that Plaintiff’s constitutional
18   rights. Thus, neglected his duties and or professional conduct as a state actor or official to protect
19   the minor child deprivation of rights and violated the child’s substantive due process by failing to
20   investigate several suspicious events during the period when he was directly responsible for the
21   child.

22
         16. Defendant Stephanie Kocis works at Riverside Child Protective Services. Defendant’s
     title or position is Social Service Worker.
23
     This Defendant is sued in his/her (check one or both): √ individual capacity √ official capacity
24
     This Defendant was acting under color of law because: The victim’s civil rights, and those rights
25
     were so clearly established that a reasonable social worker would have known their conduct was
26
     a violation. Being a state actor or official the defendant conduct was intentional or showed
27   extreme indifference to the rights of others due to conspiring with government officials.
28   Therefore, violating Plaintiff’s First Amendment, Eighth Amendment, and Fourteenth
     CIVIL RIGHTS COMPLAINT - 7
     Case 5:22-cv-01648-JLS-KS Document 1 Filed 09/19/22 Page 8 of 112 Page ID #:8



1    Amendment of the United States Constitution. Defendant interfered with Plaintiff’s federal or
2    state constitutional or statutory rights. Defendant was aware of the minor child repeatedly
3    suffering abuse and injuries. Thus, neglected her duties and or professional conduct and or Code

4
     of Ethics as a state actor or official to protect the minor child deprivation of rights and violated
     the child’s substantive due process by failing to investigate several suspicious events during the
5
     period when she was directly responsible for the child.
6
        17. Defendant Lisa Wilson works at Desert Regional Medical Center. Defendant’s title or
7
     position is Social Worker.
8
     This Defendant is sued in his/her (check one or both): √ individual capacity √ official capacity
9    This Defendant was acting under color of law because: The victim’s civil rights, and those rights
10   were so clearly established that a reasonable social worker would have known their conduct was
11   a violation. Being a state actor or official the defendant conduct was intentional or showed
12   extreme indifference to the rights of others due to conspiring with government officials.

13
     Therefore, violating Plaintiff’s First Amendment, Eighth Amendment, and Fourteenth
     Amendment of the United States Constitution. Defendant interfered with Plaintiff’s federal or
14
     state constitutional or statutory rights. Defendant was aware of the minor child repeatedly
15
     suffering abuse and injuries. Thus, neglected her duties and or professional conduct and or Code
16
     of Ethics as a state actor or official to protect the minor child deprivation of rights and violated
17
     the child’s substantive due process by failing to investigate several suspicious events during the
18   period when she was directly responsible for the child.
19      18. Defendant Jeanne Sierra-Leyva works at San Bernardino County Children and Family
20   Services. Defendant’s title or position is Social Service Worker.
21   This Defendant is sued in his/her (check one or both): √ individual capacity √ official capacity

22
     This Defendant was acting under color of law because: The victim’s civil rights, and those rights
     were so clearly established that a reasonable social worker would have known their conduct was
23
     a violation. Being a state actor or official the defendant conduct was intentional or showed
24
     extreme indifference to the rights of others due to conspiring with government officials.
25
     Therefore, violating Plaintiff’s First Amendment, Eighth Amendment, and Fourteenth
26
     Amendment of the United States Constitution. Defendant interfered with Plaintiff’s federal or
27   state constitutional or statutory rights. Defendant was aware of the minor child repeatedly
28   suffering abuse and injuries. Thus, neglected her duties and or professional conduct and or Code
     CIVIL RIGHTS COMPLAINT - 8
     Case 5:22-cv-01648-JLS-KS Document 1 Filed 09/19/22 Page 9 of 112 Page ID #:9



1    of Ethics as a state actor or official to protect the minor child deprivation of rights and violated
2    the child’s substantive due process by failing to investigate several suspicious events during the
3    period when she was directly responsible for the child.

4
        19. Defendant Carol Adams works at Law Office of Adams & Clark. Defendant’s title or
     position is Appointed Minor’s Counsel.
5
     This Defendant is sued in his/her (check one or both): √ individual capacity √ official capacity
6
     This Defendant was acting under color of law because: The victim’s civil rights, and those rights
7
     were so clearly established that a reasonable Minors Counsel and Attorney for the State of
8
     California would have known their conduct was a violation. Being a state actor or official
9    attorney of record the defendant conduct was intentional or showed extreme indifference to the
10   rights of others due to conspiring with other government officials. Therefore, violating Plaintiff’s
11   First Amendment, Eighth Amendment, and Fourteenth Amendment of the United States
12   Constitution. Defendant interfered with Plaintiff’s federal or state constitutional or statutory

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     rights by using threats, intimidation, or coercion with that Plaintiff’s constitutional rights.
     Defendant was aware of the minor child repeatedly suffering abuse and injuries. Thus, neglected
14
     her duties and or professional conduct as a state actor or official to protect the minor child
15
     deprivation of rights and violated the child’s substantive due process by failing to investigate
16
     several suspicious events during the period when she was directly responsible for the child.
17
        20. Defendant Victoria Lopez works at the Larson Justice Center – Riverside Superior Court.
18   Defendant’s title or position is Court Clerk in Family Law Division.
19   This Defendant is sued in his/her (check one or both): √ individual capacity √ official capacity
20   This Defendant was acting under color of law because: The victim’s civil rights, and those rights
21   were so clearly established that a reasonable County Clerk would have known their conduct was

22
     a violation. Being a state actor or official the defendant conduct was intentional or showed
     extreme indifference to the rights of others due to conspiring with government officials.
23
     Therefore, violating Plaintiff’s First Amendment, Eighth Amendment, and Fourteenth
24
     Amendment of the United States Constitution. Defendant interfered with Plaintiff’s federal or
25
     state constitutional or statutory rights. Defendant was aware of the minor child repeatedly
26
     suffering abuse and injuries. Thus, neglected her duties and or professional conduct and or
27   Clerk’s Duties under FRCP Rule 45 as a state actor or official to protect the minor child
28   deprivation of rights. Defendant violated the child’s substantive due process by failing to
     CIVIL RIGHTS COMPLAINT - 9
     Case 5:22-cv-01648-JLS-KS Document 1 Filed 09/19/22 Page 10 of 112 Page ID #:10



1     investigate several suspicious events during the period when she was directly responsible for the
2     child due to her being minor child stepmother.
3        21. Defendant Maria Nordin works at Self-employed. Defendant’s title or position is

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      Supervised Visitation Monitor.
      This Defendant is sued in his/her (check one or both): √ individual capacity √ official capacity
5
      This Defendant was acting under color of law because: The victim’s civil rights, and those rights
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      were so clearly established that a reasonable Supervised Monitor would have known their
7
      conduct was a violation. Being a state actor or official the defendant conduct was intentional or
8
      showed extreme indifference to the rights of others due to conspiring with government officials.
9     Therefore, violating Plaintiff’s First Amendment, Eighth Amendment, and Fourteenth
10    Amendment of the United States Constitution. Defendant interfered with Plaintiff’s federal or
11    state constitutional or statutory rights by using threats, intimidation, or coercion with that
12    Plaintiff’s constitutional rights. Defendant was aware of the minor child repeatedly suffering

13
      abuse and injuries. Thus, neglected her duties and or professional conduct as a provider under
      California Rules of Court 5.20 to protect the minor child deprivation of rights and violated the
14
      child’s substantive due process by failing to investigate several suspicious events during the
15
      period when she was directly responsible for the child.
16
         22. Defendant Venetia Dahlman works at Self-employed/ Cloverdale Elementary School.
17
      Defendant’s title or position is Supervised Visitation Monitor/ School Counselor.
18    This Defendant is sued in his/her (check one or both): √ individual capacity √ official capacity
19    This Defendant was acting under color of law because: The victim’s civil rights, and those rights
20    were so clearly established that a reasonable Supervised Monitor and or School Counselor would
21    have known their conduct was a violation. Being a state actor or official the defendant conduct

22
      was intentional or showed extreme indifference to the rights of others due to conspiring with
      government officials. Therefore, violating Plaintiff’s First Amendment, Eighth Amendment, and
23
      Fourteenth Amendment of the United States Constitution. Defendant interfered with Plaintiff’s
24
      federal or state constitutional or statutory rights by using threats, intimidation, or coercion with
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      that Plaintiff’s constitutional rights. Defendant was aware of the minor child repeatedly suffering
26
      abuse and injuries. Thus, neglected her duties and or professional conduct as a provider under
27    California Rules of Court 5.20 to protect the minor child deprivation of rights and violated the
28    child’s substantive due process by failing to investigate several suspicious events during the
      CIVIL RIGHTS COMPLAINT - 10
     Case 5:22-cv-01648-JLS-KS Document 1 Filed 09/19/22 Page 11 of 112 Page ID #:11



1     period when she was directly responsible for the child.
2         23. Defendant Richard Ortiz Jr. works at Self-employed. Defendant’s title or position is
3     Handyman.

4
      This Defendant is sued in his/her (check one or both): √ individual capacity √ official capacity
      This Defendant was acting under color of law because: The victim’s civil rights, and those rights
5
      were so clearly established that a reasonable person would have known their conduct was a
6
      violation. Being a state actor or official the defendant conduct was intentional or showed extreme
7
      indifference to the rights of others due to conspiring with other government officials. Therefore,
8
      violating Plaintiff’s First Amendment, Eighth Amendment, and Fourteenth Amendment of the
9     United States Constitution. Defendant interfered with Plaintiff’s federal or state constitutional or
10    statutory rights. Defendant was aware of the minor child repeatedly suffering abuse and injuries
11    due to being the abuser. Thus, neglected his duties and or parental rights to protect the minor
12    child deprivation of rights due to history of domestic violence. Defendant violated the child’s

13
      substantive due process by being the abuser to the minor child during the period when he was
      directly responsible for the child due to emotionally, psychologically, and physically harming the
14
      minor child and or his own daughter.
15
            IV. WHERE THE GROUNDS OF RIGHTS/ LAWS THAT WERE
16
           VIOLATED IF X DID NOT OCCUR THEN Y WOULD NOT HAVE
17                              HAPPENED
18        24. The U.S. Supreme Court, in Scheuer v. Rhodes, 416 U.S. 232, 94 S. Ct. 1683, 1687

19    (1974) stated that, “When a state officer acts under a state law in a manner violate of the Federal
      Constitution, he or she comes into conflict with the superior authority of that Constitution, and
20
      he or she is in that case stripped of her official or representative character and is subjected in her
21
      person to the consequences of her individual conduct. The State has no power to impart to her
22
      any immunity for responsibility to the Supreme Authority of the United States.”
23
          25. “When any court violates the clean unambiguous language of the Constitution, a fraud is
24    perpetrated, and no one is bound to obey it." State v. Sutton. “Fraud upon the court” has been
25    defined by the seventh Circuit Court of Appeals to, “Embrace that species of fraud which does,
26    or attempts to, defile thee court itself, or is a fraud perpetrated by officers of the court so that the
27    judicial machinery cannot perform in the unusual manner its impartial task of adjudging cases

28    that are presented for adjudication.” Kenner v. C.I.R., 387 F.3d 689 (1968); 7 Moore's Federal
      CIVIL RIGHTS COMPLAINT - 11
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1     Practice, 2d ed., p. 512, 60.232. The Seventh Circuit further stated, “A decision produced by
2     fraud upon the court is not in essence a decision at all, and never becomes final.” It is a void.
3         26. During the proceedings in this case there have been numerous actions of misconduct and

4
      intentional retaliation discrimination 42 U.S.C. § 12203 towards Plaintiff Casillas. The average
      person looking at this situation would obviously see this as being illegal in violation of my civil
5
      rights and being bias by Defendant Hester toward Plaintiff Casillas. Completely based on
6
      unsupported fabricated and provable subordinated perjury by both defendants Adams and Ortiz.
7
      The Riverside Superior Court Larson Justice Center in which Defendant Hester did willingly
8
      listen to, accepted as true, and allowed defendant Adams to influence Hester violates her oath as
9     a judge 28 U.S.C. § 453. Each justice or judge of the Untied States shall take the following oath
10    or affirmation before performing the duties of his or her office.
11        27. It was apparent in Defendant Hester bias demeanor and attitude when depriving the
12    response of Casillas Constitutional Fourteenth Amendment Right. Thus, ignores Ortiz

13
      misconduct and causes prejudice unfair injuries being insomnia, anxiety, and depression.
      Plaintiff is seeking justice and compensation for being put through torture that is reckless and
14
      motivated by evil intent by the Riverside County Superior Court. Plaintiff still has not received
15
      the payment from Defendant Ortiz from the hearing that was held on June 25, 2020 and he shall
16
      be held in contempt of court Penal Code § 166 PC, FRCP Rule 70.
17
          28. Judgments have been made against Casillas without the proper legal due process. That
18    has been causing unfair and unjust injuries to Casillas and minor child. Casillas has been seeking
19    help since the year of 2012 from local law enforcement from the surrounding areas of the
20    Coachella Valley and the Riverside Superior Court Larson Justice Center from Defendant Ortiz.
21    Who has physically assaulted Mrs. Casillas while holding their one-year and a half-old daughter

22
      in her arms on January 01, 2014. Ortiz was arrested for Domestic Battery P.C.243(E)(1) and
      Vandalism P.C.594(a) but released after police report number LA140010021 from the officer M.
23
      Rodriguez ID number 4701. Who originally wanted to send this incident to the District Attorney
24
      office.
25
          29. Under case number INK 1201717 with the Larson Justice Center Defendant Ortiz was
26
      ordered to pay child support for minor child Meilani Ortiz. Time with Defendant as indicated on
27    guideline calculation results minor child spends twenty-one percent with Defendant Ortiz.
28        30. On January 17, 2013, Mrs. Casillas filed an Emergency Restraining Order on Defendant
      CIVIL RIGHTS COMPLAINT - 12
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1     Ortiz case number was filed under INV 1300054 with the Riverside Superior Court Larson
2     Justice Center. Temporary Restraining Order was granted till hearing set for February 11, 2013,
3     by Defendant and Judge Olson. The Court Finds: There is a risk that Richard F. Ortiz might take

4
      the children without permission because that parent: a. Has violated-or threatened to violate-a
      custody or visitation order in the past; d. Has a history of- Domestic Violence, Not cooperating
5
      with the other parent in parenting.
6
         31. The Court Orders: Child Custody is ordered as follows: Child’s Custody is ordered as
7
      follows: Child’s Name: Meilani Ortiz Legal Custody to Mom; Physical Custody to Mom. No
8
      Visitation to Dad. Personal Conduct Orders was granted as follows: a. You must not do the
9     following things to the person: Harass, attack, strike, threaten, assault, hit, follow, stalk, contact,
10    either directly or indirectly, in any way. Stay-away orders were granted that Ortiz to stay at least
11    one hundred yards from person, home, vehicle, job, and the child school.
12       32. On February 11, 2013, hearing was held for Permanent Restraining Order that was filed

13
      by Mrs. Casillas at the Riverside Superior Court Larson Justice Center in department 2E with
      Defendant and Judge Olson. Casillas witness Veronica Ortiz was sworn and testified against
14
      Defendant Ortiz. Veronica Ortiz is Defendant Ortiz Mother. Casillas witness stated on court
15
      record, “Her son Richard Ortiz Jr. grabbed her by the throat and slammed her to the floor.” “He
16
      continued to call me a fucking bitch and yelling at me as I was laying on the living room floor!"
17
      Ms. Ortiz stated her son suffers from Bi-polar after his father passed.
18       33. After witness testified the court finds the Petitioner has not met the burden of proof and
19    denied the Domestic Violence Restraining Order against Defendant Ortiz. Defendant Olson
20    violates California Family Code § 3031(a) by making a custody or visitation order that is
21    inconsistent with the emergency protective order. For the existence of X would Y have accrued?

22
      Mrs. Casillas filed for an emergency protective order then was denied, a year later Defendant
      Ortiz was arrested for domestic battery and vandalism.
23
         34. On January 01, 2014, Mrs. Casillas was picking up minor child after visitation with
24
      Defendant Ortiz. Defendant Ortiz was upset with Plaintiff because she did not want to drive to
25
      Indio, CA to pick up daughter due to the court order stating for both parties to meet at a public
26
      place in front of Starbucks in La Quinta, CA. Defendant Ortiz arrived and immediately tossed
27    daughter clothing at Plaintiff stating, “your daughter diaper wet.”
28       35. Ortiz was upset and stated toward Plaintiff, “I know you’re in Indio fucking other guys.
      CIVIL RIGHTS COMPLAINT - 13
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1     You are a whore and a slut and then turned to their one-year-old daughter and told her, sorry
2     your mother is a whore she should’ve never opened her legs.” Plaintiff told Ortiz not to talk like
3     that in front of their daughter. Ortiz placed his face directly in front of Plaintiff face yelling,

4
      “What are you going to do about it?” Plaintiff stated she was going to call the cops. Ortiz told
      Plaintiff, “Go ahead and call the cops; I don’t give a fuck about them!”
5
         36. Plaintiff had called the cops and Ortiz grabbed the phone away from Plaintiff threw it to
6
      the ground and stepped on the cell phone cracking the screen. Ortiz then grabbed Plaintiff right
7
      hand while twisting and digging his nails into Plaintiff hand. Defendant Ortiz told Plaintiff she a
8
      fucking bitch and a whore while holding their daughter in her left arms. Plaintiff cried and
9     begged for Defendant to let her go as he was hurting her hand and holding their daughter.
10    Plaintiff pulled her hand away from Ortiz and immediately put their daughter in her car seat.
11    After shutting the door Defendant then punched his fist into the car door where the minor child
12    was.

13
         37. The Riverside County Sheriff’s showed up and Plaintiff gave responding police officer
      Rodriguez a statement of what had happened. Plaintiff was asked if she wanted to press charges
14
      against Ortiz and he was placed under arrest for the crime of P.C. § 243 (e)(1) -Domestic Battery
15
      and P.C. § 594 (a) Vandalism. Responding officer that interviewed Plaintiff stated, “She
16
      appeared to be upset, scared, shaking and handed Plaintiff Marcy card and Shelter from the
17
      storm.” A week later Sergeant Vanderhoof from the Indio Police Department orders officer
18    Rodriguez to get a second report from Defendant Ortiz. Giving Ortiz a week to come up with an
19    alibi to then have the charges completely dropped.
20       38. The second interview with Ortiz was on January 04, 2014, in which officer M. Rodriguez
21    stated, “I was instructed by Sergeant Vanderhoof to call for a second statement.” Casillas is

22
      being punished without fundamental fairness and helpless with the ongoing violation of my
      Civil, Constitutional, Statutory, God given, and Substantial rights from the Riverside County
23
      DPSS/Child Protective Services, Indio, and Palm Desert Police Departments, and from the
24
      Riverside County Superior Court Larson Justice Center.
25
         39. Casillas would like to ask the court to take judicial notice that Defendant Ortiz is also in a
26
      relationship and has a child by the name of King Ortiz with Defendant Lopez which is a conflict
27    of interest. Due to Defendant Lopez working for the County of Riverside Superior Court Larson
28    Justice Center in the Family Law Division. Defendant Lopez should be held accountable for
      CIVIL RIGHTS COMPLAINT - 14
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1     Penal Code 45 CFR § 73.735-1003-(a)(b)(d) Conflicts of interest statutes. Defendant Lopez has
2     worked directly under Defendant Hester and in The Family Law Department at The Larson
3     Justice Center. Casillas would also like to ask the court to take judicial notice that Defendant

4
      Hester was acting as Deputy District Attorney as of October 03, 2005, through January 19, 2018.
      In which was during the time both cases Casillas had pleaded to The Riverside Superior Court
5
      Larson Justice Center of Ortiz misconduct and aggressive behavior. Therefore, was denied in
6
      both incidents when there was clear convincing evidence of Ortiz history pattern.
7
          40. This has been a one-sided continuing pattern of misconduct that can be seen in cases
8
      where litigants have been treated unfairly and ask for judicial officer Defendant Hester to recuse
9     herself for the complaints filed on the Family Court Services Department. The cases that have
10    been heard under Defendant Hester are at risk to be drawn out in such a matter that Mrs. Casillas'
11    case was handled. Cases that are not disposed of in an effective and timely manner causing
12    litigants to have to file and refile to create revenues for the court.

13
          41. Due to the corruption within the County of Riverside Superior Court and the clamor that
      has occurred regarding this ongoing drawn-out court abuse and legal abuse syndrome. Therefore,
14
      causing a form of post-traumatic stress disorder, caused by legal authorities fail to uphold their
15
      responsibilities to provide a fair venue for justice in which is a continued abuse of power,
16
      betrayal, or fraud within the legal system.
17
              V. CONSTITUTIONAL RIGHTS WILL BE USED THAT PERTAINS
18
                                       TO JUDGE DALE WELLS
19
              Ceballos v. Husk. 919 F .3d1204 .1215 (10th Cir.2019); Weigel v. Broad .544F .3d1143
20
      .1153 (10thCir.2008)
21        42. Judge Wells has a history of placing false statements in court records and perpetuating
22    false and fraudulent court records with the Riverside Superior Court against anyone who is
23    deemed to be a target parent. Judge Dale Wells has victimized children by retaliating against
24    parents, predominantly mothers, in the Riverside Superior Court, in the United States. Judge

25
      Wells' trademark is to issue non noticed Ex-Parte, declare mothers an immediate flight risk and
      remove their young children from them causing irreparable harm and trauma to children and
26
      their parents with the help of Minor’s Counsel Carol Adams. Judge Wells has a twelve-year
27
      history of precisely that pattern and is the judicial weapon of mass destruction in the Riverside
28
      CIVIL RIGHTS COMPLAINT - 15
     Case 5:22-cv-01648-JLS-KS Document 1 Filed 09/19/22 Page 16 of 112 Page ID #:16



1     Superior Court, Indio branch, in contravention of any valid family law standard.
2        43. Judge Wells makes a mockery and rapes the California legislature's intent that joint
3     custody is in the best interest of the child and dismisses all evidence of abuse. Children are non-

4
      sentient beings in Judge Wells' courtroom, where blood has to be on the floor in order for any
      need for a child to be addressed. Due process and the rudimentary application of civil code
5
      procedure and family law for any hearing is simply ignored. The court requires that litigants and
6
      attorneys adhere to the law. Judge Wells has specialized in abusing the law for his own
7
      vindictive purposes and continues as the malicious weapon of mass destruction of the Riverside
8
      Superior Court. Judge Wells still works for the Riverside Superior Court as of today in which my
9     case is being held at the same location.
10                                VI. STATEMENT OF THE CLAIM
11       44. On January 07, 2019, Mrs. Casillas filed a request for a Restraining Order on Defendant
12    Ortiz. Due to Ortiz repeatedly following, maliciously harassing, and stalking outside Casillas
13    residents on multiple occasions and showing up to residents unannounced. The temporary order

14    was denied and denied at the hearing on January 22, 2019, at the Riverside Superior Court
      Larson Justice Center by Defendant Hester. Casillas stated on court record and on documents
15
      filed for hearing that was held on January 22, 2019, that she feared for her life and safety. It was
16
      stressed by Casillas that Defendant Ortiz made credible threats to kill and bury Casillas body in
17
      windmills. Casillas' main concern was the safety of her daughter because Defendant Ortiz
18
      threatened to harm the child by taking the minor child away from mother if she ever left the
19
      Coachella Valley.
20       45. On March 20, 2019, Defendant Ortiz had obsessively attempted to file a Civil
21    Harassment Restraining Order on Mr. Casillas. Casillas was not properly served and deemed as
22    defective service under Federal Rule 12(b). The restraining order was granted until April 05,

23    2019, from the Palm Springs Court by Defendant Reed case number PSC 1906710 that violates
      providing proper service.
24
         46. On March 27, 2019, Defendant Kocis interviewed minor child at George Washington
25
      Elementary School in Palm Desert, CA. Minor child stated to Ms. Kocis under Drug and
26
      Alcohol: She described them as the following- “You drink a lot, you feel dizzy, go to bed and go
27
      to sleep, and that’s when you need to take pills.” Minor child stated to Kocis that father drinks all
28
      CIVIL RIGHTS COMPLAINT - 16
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1     the time and drives with her in the car. Minor child rated her safety on a scale 1-10 to be a one.
2     when she is in her father's care, and she is scared whenever she must go with him because he
3     drinks alcohol a lot. Defendant Kocis had also failed to mention in report referral number 0917-

4
      6731-5723-9038507 of how a minor child hates when her father drinks because he hits her, and
      she does not understand why he hits her, but it happened after he would drink beers. Kocis
5
      should be held accountable for not reporting this type of conduct as a mandated reporter for the
6
      Riverside County of Children’s Division. Defendant Kocis violates her Code of Ethics as a social
7
      worker ethical responsibilities as a professional working for the County of Riverside.
8
         47. On April 01, 2019, and on April 02, 2019, Casillas took the minor child to Desert
9     Regional Medical Center and Eisenhower Hospital. Due to a minor child having complaints of
10    extreme hip pain and superficial bruising of lower leg after coming back home from visitation
11    with defendant Ortiz over the weekend. Minor child had an X-ray on Pelvis and prescribed
12    ibuprofen for inflammation per Physician in the Emergency Room the day minor child was taken

13
      in to be accessed by medical professionals.
         48. On April 22, 2019, Plaintiff utilized help from Safe Family Justice Center of Riverside
14
      County in Temecula, CA to file a request for a Restraining Order. Which was denied stating that
15
      Plaintiff has a long history at the Indio court. Tried to get TRO three months ago and it was
16
      denied, and this case is vague to details. As plaintiff did provide incidents of abuse, such as what
17
      happened, the dates, who did what to whom, or any injuries and history of abuse with pictures
18    provided. Plaintiff also provided the hospital report when minor child was taken in due to
19    extreme hip pain and superficial bruising. At the hearing on May 10, 2019, at the Riverside
20    Superior Court Larson Justice Center in department 2E Defendant Hester denied the restraining
21    order based on no legal grounds. Plaintiff provided the hospital report and pictures, but defendant

22
      Hester didn’t acknowledge the proof Mrs. Casillas was providing during the hearing.
         49. On April 30, 2019, Defendant Ortiz filed a Request for Order on Mr. Casillas to not be
23
      allowed to be at exchanges at the Palm Desert Police Department. Order was denied by
24
      Defendant Hester and Plaintiff is allowed to be at exchanges and just needs to remain in the car.
25
         50. On May 19, 2019, Casillas took a minor child to hospital due to bruising on right forearm
26
      and a red swollen bump on forehead. After picking up the child from exchange at the Palm
27    Desert Police Department. At the hospital the minor child disclosed to mother, “Mom I hate my
28    life, I wish I wasn’t alive, and this is the worst day ever.” Doctors report clearly states trauma
      CIVIL RIGHTS COMPLAINT - 17
     Case 5:22-cv-01648-JLS-KS Document 1 Filed 09/19/22 Page 18 of 112 Page ID #:18



1     was caused due to blunt force trauma to Minor child. Emergency Room Doctor had the child talk
2     to a social worker where child let her know of father being verbally abusive and physically
3     abusive where child is scared to disobey him or else, she is punished if she does not do what he

4
      says.
        I.      Minor child could not stop crying of the pain that she has been put through that would
5
                escalate to being extremely serious after child spoke of suicidal words to Defendant and
6
                Social worker Wilson at Desert Regional Hospital in Palm Springs, CA. Defendant
7
                Wilson was clear when saying that she will be reporting this immediately. Defendant
8
                Wilson never filed a report even after knowing of the abuse but chose to ignore child's
9               emotional distress for help and neglected to follow through with the main objective as a
10              social worker by ignoring Ortiz misconduct. Defendant Wilson violates her Code of
11              Ethics as a social worker ethical responsibilities as a professional working for the County
12              of Riverside and Desert Regional Hospital.

13
       II.      The reason Casillas knew that Defendant Wilson did nothing was because two days later
                Casillas called to verify a complaint was made by Defendant Wilson and found that no
14
                complaint was made, nor did Casillas hear from her or anyone concerning the abuse. All
15
                information and documentation of abuse was brought to the Riverside Superior Court
16
                attention by Plaintiffs filing pleading of serious concerns to child safety and physical
17
                well-being. Due to the court's order being major changes to the child and are not in the
18              child's best interest. Causing stress and emotional depression to children from their
19              disruption in the child's life routine.
20           51. On June 02, 2019, Minor child disclosed on audio recording that defendant Ortiz has a
21    gun and stated, “I knew he was going to get a gun and try to hurt you and that she thinks he

22
      keeps it in the storage.” Minor child stated, “What if I was able to get into the storage and then
      he got the gun and picked it up and put it straight because I was looking for something?” Mother
23
      asked the minor child straight where? She then stated, “From back behind my head.” Mother
24
      asked the minor child, “Do you think you “the man” is going to shoot you? Minor child stated,
25
      “Well yeah can’t you see the flames in his eyes?” At this point minor child Meilani is clearly in
26
      substantial danger.
27      I.      Casillas had reached out to the only person who was truly trying to help. Casillas emailed
28              officer Duhamel from the Temecula Police Department to ask for his help with inquiries
      CIVIL RIGHTS COMPLAINT - 18
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1               from previous police reports. That was done at the Palm Desert Police Department out of
2               the ten reports only one was reported and that was by officer Duhamel case number
3               T190990205/SW190990041. All information, documentation, and evidence of abuse was

4
                brought to the Riverside Superior Court attention.
       II.      A filed pleading of serious concerns during hearing on May 10, 2019, where Defendant
5
                Hester stated on court record of how she does not see Defendant Ortiz drinking and
6
                driving or violent history of no serious concerns. The County of Riverside Superior Court
7
                however used not only Defendant Hester abuse of power but simple reverse psychology
8
                by aggressively telling Plaintiff Casillas, “How would you like it if you were not allowed
9               to see your daughter and Mr. Ortiz takes her away from you?”
10    III.      Let's ask yourself how any mother would feel if you were physically violated now your
11              only child is being violated, abused, in substantial danger and all because you had every
12              single one of your civil rights violated. All would have been prevented if judge and

13
                Defendant Olsen granted Mrs. Casillas permanent restraining order in February of 2013.
                During the end of the hearing Defendant Hester was clear when stating on court record
14
                that Casillas can move anywhere, she wants as long as it does not affect fathers’
15
                visitations. This was brought up later when Mrs. Casillas was called a liar and then
16
                punished for moving due to obvious safety concerns.
17
             52. On June 04, 2019, Casillas took minor child for a follow-up appointment for Asthma with
18    Pediatrician Doctor Cobanov at the Torres Martinez Tribal Clinic in Thermal, CA. Minor child
19    disclosed to Doctor Cobanov who she has been going to consistently since birth. Minor child
20    spoke with the Doctor and said she doesn't want to go to fathers on the weekend, upset with the
21    mother that the court makes her go with father. She does not call him “dad” calls him “the man”

22
      and the child stated to mother that she “hates her life and wishes she wasn’t here” vital signs and
      weight are in normal range.
23
        I.      Doctor Cobanov was very concerned for the child's well-being and documented how she
24
                shows to be going through emotional distress. Due to the major changes that are not in
25
                the child's best interest and caused a major disruption in the child's life routine, physical
26
                well-being, emotional depression from legal abuse, and emotional trauma due to physical
27              abuse to the child. Defendant Ortiz is registered with Apache Tribe in Ajo Arizona that
28
      CIVIL RIGHTS COMPLAINT - 19
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1               was also brought to the court's attention. Tribe is affiliated with Torres-Martinez in
2               Thermal, CA.
3      II.      After the minor child doctor appointment Casillas tried to obtain police reports from the

4
                Palm Desert Police Department. Due to the case being transferred over to the Palm
                Desert Police Department from the Temecula Police Department by officer Duhamel.
5
                Duhamel police report disclosers of Defendant Ortiz physically sexually assaulting,
6
                physical abused, and made credible threats to Mrs. Casillas life and take her child from
7
                her. Statements of threats being made, “If you ever said anything to anyone, I would bury
8
                your body under the windmills, and you will never see Meilani again.” Minor child
9               Meilani was also interviewed by officer Duhamel reporting that physical and
10              psychological attacks had been made towards the child by Defendant Ortiz. Defendant
11              Ortiz triggered deliberate harm recklessly causing bodily injury to Mrs. Casillas and his
12              own daughter.

13
      III.      Mrs. Casillas was denied having access to any reports or records that was under her file.
                Detective Diaz from the Palm Desert Police Department failed to disclose information
14
                regarding a report from officer Duhamel and fraudulently investigated the case by not
15
                taking it seriously by clearly siding with Defendant Ortiz. Mr. Casillas consults with
16
                Detective Diaz in the interrogation room about the investigation regarding Defendant
17
                Ortiz. As Diaz did not take into consideration that Mrs. Casillas suffered personal injury
18              including emotional distress by Defendant Ortiz. Detective Diaz is in violation of the
19              statutory or constitutional right of the result of the conduct that was described in the
20              document report from officer Duhamel.
21           53. On June 14, 2019, Minor child showing signs of traumatic abuse syndrome and infliction

22
      of emotional distress when mother told her that she must go to Defendant Ortiz house for a
      scheduled visit. Child was extremely upset, crying, and curled up in a ball screaming at mother
23
      on how she doesn’t want to go to defendant Ortiz house. Minor child was showing clear signs of
24
      abuse by Defendant Ortiz and extremely detrimental to a child’s wellbeing. Minor child has the
25
      right to be safe and free from abuse under 18 U.S.C. § 3283 - Offenses against children,
26
      California Family Code § 3044.
27           54. On June 25, 2019, Defendant Jeanne Sierra-Leyva from San Bernardino County DPSS
28    Children Services showed up to Casillas home to have an in-person interview. Casillas disclosed
      CIVIL RIGHTS COMPLAINT - 20
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1     to Defendant Sierra-Leyva of the abuse from Defendant Ortiz by showing her multiple photos of
2     bruises on child, audio, and video recording of child stating how she was extremely afraid of
3     father. Defendant Sierra-Leyva disclosed to Casillas that she was going to be moving forward

4
      with the evidence that was provided after she spoke to the minor child. Social workers reports
      ignore Defendant Ortiz misconduct, and all reports contradict each other, with not being
5
      consistent. Defendant Sierra-Leyva violates her Code of Ethics as a social worker ethical
6
      responsibility as a professional for the San Bernardino County.
7
             55. On July 05, 2019, Minor child became extremely upset and stated on recording that
8
      judges are not going to do anything because Defendant Ortiz told her he is going to take her
9     away from Mrs. Casillas. Minor child stated she will never see us again because she knows it
10    will happen. Child knew she was going to be taken away from mother two months prior to
11    Defendant Hester’s order. All premeditated intentions by Judge and Defendant Hester
12    improperly sided with Defendant Ortiz with the targeting of minor child Meilani Ortiz to be

13
      maliciously kidnapped away from mother/Plaintiff Mrs. Casillas.
             56. On July 30, 2019, Plaintiffs took the minor child to San Bernardino County Child and
14
      Family Services Administration Office as requested by Defendant Sierra-Leyva. Mrs. Casillas
15
      stayed in the lobby area as Defendant Sierra-Leyva conducted an interview with a minor child
16
      with a one-way mirror. After conducting the interview Defendant Sierra-Leyva had Plaintiff
17
      speak to a representative from the District Attorney office.
18      I.      Defendant Hester had to use some sort of force by using Defendant Adams as a judicial
19              weapon. Due to a few weeks prior of there being a Child Protective Services
20              investigation in place by the San Bernardino County Children and Family Services CPS
21              investigator and Defendant Sierra-Leyva. In which Defendant Sierra-Leyva had

22
                accumulated enough evidence to have Defendant Ortiz prosecuted by the San Bernardino
                District Attorney.
23
             57. On August 14, 2019, Plaintiff and Defendant Ortiz had a hearing at the County of
24
      Riverside Superior Court, Larson Justice Center in department 2E family law division.
25
      Defendant Hester had stated on court record, “If there wasn’t an open CPS investigation going
26
      on right now, I would’ve had your daughter taken away from you already.” During hearing
27    Defendant Hester had yelled at me in the courtroom like a bully on the bench to not ever call
28    Child Protective Services again about Defendant Ortiz physically abusing minor child.
      CIVIL RIGHTS COMPLAINT - 21
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1     Defendant Hester interfered by threat, intimidation, or coercion with that Plaintiff Constitutional
2     rights and those rights were so clearly established that a reasonable judge would have known
3     their conduct was a violation of the law.

4
        I.      Hester did not believe that there was an investigation going with CPS from the San
                Bernardino County Office. Mrs. Casillas informed Hester of the card that was given to
5
                her from the social worker. Defendant Hester had asked her bailiff to retrieve the card
6
                from Plaintiff. Hester had left her bench and had called social worker Sierra-Leyva
7
                during our hearing. When Hester returned, she stated on court record, “You are not
8
                allowed to report another CPS Investigation on behalf of Mr. Ortiz, is that understood?”
9               Defendant Hester stated, “I will not let you two hurt this child anymore.” First of all, as
10              minor child mother, I’ve done nothing to hurt my child and just as any mother would do
11              is to protect their child. Hester conspired, threatened, and used intimidation to take my
12              child away in which she dishonored her duties then continues to conceal Respondent

13
                Ortiz misconduct and to intentionally obtain minor child from mother.
       II.      Therefore, interferes with commerce by intimidations or acts of violence in a way that
14
                jeopardizes my case by obstructing, delaying, and affecting my personal relationship with
15
                my child as her mother. By assigning Minor’s Counsel and Defendant Adams to assist
16
                Defendant Ortiz to use legal force where false allegations could be made up for malicious
17
                purposes and authority for Defendant Hester to have her reason to terminate the bulk of
18              my Parental Fundamental Rights.
19           58. Mrs. Casillas had only visited with Minor’s Counsel and Defendant Adams one time at
20    her office on September 13, 2019. Any other time Casillas has only received bills as to how
21    much was owed. It is obviously clear as to why Defendant Ortiz is making payments as she had

22
      only asked him for fabrication against Mrs. Casillas that Adams can submit to the courts so Ortiz
      can obtain full/sole custody of our daughter. As stated by the Riverside Superior Court
23
      Defendant Ortiz has Temporary Full/Sole custody of our daughter so if my rights were taken
24
      from me.
25
        I.      Why am I subject to pay this woman any sort of money when she not once asked for a
26
                declaration, pictures, evidence against Defendant Ortiz abusive behavior towards our
27              daughter, sided with him to make it seem as if I neglected my daughter wellbeing. Most
28              importantly made false and misleading reports to the courts so my daughter was taken
      CIVIL RIGHTS COMPLAINT - 22
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1               away from her mother? This is unlawful and just downright illegal in every which way
2               possible.
3      II.      “Minor’s Counsel is a neutral voice for the child, without compromising the child's

4
                rights, emotional wellbeing, or forcing the child to side with one parent or the other.” My
                daughter disclosed very imperative information that day to Minor’s Counsel when we had
5
                gone to her office on September 13, 2019. In the Minor’s Counsel report, she had stated,
6
                “Meilani told me it was also good to be with her mom because her mom keeps me
7
                healthy and makes me go to school on time.” “And protects me from my dad.” “Last
8
                night I was going to get picked up, but my dad was drinking alcohol, so my mom didn’t
9               let him take me.” “He hit me a couple of days ago and he flicked me. I told a cop and a
10              lady.”
11    III.      Defendant Ortiz is in violation of the California Penal Code § 273d(a) PC and Vehicle
12              Code 23152(a) VC-Driving Under the Influence. The Palm Desert Police Department and

13
                Minor’s Counsel is also a mandated reporter when it comes to child abuse, and they are
                in violation with Section 11166 of the California Penal Code. Minor Counsel is supposed
14
                to be the voice for my child especially the fact that the child disclosed that her father hits
15
                her, drinks alcohol, and flicks her does not seem to be of any concern to her as a Minor
16
                Counsel and had never brought it up in court of the abuse minor child spoke of in her
17
                office.
18    IV.       Minor child disclosed this to Adams, and she did nothing about it. As a Minor’s Counsel
19              she should be held accountable for her reckless actions and be charged with California
20              Penal Code § 11166. Defendant Adams went to Defendant Ortiz home on September 13,
21              2019, the same evening after she had interviewed both mother and child from her office

22
                in La Quinta, CA. Our appointment was at 4:00 pm and from my understanding
                according to Adams reports she went to Ortiz home after she was off from work the same
23
                day.
24
             59. On September 15, 2019, Defendant Ortiz texted Plaintiff via Talking Parents App at 7:36
25
      am that minor child was in the ER due to vomiting and sugar were high. In Defendant Adam’s
26
      report she stated that a minor child was in her office that same day the minor child was admitted
27    to the ER at Eisenhower Medical Center in Rancho Mirage, CA. On September 15, 2019, I’d like
28    to point out that day falls on a Sunday. Defendant Adams office hours are Monday- Friday 8am-
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1     5pm. On the same report from Defendant Adams stated that she interviewed minor child and she
2     complained of bad pain in her leg. Adams also stated in her report that, “Minor child also
3     showed no fear of father and said she was happy being with him.”

4
        I.      How did Minors Counsel and Defendant Adams interview minor child on a Sunday in her
                office when the child was in the ER early that morning? On the same day minor child
5
                was flown in by helicopter and hospitalized at Loma Linda Children’s Hospital. Minor
6
                child was having a difficult time in hospital after being admitted. Casillas noticed bruises
7
                on minor child legs and had called for the nurse. The minor child registered nurse said
8
                that she will document the bruises and will be contacting the hospital social worker.
9      II.      Defendant Ortiz showed up hours later after minor child was admitted to the hospital and
10              was telling hospital staff that Mr. Casillas can’t be in the room while being at the
11              hospital. Mr. Casillas did not want any problems and stayed in the lobby until Defendant
12              Ortiz had left the hospital. Plaintiffs did not leave the child bedside the entire time and

13
                mother stayed in the hospital bed with her daughter. Defendant Ortiz left only after a few
                hours of being at Loma Linda Children’s Hospital and before leaving the hospital room
14
                Ortiz told the minor child that he had to go so he can take care of some paperwork.
15
             60. On September 16, 2019, Plaintiffs were in the minor child hospital room talking with her
16
      and Defendant Ortiz showed up extremely upset that Mr. Casillas was in the minor child hospital
17
      room and tried to have him removed for no reason. The nursing staff had let Defendant Ortiz
18    know that we all need to be present today in the minor child room when the nurse goes over
19    diabetes care, and we have a class in a few hours. During the diabetes class Plaintiff received a
20    call from Defendant Adams office stating that there’s an Emergency Ex-Parte hearing tomorrow
21    morning at 8:15 am in department 2E. Plaintiff told Defendant Adams secretary that she will not

22
      be making it as daughter was being hospitalized for type one diabetes.
        I.      Moments later Plaintiff received via email from Defendant Adams secretary of the court
23
                documents for the Emergency Ex-Parte hearing. There was no signature by Judge and
24
                Defendant Hester that the hearing was even approved, and it was scheduled to be heard
25
                on September 17, 2019, at the Riverside Superior Court Larson Justice Center. Plaintiff
26
                did not give consent to electronic services.
27           61. On September 17, 2019, Mrs. Casillas left Loma Linda Children’s Hospital to go to the
28    Emergency Ex-Parte hearing at the Riverside Superior Court Larson Justice Center. In which is
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1     seventy miles away from my daughter just after being diagnosis with type one diabetes and
2     under crucial care in the children’s hospital at Loma Linda. This case has been a completely
3     devastating hardship to my seven-year-old and now ten-year-old child Meilani.

4
        I.   Due to Defendants Hester and Adams unlawful order. The Superior Court County of
             Riverside, Larson Justice Center did the worst thing you can do to a mother and that is to
5
             unlawfully take a child away from her mother and to be placed with her abusive father. In
6
             which Defendant Hester and Adams knew of minor child being hospitalized because in
7
             the being of our hearing Hester stated on court record, “I heard your daughter is in the
8
             hospital due to diabetes.” That clearly violates The American Disabilities Act that is
9            establish a clear and comprehensive prohibition of discrimination on the basis of
10           disability.
11     II.   Mrs. Casillas showed judge and Defendant Hester proof from Talking Parents App, but
12           Hester didn’t even acknowledge Casillas document that was held up during the hearing.

13
             Hester said, “For the fact that the last time you were both here there was an active CPS
             investigation with San Bernardino County against Mr. Ortiz was the only reason why I
14
             didn't give him custody then. I instructed you not to move out of the county with her and
15
             the only reason as to why I didn’t grant father custody back then was because you all had
16
             an open CPS case, or he would’ve had custody of your daughter.”
17
      III.   Mrs. Casillas stated, “Judge I gave dad notice by Certified mail that I was moving forty-
18           five (45) days prior to being in compliance with state and federal law. Defendant Ortiz
19           never picked up Certified mail and he opened it up during our hearing in front of you
20           then read it out loud on court record. As you stated in the past court hearing on May 10,
21           2019, I can move anywhere I want as long as it does not interfere with the parenting

22
             time.” Hester also stated, “Jason Casillas is not to see Meilani.” Hester stated, “I’m
             awarding Mr. Ortiz Temporary Full/Sole legal of Meilani.” Mrs. Casillas addressed to
23
             Hester and Defendant Ortiz that he doesn’t even have any knowledge of what
24
             medications she takes, nor has he ever been to any of her doctor’s appointments but what
25
             you are saying is he gets full/sole custody of our daughter and what grounds consist of
26
             that Jason’s civil rights be violated without him being able to defend himself to not see
27           his stepdaughter?
28
      CIVIL RIGHTS COMPLAINT - 25
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1     IV.    After the court had made this order, I had asked Hester, “When could get her back” and
2            on record Hester exact statement with no shame or care was, “When I say so.” I asked
3            when that was? Hester stated again, in a very mean aggressive manner, “When I say so,

4
             court is adjourned!” Plaintiff was not given court orders by Judge and Defendant Hester
             groundlessly taking my child from me. Nor did Hester have the decency to look me in the
5
             eye as she knew that what she was making an order of the court was wrong. Clearly,
6
             violates Plaintiff civil rights, and those rights were so clearly established that a reasonable
7
             judge would have known their conduct was a violation of the law. Mr. and Mrs. Casillas
8
             have more than enough required direct inadmissible character evidence that displays that
9            Plaintiff can never have a fair and impartial trial due to discrimination from fraud upon
10           the court.
11     V.    Plaintiff would like to make it known there has never been a case permanency plan in
12           place nor mediation making this to be a Substantive Law violation. Why would anyone in

13
             their right mind force a child to stay away from her only family, friends, and above all
             her mother. The integrity and legal process has been an utter disrespect for our
14
             constitutional justice system. The child has been improperly influenced by not only the
15
             father and Defendant Ortiz but by Defendant Adams who has clearly sided with the
16
             father. When Minors Counsel supposed to be the neutral voice for the child and look out
17
             for the best interest of the child.
18    VI.    The amount specified in a court order which covers Defendants Adams, Hester, and Reed
19           have traumatized more victims since the year of 2016. When Judge Dale Wells was
20           removed from the family law department in room 2E at the Riverside Superior Court of
21           California only to be assigned upstairs as criminal court judge. This supports the rights or

22
             establishment of the paternity of the minor child through procedures and in the
             establishment of a child custody.
23
      VII.   Defendants Hester and Adams prohibited Mr. Casillas from having any contact with
24
             minor child which was unlawful orders of the court. So, right after the court hearing
25
             Defendant Ortiz called the hospital to have Mr. Casillas removed from my daughter's
26
             bedside. Security went to my daughter's room and told Mr. Casillas that he had to leave.
27           Mrs. Casillas was later told by her husband that Meilani did not understand why he had to
28           go and had asked him when was my mom going to get here? Mrs. Casillas was on her
      CIVIL RIGHTS COMPLAINT - 26
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1               way to the hospital from the Emergency Ex-Parte court hearing from the Riverside
2               Superior Court Larson Justice Center that day.
3    VIII.      My daughter was very confused and cried while pulling on Mr. Casillas arm begging him

4
                not to leave her. How can one do that to a child when she’s in the hospital bed not
                knowing what is going on? I’d like to ask if that was your child or grandchild would you
5
                want them to be going through this extreme hardship after being diagnosis with type one
6
                diabetes? There is not a day that goes by that I do not miss my child. I love her so much
7
                and I will not stop fighting for her to come home where she is not only safe from her
8
                abusive father but to be loved and cared for like every child should be.
9            62. On September 18, 2019, Mrs. Casillas had to walk out of Loma Linda Children’s
10    Hospital knowing that my daughter was not coming home with my husband and I once she got
11    better. I’d like to make it clear that my daughter was just diagnosed with type one diabetes and to
12    walk out of her room at the hospital was by far the hardest thing I had to do. Knowing that in the

13
      back of my mind she’s not only going to have to cope with this new diagnosis and to now live
      with her abusive father but as her mother I could not be there for her is by far the worst feeling a
14
      mother can endure.
15
             I. There have also been multiple times Defendant Ortiz had called security on Mrs. Casillas
16
                for no reason which had caused my daughter a great deal of unnecessary stress. When I
17
                was in my daughter's hospital room coloring a picture with her, then had asked her when
18              was the last time she had a wipe down or a bath? She then disclosed to me the last time
19              you wiped me down mom. I had then told Defendant Ortiz she needs to have a bath. It
20              has been days since I last wiped her down. Ortiz immediately got upset and stated, “I can
21              have you kicked out by security because I have full/sole custody of our daughter now!”

22
                In a very mean abrupt manner in front of his daughter.
             II. Defendant Ortiz has gone too far once he was granted full/sole legal custody of our
23
                daughter. Ortiz had even called security on Mr. Casillas to have him removed from the
24
                hospital when he was in the lobby area waiting for me while I visited with my daughter.
25
                Defendant Ortiz had even gone to an extreme by disclosing to the nursing staff how he
26
                was granted custody of our daughter and waived the court paper around like a
27              confederate flag. This would all be documented on the video surveillance of the Loma
28
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1            Linda University Children's Hospital at 11234 Anderson Street Loma Linda, CA 92354
2            and by my personal video camera during my visits.
3        III. After Ortiz unnecessary dramatic event and manipulation, the nursing staff began treating

4
             Plaintiff differently, whereas before I was allowed to go in my daughter room. Mrs.
             Casillas would be then abruptly stopped before entering and aggressively asked my name
5
             and what was my purpose of being here at the hospital. Mrs. Casillas even had a Social
6
             Worker stand in the doorway and watch her every move as I was spending time with my
7
             daughter on her hospital bed.
8
         IV. Mrs. Casillas then had asked the reason of why the social worker was standing in the
9            doorway? The Social Worker disclosed to plaintiff that to make sure that my daughter
10           was okay with me being in her room. Defendant Ortiz then turned around and told the
11           social worker that it was okay that he left and if she was to start any problems, I’ll call
12           security on her. The social worker then said okay Mr. Ortiz if you need anything else let

13
             me know and left the doorway.
         63. On September 20, 2019, three days later Defendant Ortiz obsessively attempted to file for
14
      Civil Harassment Restraining Order on Mr. Casillas. TRO was signed by clerk Berumen.
15
      Defendant Ortiz falsified court documents by putting in a Clerk’s Certificate stamp that was
16
      signed for a different date by clerk on October 18, 2019, from the Palm Springs Courthouse. All
17
      more misleading schemes by Defendant Ortiz, that shows his pattern of conduct. Serious
18    concerns of being substantial signs of his true obsession towards his ex-girlfriend and Plaintiff
19    Mrs. Casillas.
20       I. Where Mrs. Casillas had become aware of Defendant Ortiz delusional marriage after he
21           had fraudulently filed a false marriage that Plaintiff had no idea of. For the intentions to

22
             force control over Mrs. Casillas as his possession. Thus, showing these behavioral acts by
             Defendant Ortiz to be mentally unstable and will do whatever it takes to get what he
23
             wants. Someone who goes to great lengths to take back what he feels is his possession.
24
             Again, Ortiz showing intentions to ruin our marriage and relationship.
25
         II. From filing restraining orders and pulling deviously type moves with not letting plaintiff
26
             know of the hearing until it’s too late. So, there would be no way for Mr. Casillas to show
27           to court without knowing of the hearings. Defendant Ortiz is so obsessively possessive he
28           has gone to the extreme lengths even using a fraudulent restraining order. That would be
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1            against Mr. Casillas and minor child that would force the mother Mrs. Casillas to leave.
2            Casillas has acquired Attorney Mr. Deller who notified us of this restraining order that
3            has been put in place without our knowledge.

4
         64. On October 17, 2019, Defendant Ortiz filed again for another Civil Harassment
      Restraining Order against Mr. Casillas. Order was granted and set for hearing to be heard on
5
      November 06, 2019, signed by Judge and Defendant Reed from the Palm Springs Courthouse.
6
      Defendant Ortiz conspired to cover up by altering documentation and evidence on court
7
      documents. Defendant Ortiz also attached a TRO from September 20, 2019, filed by a different
8
      clerk Knudson and order was granted for October 09, 2019.
9        65. On October 21, 2019, Minors Counsel and Defendant Adams filed Findings and Order
10    After Hearing that mother’s visits shall be supervised by professional monitor or in a therapeutic
11    setting. Without having a hearing, the order was signed by Judge and Defendant Hester.
12       66. On October 24, 2019, Casillas attorney Robert Deller filed a Declaration of Respondent

13
      in Support Her Request for Order. In the declaration attorney Deller stated, “Ms. Adams met
      with Petitioner once, the Respondent once, and the Minor Child three times within a five-day
14
      period, September 10, 2019, through September 15, 2019, and concluded that father should have
15
      full legal and physical custody.
16
         I. Ms. Adam’s seemed to side with father without really knowing the background
17
             information or reading into the case. If Ms. Adams read all CPS reports she would have
18           seen as recently as May of 2019, there were two workers at the Department of Social
19           Services who believed father to be a threat to the Minor Child. Attorney Deller stated I do
20           not believe that Ms. Adams did a thorough investigation of this case in its entirety. After
21           five days of meeting all parties a handful of times and speaking telephonically with the

22
             San Bernardino Social Worker once.
         67. On October 25, 2019, at 08:10 pm A process server was caught on surveillance camera
23
      flashing his light into Plaintiff’s home when nobody was home. As Plaintiff’s Casillas were out
24
      having dinner a notification alerted them on their phones. When Casillas arrived home from
25
      dinner neighbors said a man was banging and yelling for Jason to come outside for over twenty
26
      minutes and they were about to call the cops. Process server left a Restraining Order on the floor
27    of the front door which was improper service.
28
      CIVIL RIGHTS COMPLAINT - 29
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1            68. On November 06, 2019, Defendant Ortiz Civil Harassment Restraining Order for Mr.
2     Casillas was granted again by Judge and Defendant Reed and expires on November 05, 2021.
3     The forged signature of Mr. Casillas proof of service stamped August 13, 2020. Clerk stamps

4
      signed on December 20, 2019, dates all over the place. Defendant Ortiz conspired to cover up by
      altering court documentation and evidence on court documents. Judge and Defendant Reed is
5
      assigned to the Riverside Superior Court of California Larson Justice Center and this order was
6
      signed from the Palm Springs Courthouse.
7
             69. On November 19, 2019, Minors Counsel and Defendant Adams filed false allegations
8
      against Plaintiff’s Casillas supplemental report with no clear convincing evidence only hearsay
9     again by Defendant Ortiz.
10           70. On November 27, 2019, Casillas attorney Robert Deller wrote an email to minors counsel
11    informing her that Defendant Ortiz is refusing Plaintiff to see child for visitation and that
12    pursuant to her advice, he is not to make the child available for visitation if outside the Coachella

13
      Valley. Paralegal informed the minors counsel that she represents the child and if he requires
      legal counsel, he needs to seek his advice elsewhere and he will be deemed a violation of the
14
      court order.
15
             71. On December 04, 2019, Mrs. Casillas and Defendant Ortiz had a hearing at the Riverside
16
      Superior Court Larson Justice Center at 8:15 a.m. in department 2E. On behalf of Plaintiff
17
      Casillas attorney Robert Deller asked Judge and Defendant Hester to set aside orders that were
18    made on September 17, 2019. In this case, Minors Counsel requested emergency orders to be
19    made within five-day time of meeting the parties and the minor child. After meeting all parties
20    less than a handful of times, she decided that the minor child should be removed from the only
21    home she has ever known and be placed with the father who is known to be physically and

22
      verbally abusive to her.
        I.      Minors Counsel and Defendant Adams consistently and inappropriately influences and
23
                coaches eight-year-old Meilani Ortiz. The Riverside Superior Court Larson Justice
24
                Center and the County’s Minor's Counsel and Defendant Adams have improperly
25
                suspended and terminated the bulk of my Parental Fundamental Rights without my
26
                consent or ever having a proper investigation of all violations of Federal and State rules
27              of evidence.
28
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1      II.      Where there is NO evidence to show for such extreme judgments upon Plaintiff’s. Where
2               Minors Counsel and Defendant Adams who Defendant Ortiz calls his personal attorney,
3               (proof provided) on court documents, did and does not have physical evidence or factual

4
                proof to provide the court with to back up his or her story. Plaintiffs’ attorney Robert
                Deller Paralegal had emailed Defendant Adams that Mr. Ortiz needs to obtain his own
5
                legal counsel due to her siding with Defendant Ortiz’s as his personal attorney.
6
      III.      Minors Counsel and Defendant Adams did not read or investigate the case thoroughly
7
                and or maybe in its entirety. If Ms. Adams had, I do not believe she could have requested
8
                the minor child to be placed in the care of the father who has a history of abuse. I believe
9               that the father and Ms. Adams used the court. Which is why Defendant and Judge Hester
10              denying all orders and stated that mother is to have supervised visitation in the Coachella
11              Valley only two hour per week. Attorney Robert Deller had asked Hester for the meeting
12              to be halfway and the mother to have more time with the child. Hester denied attorney

13
                Deller request and stated on court record all orders to still stay in full force and effect.
                Defendant Hester violates Plaintiff civil rights, and those rights were so clearly
14
                established that a reasonable judge would have known their conduct was a violation of
15
                the law.
16
             72. On February 15, 2020, Mrs. Casillas had a recorded conversation with her daughter
17
      during a supervised visitation. Minor child disclosed to the mother that Defendant Ortiz tells her
18    that mother is a liar and not to believe anything she says. Minor child disclosed to the mother
19    that she wants to go home and does not understand why this is all happening. When the minor
20    child had to be returned to Defendant Ortiz, she showed extreme fear of going back to father’s
21    care as she pulled on mother crying and begging mother not to let her go with father.

22
        I.      This was in the presence of Supervised Monitor and Defendant Nordin. As this was clear
                signs of fear from the child showing emotional distress due to the court’s power to have
23
                the child be subject to continuous trauma. Defendant Nordin had to pull the minor child
24
                away from mother and place the child in her car. Minor child was screaming and crying
25
                begging the mother not to go back to Defendant Ortiz showing clear signs of child abuse
26
                by Defendant Ortiz.
27           73. On February 28, 2020, Minors Counsel and Defendant Adams filed a declaration to the
28    Riverside Superior Court Larson Justice Center that Defendant Ortiz may record video/audio
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1     contact between mother and child and end contact if husband is present or all contact between
2     mother and child shall be professionally supervised. Defendant Adams report was all hearsay
3     again by Defendant Ortiz as there was no clear convincing evidence just false and fabricated lies.

4
             74. On April 10, 2020, Defendant Ortiz refused Mrs. Casillas to see their daughter and told
      Defendant Nordin that he talked to Minors counsel, and she stated no visits. Defendant Ortiz
5
      conspired to cover up by altering documentation and evidence on court documents to the
6
      visitation monitor to make orders appear that Mrs. Casillas has no visitation rights. Defendant
7
      Ortiz text Defendant Nordin an order that was stamped by clerk on October 21, 2019, and
8
      certified copy stamp for February 24, 2020, dates all over the place and altered court documents.
9            75. On April 15, 2020, Minors Counsel and Defendant Adams filed an Emergency Ex-Parte
10    hearing for Mrs. Casillas to have no contact with minor child except video chat up to two hours
11    per week, scheduled twenty-four hours in advance, with father via talking parents. Judge and
12    Defendant Reed denied all orders to remain in full force and effect. Reed signed on Mr. Casillas

13
      Restraining Order from the Palm Springs Courthouse and now on Mrs. Casillas order from the
      Larson Justice Center.
14
             76. On May 16, 2020, Plaintiff’s Casillas has an audio recording of Defendant Ortiz being
15
      extremely hostile toward minor child yelling at her, “Tell her tell your mom what your sugars
16
      been, tell her!” Defendant Ortiz also was shouting at Mrs. Casillas to “shut up” and threatened
17
      Mr. Casillas “To come to my house so I can fuck you up homeboy!” in the presence of the minor
18    child. Defendants in this case shall be held accountable for their crimes and be prosecuted in a
19    court of law for the disciplinary actions against Plaintiff’s Casillas for the personal liability and
20    intentional deliberate crimes committed by causing mother to jeopardize her case and life with
21    her child.

22
             77. On June 25, 2020, Plaintiff’s Casillas attorney John Ibrahim filed a Request for Domestic
      Violence Restraining Order against Defendant Ortiz at The County of Riverside Superior Court
23
      Larson Justice Center in department 2E. Mr. Casillas was not allowed in the courtroom per
24
      request of Judge and Defendant Hester. Mrs. Casillas had explained to Hester that she was
25
      talking to her daughter on the phone and Defendant Ortiz was yelling at the minor child with a
26
      violent and aggressive tone to cause harm and fear of Ortiz.
27      I.      Defendant Ortiz demanded the mother to repeatedly shut up in front of the minor child
28              and threatened Mr. Casillas. Attorney Ibrahim played the recording four times in the
      CIVIL RIGHTS COMPLAINT - 32
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1            courtroom per Judge and Defendant Hester request of Ortiz typical self of an aggressive
2            gang member that disrespects mother with words like shut up repeated over and over with
3            an attitude in the presence of the minor child Meilani Ortiz. The recording can be heard

4
             outside of courtroom due to Mr. Casillas waiting outside the courtroom.
       II.   This was clear convincing evidence of Ortiz's normal behavior. Cursing threats to only
5
             intimidate others. This admissible recording of evidence of Defendant Ortiz aggression
6
             screams nothing but hatred towards Mr. Casillas as he was encouraging him to come to
7
             his home as he is threatening to physically “Fuck you up homeboy!” Again, Ortiz
8
             misconduct was all in front of the minor child while in a fast-food drive through.
9     III.   Plaintiff would like to point out the fact that my daughter is a diabetic and I have
10           documented the consistent pattern of meals being from fast food restaurants. This only
11           shows neglect towards the child's medical condition that he states in court of how she is
12           on a strict diet. Defendant Ortiz behavior is only ignored, enabled, and covered up time

13
             and time again. Judge and Defendant Hester had asked Mrs. Casillas if she was in fear for
             her life from Defendant Ortiz.
14
      IV.    Plaintiff Casillas answered to Hester, “Yes, I do fear for my life from Mr. Ortiz.”
15
             Plaintiff’s Casillas attorney had requested that Defendant Ortiz be on probation for his
16
             behavior for at least six months. Judge and Defendant Hester had disagreed with Attorney
17
             Ibrahim’s request and denied the restraining order. Defendant Hester violates Plaintiff
18           civil rights, and those rights were so clearly established that a reasonable judge would
19           have known their conduct was a violation of the law.
20     V.    These actions would only mean that the court will ignore all my evidence of proof and
21           will never acknowledge the other father that wants to be in the child’s life and or his

22
             rights to the being the stepfather to the minor child. Mr. Casillas qualifies as a parent to
             the child and is entitled to rights as stepfathers and or other parents.
23
      VI.    With certain exceptions, the court must offer you services to help you reunify with your
24
             child or what you must do to get your child returned to your care. The Minors Counsel
25
             assigned to your case will come up with the reunification services, with your input. The
26
             judge will order you to complete all the reunification services. You should immediately
27           begin participating in those services because you must complete all of the reunification
28           services to get your child back and you have a limited amount of time to do it.
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1     VII.      The court will have a hearing every six months. In my case, Plaintiff has not been
2               provided by such documents as to how or what she needs to do to have her daughter
3               returned to the mother’s care. To then ignore Defendant Ortiz misconduct again unfairly

4
                burden by malicious prosecution to Plaintiff Casillas. Hester stated, “Ortiz is to help pay
                for the attorney fees of Five Hundred dollars which will be due by the end of this month.”
5
                Casillas still has not received the payment from Defendant Ortiz and he was never held in
6
                contempt of court by the Riverside Superior Court Larson Justice Center.
7
     VIII.      Plaintiff had also contacted Minors Counsel and Defendant Adams office to inform her of
8
                Defendant Ortiz misconduct in front of their child. Defendant Adams response, “Ortiz
9               said he apologized to Meilani so I don’t see what else you want me to do about it?” This
10              is the normal behavior and pattern that Plaintiff gets from not only my child minors
11              counsel but as the neutral voice for the child. Plaintiff doesn’t see how this is in the best
12              interest of the child to continue to be in the hands of her abusive father not only verbally

13
                but emotionally and physically.
             78. On July 24, 2020, Mr. Casillas filed a Request for Civil Harassment Restraining Order
14
      against Defendant Ortiz at the San Bernardino Courthouse. The hearing was held with Judge
15
      Janet Frangie. Mrs. Casillas was told to wait outside of the courtroom per Judge Frangie request.
16
      Mr. Casillas addressed the judge on how Defendant Ortiz threatened him. The recording was
17
      played in the courtroom per request of Judge Frangie.
18      I.      The order was denied for the Request for Civil Harassment Restraining Order when there
19              was clear convincing evidence of the same recording that was played on June 25, 2020,
20              of Defendant Ortiz habitual loss of self-control from violence of emotional rage. Judge
21              and Defendant Hester and Judge Frangie both went to Loyola Law School together as to

22
                why Plaintiff Casillas believes that Judge Frangie denied the Restraining Order. After the
                hearing Defendant Ortiz walked out of the courtroom and turned to Mrs. Casillas and
23
                laughed towards her as Ortiz walked by.
24
             79. On July 25, 2020, Plaintiff’s Casillas report child abuse on Defendant Ortiz and called in
25
      a request for the Fire Department to do a medical evaluation on minor child. Due to Mrs. Casillas
26
      seeing a bruise on a minor child’s leg during a video chat later that evening. The officer from
27    Palm Desert Police Department restricts child safety and had disclosed to mother that child had a
28    bump on her lip, forehead, and bruise on child leg.
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1       I.      When the mother had asked the officer how her daughter got those marks the officer
2               stated, “She said she thinks it was from school when someone open the door on her.”
3               Defendant Ortiz neglected child injuries by denying the child to get medical attention

4
                from the Fire Department. Casillas has the recorded 911 call and officer's conversation.
             80. On August 09, 2020, Defendant Ortiz was served at 2 pm on Sunday afternoon. On
5
      Tuesday August 11, 2020, Plaintiff’s Casillas received USPS First-Class Mail date stamped on it
6
      was August 09, 2020. Defendant Lopez who is Defendant Ortiz girlfriend and mother of his son
7
      King Ortiz works for the Larson Justice Center in the Family Law Department. In which
8
      Defendant Lopez had accessed court records for Defendant Ortiz the same day he was served
9     which falls on a Sunday.
10           81. On August 18, 2020, Defendant Adams filed an Emergency Ex-Parte hearing at The
11    Riverside Superior Court, Larson Justice Center for immediate modification of video chats order
12    at 9:28 am. On August 19, 2020, Mrs. Casillas emailed Defendant Adams bringing to her

13
      attention that this email would be used as legal documentation regarding retaliation actions by
      the GAL. As they have been abusive and reckless intimidations with no disregard for the
14
      standard of care for the minor child.
15
        I.      The orders that were filed on August 19, 2020, were granted by Judge and Defendant
16
                Hester without ever having a hearing. Please take judicial notice that all of Minors
17
                Counsel and Defendant Adams filings that have been against Plaintiff’s Casillas have
18              been in bad practice and bad faith that infringes Casillas rights. An attorney who
19              practices as an arm for the Riverside County Superior Court that is aware of her actions
20              of knowingly being improper service by email without proper consent from Plaintiff,
21              where every service has been through email making all orders unjust and violations of a

22
                fair due process.
       II.      It is also a fact that all these hearings against Plaintiff’s Casillas have not even had one
23
                legal document that provides direct proof that would back up outrageous allegations
24
                where all orders have been made and based on hearsay allegations by Defendant Adams
25
                and Ortiz. Minor’s Counsel and Defendant Adams does not or has ever let Mrs. Casillas
26
                and mother know of minor child's wellbeing.
27           82. On November 16, 2020, Mrs. Casillas had supervised visit with her daughter at her
28    brother’s house in Palm Desert and asked why my daughter had called the supervised monitor
      CIVIL RIGHTS COMPLAINT - 35
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1     and lied about a picture that was given to her. As documented from the Defendant Dahlman
2     report it had stated that the minor child was very tense and had frozen completely as mother had
3     asked the minor child about a picture that wasn’t given to her. Defendant Ortiz had coached with

4
      intimidation for a minor child to lie to the supervised monitor.
             83. On December 05, 2020, Mrs. Casillas had supervised visit with her daughter at the park
5
      in Palm Springs, CA and noticed bruises on minor child arm when she had stood up and a red
6
      mark on minor child back. Mrs. Casillas had asked her daughter what happened and her response
7
      as usual was, she did not know and had shown extreme fear as she looked down to the ground.
8
             I. Mrs. Casillas was extremely concerned so pictures were taken of the markings on her
9               daughter’s body. Defendant Dahlman was aware of what Mrs. Casillas had stated because
10              she was sitting right next to mother and child, but she also takes very detailed reports of
11              all our visits with one another. Mrs. Casillas had asked Defendant Dahlman if she
12              documented the bruises and marks on the minor child body.

13
             II. Defendant Dahlman stated, “Yes, I documented it.” As a Supervised Monitor she is a
                mandated reporter and she had failed to report this to CPS. Defendant Dahlman should be
14
                held accountable for her actions by not reporting child abuse. Supervised child monitors
15
                reports contradict each other and are not consistent from another supervised monitor to
16
                Defendant Dahlman.
17
             84. On December 18, 2020, Minors Counsel and Defendant Adams filed an Emergency Ex-
18    Parte to the Riverside Superior Court Larson Justice Center just one week away from Christmas.
19    Without having a hearing Judge and Defendant Hester had no problem signing off on Defendant
20    Adams unjustly hearsay allegations against Mrs. Casillas. Defendant Hester violates plaintiff's
21    civil rights, and those rights were so clearly established that a reasonable judge would have

22
      known their conduct was a violation of the law. Defendants conduct was intentional and showed
      extreme indifference to the rights of others.
23
        I.      Clearly, shows a pattern of similar occurrence by Minors Counsel and Defendant Adams
24
                who is purposely assigned by Riverside Superior Court Larson Justice Center Judges. To
25
                assist Defendant Ortiz, conspire and or plot to target their victim being minor child
26
                Meilani Ortiz. To acquire possession to then contain a scared child against her plead for
27              mercy that would be ignored by the Riverside Superior Court.
28
      CIVIL RIGHTS COMPLAINT - 36
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1      II.   Then to withhold a mother’s only child from her only to only utilize the minor child to
2            force mother to return to the Coachella Valley. The minor child was right when telling
3            her mother that Defendant Ortiz and Hester were going to take her away from her home.

4
             Plaintiff’s Casillas had already done their homework of Minors Counsel and Defendant
             Adams habitual pattern of false, misleading, and malicious allegations. That are and have
5
             been nothing more than lies and continuous trauma bombing to her victims
6
             predominantly mothers just as she did while working under Judge Dale Wells.
7
      III.   Conversations that minor child had with her mother would be recorded as necessity
8
             evidence that would NOT be leading questions by mother but only a child speaking from
9            her own heart. Mrs. Casillas was never given an opportunity to respond to defend herself
10           of the hearing that was held on August 14, 2019, when Hester stated that Mrs. Casillas is
11           not to report CPS on father again.
12    IV.    There was no hearing for the accusations against Mrs. Casillas due to the mother calling

13
             for a welfare check on the child as she was worried about her daughter and reporting to
             CPS of the child’s bruises from visitation on December 05, 2020. Thus, being proof of
14
             violations against Defendant Sierra-Leyva and Wilson Social Workers' ethical
15
             responsibilities as professionals. To justify her discernment retaliated against Mrs.
16
             Casillas for reporting to CPS. Judge and Defendant Hester orders that, “Mother shall
17
             have no phone contact or other contact with child pending further order.” The hearing
18           was set for February 26, 2021, which is seventy-one days out and well beyond the twenty
19           days on an emergency order.
20     V.    Depriving Mrs. Casillas of California Family Court Civil Procedural Due Process Clause
21           with no case plan initiated. When Mrs. Casillas was at Loma Linda Children’s Hospital

22
             next to her daughter’s bedside, Minors Counsel and Defendant Adams filed an
             emergency order, and from my understanding at that moment it was granted by Judge and
23
             Defendant Hester to be heard the following morning as stated by Adam’s secretary. Mrs.
24
             Casillas is lost without words as any mother would on how Hester deliberately pushed the
25
             emergency order out to seventy-one days without any contact with their only child.
26
      VI.    This clearly screams nothing but retaliation discrimination against Plaintiff Casillas.
27           Intentional targeted Mrs. Casillas by making her subject to the court’s power of cruel and
28           unusual punishment as Hester shall be held liable for her actions. Judge and Defendant
      CIVIL RIGHTS COMPLAINT - 37
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1               Hester, Defendant Adams, and Defendant Ortiz collaborated by withholding my child to
2               maliciously deprive a mother from having any contact with her only child one week
3               before Christmas as they should all be held accountable.

4
             85. On February 24, 2021, Plaintiff Casillas filed an Emergency Ex-Parte as a new case to
      Riverside Courthouse for motion to disqualify Judges under 28 U.S.C. § 455(a)(b)(1) and to void
5
      decision California Civil Procedure § 473d lack of subject matter jurisdiction. Riverside
6
      Courthouse sent back an email stating this is not a new case. On February 25, 2021, Plaintiff had
7
      then filed a Civil Case at Riverside Courthouse and requested for entry of default or default of
8
      judgment. Riverside Courthouse emailed back stating that Plaintiff did not provide a proper
9     cover sheet as Plaintiff very well did provide the correct cover sheet.
10           86. On March 04, 2021, Plaintiff Casillas filed an Emergency Ex-Parte to The Riverside
11    Superior Court Larson Justice Center for motion to disqualify Judges under 28 U.S.C. §
12    455(a)(b)(1) and to void decision California Civil Procedure § 473d lack of subject matter

13
      jurisdiction. The Riverside Superior Court Larson Justice Center rejected the document’s stating
      Plaintiff was missing a form in which Plaintiff did provide the form that they state was missing.
14
             87. On March 16, 2021, Plaintiff Casillas had filed Challenge Per California Civil Procedure
15
      170.6 and Affidavit to The Riverside Superior Court Larson Justice Center. Plaintiff then
16
      received a letter from Superior Court of California, County of Riverside that Affidavit for
17
      Disqualification of Judges is being returned unprocessed.
18           88. On March 25, 2021, Plaintiff Casillas wrote to Defendant Ortiz on Talking Parents App
19    regarding child wellbeing and did not get a response from Father. Casillas had also emailed
20    Minors Counsel and Defendant Adams regarding minor child wellbeing and where the child
21    resides since mother has had no contact with the child since last order from Judge and Defendant

22
      Hester on December 18, 2020. Defendant Adams never returned email or phone call to Mrs.
      Casillas regarding minor child wellbeing and or where the child resides as mother has every legal
23
      right to know about her child. Minors Counsel and Defendant Adams and Ortiz clearly violates
24
      plaintiff and mother Fundamental Parental Rights. Plaintiff Casillas made several attempts with
25
      no response from Defendant Adams, or response from Defendant Ortiz.
26
        I.      Under the California Rules of Court California Family Code § 3151 (2017) (a) The
27              child’s counsel appointed under this chapter is charged with the representation of the
28              child’s best interests. The role of the child’s counsel is to gather evidence that bears on
      CIVIL RIGHTS COMPLAINT - 38
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1               the best interests of the child, and present that admissible evidence to the court in any
2               manner appropriate for the counsel of a party. If the child so desires, the child’s counsel
3               shall present the child’s wishes to the court.

4
       II.      The counsel’s duties, unless under the circumstances it is inappropriate to exercise the
                duty, include interviewing the child, reviewing the court files and all accessible relevant
5
                records available to both parties in which Minors Counsel and Defendant Adams failed to
6
                do. Adams has access to the child’s medical, dental, mental health, and other health care
7
                records, school and educational records, and the right to interview school personnel,
8
                caretakers, health care providers, mental health professionals, and others who have
9               assessed the child or provided care to the child.
10    III.      In which Adams did not review records or interview school personnel, health care
11              records, and others who have assessed the child or provided care to the child of its
12              entirety or she would have seen the most recent medical record of child speaking to

13
                Pediatrician Doctor Cobanov of suicidal thoughts and her concerns for the child. The
                release of this information to counsel shall not constitute a waiver of the confidentiality
14
                of the reports, files, and any disclosed communications. Counsel may interview
15
                mediators; however, the provisions of Sections 3177 and 3182 shall apply.
16
             89. On July 23, 2021, Plaintiff emailed Manuel Perez Riverside Board of Supervisors.
17
             90. On September 10, 2021, Plaintiff emailed Minors Counsel and Defendant Adams and
18    Hester. The email was also Cc to Manuel Perez Riverside Board of Supervisors, Defendant
19    Ortiz, Defendant Reed, and 28th District California State Senate Melissa Melendez secretary
20    Glenn Miller.
21           91. On November 02, 2021, Plaintiff contacted the office of the Attorney General Rob Bonta

22
      in recent complaint that was sent to their office. Attorney General secretary informed Plaintiff
      that a letter was sent on October 26, 2021, and the complaint was forwarded to the Bureau of
23
      Children Justice. Plaintiff informed the secretary that she never received the letter and if it can be
24
      emailed instead. Per Plaintiff request secretary emailed letter.
25
             92. On November 03, 2021, Defendant Ortiz filed a Request to Renew Restraining Order at
26
      the Riverside Superior Court, Larson Justice Center. The order was forwarded and assigned to
27    department PS4 at the Palm Springs Courthouse. Keep in mind Plaintiff has no idea what is
28    going on with any of their cases currently and only finding out information according to the
      CIVIL RIGHTS COMPLAINT - 39
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1     records as of November 06, 2021, from the Riverside Superior Court website online for Mr.
2     Casillas case. As for Mrs. Casillas she has no knowledge of what is going on with her case due to
3     it being confidential and not being able to access her case. Under the Riverside Superior Court

4
      Larson Justice Center, it states that Judge Kristi Hester husband Judge Arthur Hester disposition
      to Renew Restraining order and it was vacated on November 24, 2021, in department PS4 at 1:30
5
      pm.
6
             93. On November 06, 2021, Plaintiff’s had checked on Riverside County Court website on
7
      Civil Harassment Restraining Order as it had expired on November 05, 2021. Plaintiff was
8
      unaware of the multiple times that Defendant Ortiz had filed against Mr. Casillas. On the report
9     it states on August 19, 2021, Request to renew restraining order filed by Defendant Ortiz and
10    case was assigned to department 2E at the Riverside Superior Court Larson Justice Center. On
11    September 01, 2021, Defendant Ortiz stated that Mr. Casillas was served and had provided a
12    proof of service to the Larson Justice Center. Mr. Casillas was never served or had any

13
      knowledge that Defendant Ortiz submitted documents to the Riverside Superior Court Larson
      Justice Center. On September 02, 2021, proceedings were held by Judge and Defendant Kristi
14
      Hester and the request to renew the restraining order was denied.
15
             94. On November 19, 2021, Plaintiff emailed Judge and Defendant Arthur Hester a Cease-
16
      and-Desist Letter. The email was also Cc to Detective Matthew Diaz from the Riverside County
17
      Sherriff Department, Law Office of Adams and Clark, Minors Counsel and Defendant Adams,
18    District Four Riv. Co Manuel Perez Riverside Board of Supervisors, and the Civil Department of
19    the United States Department of Justice.
20           95. On January 12, 2022, Court on its own motion Defendant and Honorable Arthur Hester
21    recuses himself from hearing matters in the case pursuant to CCP 170.1/170.3 case reassigned to

22
      Honorable Judge in Department PS2 for all purposes.
             96. On January 21, 2022, Hearing to renew restraining order in department PS2 at the Palm
23
      Springs Courthouse Honorable Randolph Rogers, Judge makes the following order(s): Request
24
      to Renew Restraining Order is granted and expires January 21, 2027, Formal order signed in
25
      court.
26
        I.      Please explain to me how Judge Randolph Rogers signed off on restraining order at the
27              Riverside Superior Court, Palm Springs Courthouse when he left office and retired on
28              January 03, 2021, from Los Angeles County Superior Court, Michael Antonovich
      CIVIL RIGHTS COMPLAINT - 40
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1               Antelope Valley Courthouse that is located in Lancaster, CA. In which is one hundred
2               and twenty-eight miles from Courthouse to Courthouse besides that it being in two
3               different counties he left office a year before this restraining order was signed.

4
       II.      Judge Manuel Bustamante Jr. also stated that he was in court the day of the hearing that
                was held on January 21, 2022, in department PS4 at the Palm Springs Courthouse. Judge
5
                Bustamante was appointed by Governor Gavin Newsom to serve as Judge in The
6
                Riverside County Superior Court as of March 25, 2022. Please make this make sense as
7
                to why Judges that are retired from another county signed off on a Restraining Order and
8
                a Judge that was appointed to serve as a Judge a few months later was in the courtroom
9               the day of the hearing?
10                                                 VII. Claims
11                                    First Cause of Action Claim # 1
12
      Civil Rights Equal Protection, Privileges, and Substantive Due Process Clause
13
                          42 U.S.C. §1985, Fifth and Fourteenth Amendment.
14
                                   Article I, § 7, California Constitution
15
             97. Plaintiff realleges paragraphs 44 through 45.
16
             98. By doing the acts described above in Paragraph 44, Mrs. Casillas files Restraining Order
17    that was denied by Judge and Defendant Hester. Defendant caused and/or permitted the violation
18    under the color of state law who has violated rights guaranteed by Federal Statutes, and the
19    Constitution that deprived the rights within the meaning of 42 U.S.C. § 1985(3), and 42 U.S.C. §

20    1983. Prohibits congress from obstructing justice and makes a clear requirement that all trial is
      equally protected by fair due process of law. That affected plaintiffs’ civil liberties within the
21
      meaning under the privileges clause of the Fifth and Fourteenth Amendments of the United
22
      States Constitution.
23
             (a) Deprivation of civil liberty under the color of state law who has violated rights
24
                guaranteed by Federal Statutes, and the Constitution that deprived the rights within the
25
                remedy against state actors who have failed to prevent conspiracy. Shall be held
26              accountable under 18 U.S.C. § 242 – Deprivation of rights under color of law.
27           (b) Therefore, unfair injuries begin. The deprivation of rights under color of law who
28              permitted and enabled Defendant Ortiz to violate California Penal Code § 646.9 PC
      CIVIL RIGHTS COMPLAINT - 41
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1            California's stalking law clearly states the requirements making it illegal to follow, or
2            harass, and threaten one's life that qualifies as a statutory felony. It is established under
3            the United States Constitution Fourteenth Amendment equal protection of laws by

4
             Defendant Hester who ignored Federal Rules of Evidence 407. Where if subsequent
             remedial measures would have been taken earlier that would have made an injury earlier
5
             or harm less likely against discrimination liberty protections Roberts v. United States
6
             Jaycees, 468 U.S. 609 (1984) First and Fourteenth Amendments.
7
         (c) Judge and Defendant Hester being Deputy District Attorney from the year of 2005 and
8
             2018 was clearly aware of Ortiz past history with Mrs. Casillas. Due to Ortiz being
9            arrested on January 01, 2014. Defendant Ortiz was arrested for Domestic Battery PC
10           243(E)(1) and Vandalism PC 594(a). Judge and Defendant Hester did not investigate
11           their case of its entirety due to the last hearing that was held at the Riverside Superior
12           Court. Therefore, clearly violates Mrs. Casillas right to be protected from Mr. Ortiz under

13
             California Family Code § 3044, California Family Code § 6320.
         (d) Thus, being a statute where credible threats would put the Plaintiff /victim in great danger
14
             causing extreme unnecessary hardships, being, stress, anxiety due to the fear for their life,
15
             safety, and would be in fear of death. There is no excuse for Defendant’s actions causing
16
             a mother and child to be victimized and strongly constitutes the right to file civil
17
             litigations in Tort law for violations of protected statutory encroachment. Where laws that
18           authorize what would otherwise be a Reckless Disregard Tort, Common Law Tort of
19           Deceit, Reckless Misconduct Tort where plaintiff, and her daughter have the right to be
20           justified under 18 U.S.C. § 3771 – Crime victim’s rights and 28 U.S.C. § 453 – Oath of
21           justices and judges. The above civil right was violated by Defendant Hester, County of

22
             Riverside, and Ortiz. Hereby, entitling Plaintiff to recover damages pursuant to 42 U.S.C.
             § 1983.
23
         99. By doing the acts described above in Paragraph 45, Defendant Ortiz files for a
24
      Restraining Order on Mr. Casillas and order was granted. Defendant caused and/or permitted the
25
      violation described above constitutes: A pattern or practice of resistance to the full enjoyment of
26
      rights granted and protected under the Equal Protection Clause of the Fourteenth Amendment
27    and California Family Code § 3011 (1)(2)(3). Where any child that has had a caretaking
28    relationship with other parent, stepfather parent cohabiting as peaceful family registered
      CIVIL RIGHTS COMPLAINT - 42
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1     domestic partners shall have the same rights, protections, and benefits who have the same
2     responsibilities duties under the law of statue under California Family Code § 297-297.5(a).
3     Plaintiff has shown multiple times substantial evidence concerning child protection for being in

4
      danger. However, Harassment Restraining Order against Mr. Casillas would be granted with no
      justification or grounds for granting restraining order to be valid by the Riverside Superior Court
5
      in Palm Springs signed by Defendant Reed under Case number PSC 1906710.
6
         (a) Mr. Casillas was never informed of the inaccurate accusations and nature of cause
7
             making matters void and set aside in general for violating Sixth Amendment right to
8
             receive adequate notice and right of access to court hearing. Lack of knowledge of
9            restraining order would be intent for entrapment towards Plaintiff. Habitual patterns of
10           unlawful civil wrongs by the Riverside Superior Court would violate constitutional
11           principalities as government employees that fall under color of law. Due to the Defendant
12           being a minority race the court caused Plaintiffs to be subjected to the courts traumatizing

13
             intimidation and legal abuse.
         (b) That will continue to punish Plaintiffs until conversion to cause serious and substantial
14
             interference with the destruction of chattel. Thus, shall be held liable for violations of
15
             Procedural Torts, Malicious Prosecution Tort, and Conversion Tort. After improper
16
             service under statute 28 U.S.C. § 1608(B)(I). California Family Code § 3031(a)(1)(2)(c)
17
             where the court is encouraged not to make a custody visitation order that is inconsistent
18           with restraining order or protective orders unless the court findings: The custody or
19           visitation order cannot be made in consistent with the emergency protective order,
20           protective order, or restraining order. The custody or visitation order is in the best interest
21           of the minor. Whenever custody or visitation is granted to a parent in case in which

22
             domestic violence is alleged and an emergency protective order has been issued.
         (c) Defendants caused unfair injuries and acts of consistent trauma bombing with intentional
23
             efforts to disrupt Plaintiffs’ marriage. To obtain control over Mrs. Casillas as his own
24
             possession. That caused both Plaintiffs’ extreme unnecessary hardships, being, stress,
25
             anxiety, along with financial hardships towards Plaintiffs’ marriage during the entire time
26
             of all events that had occurred. Violation of 18 U.S.C. § 371 - Conspiracy to commit
27           offense or to defraud the United States, by concealing and altering court records and 18
28           U.S.C. § 241 Conspiracy against rights, 18 U.S.C. § 242, 28 U.S.C. § 144, 28 U.S.C. §
      CIVIL RIGHTS COMPLAINT - 43
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1            453. Failure to properly serve violates Sixth Amendment and Federal Rules of Civil
2            Procedure 12 (b)(5) making the Civil Harassment Restraining Order null and void.
3            Defendants caused and/or permitted the violation being a Defamation of Character Tort,

4
             Malicious Prosecution Tort, Procedural Torts. Conversion Torts. The above civil right
             was violated by Defendant Reed, Ortiz, and County of Riverside. Hereby, entitling
5
             Plaintiff to recover damages pursuant to 42 U.S.C. § 1983.
6
                                 Second Cause of Action Claim # 2
7
          The Federal Child Abuse Prevention and Treatment Act (CAPTA) (42
8
                                           U.S.C.A. § 5106g)
9
         100. Plaintiff realleges paragraphs 46 through 47.
10
         101. By doing the acts described above in Paragraph 46, Defendant Kocis of the Riverside
11
      County Child Protective Services interviews minor child at elementary school. Defendant caused
12
      and/or permitted the violation described above constitutes Defendant County of Riverside
13
      Department of Public Social Services (DPSS) Children's Services Division; Kocis under the
14    color of state law who has violated rights guaranteed by Federal Statutes, and the Constitution
15    that deprived the rights within the meaning of 42 U.S.C. § 1983. That caused and/or permitted
16    the violation of the Equal Protection Clause of the Fourteenth Amendment, California Penal

17    Code § 278 PC, the Eighth Amendment the duty to protect under public policy failed where the
      assumption of risk would be to the child. This would be the type of injuries within the scope of
18
      risk to the minor child and would be foreseen to continue. That reasonable standard of care after
19
      evaluating the factors being contributed conduct as well as the previous conduct. It would be
20
      reasonable to believe any person in their right mind would intervene by enforcing protection
21
      from the abuser being cruel and usual punishment. Knowledge of the situation of a child is
22
      vulnerable to abuse as children have the right to be safe and free from abuse California Family
23    Code § 3020.
24       (a) Makes the social worker a contributor by association due to ignoring Ortiz misconduct
25           and where evidence that social workers reports contradict each other and are not

26           consistent. Violation of minor child that was documented on Defendant Kocis where
             failing to report child abuse that is required under 18 U.S.C. § 3283 - Offenses against
27
             children - No statute of limitations that would otherwise preclude prosecution for an
28
      CIVIL RIGHTS COMPLAINT - 44
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1            offense involving the sexual or physical abuse, or kidnaping, of a child under the age of
2            eighteen years old. California Penal Code § 11165.9 neglects to report suspected child
3            abuse and welfare. Defendant Kocis violates her Code of Ethics as a social worker ethical

4
             responsibilities as a professional working for the County of Riverside. In pari delicto.
         (b) Due to indications of such offenses to harm, threaten to harm along with factual
5
             statements made by the victim being the minor child. Shall be reported by mandated
6
             reporter   under   California   Penal      Code   §   11165.7    (a)(15),   34   U.S.C.    §
7
             20341(a)(1)(b)(3)(c)(1)(2)(3) - Child abuse reporting, 42 U.S.C. § 1983 Civil Rights of
8
             Children. Beltran v. Santa Clara County, 514 F.3d 906, 908 (9th Cir. 2008) social
9            workers are not entitled to absolute immunity for investigations. California Government
10           Code § 820.21(a)(b) malice conduct that is intended by a social worker caused injury to a
11           minor child. By despicable conduct that is served by the person described under 10
12           U.S.C. § 919b (1)(2) - Art. 119b - Child endangerment, 36 CFR § 4.23 (a)(1) - Operating

13
             under the influence of alcohol or drugs.
         (c) Defendant caused and/or permitted the violation of Strict and Absolute Liability Tort,
14
             Intentional Negligence Tort, Intentional Infliction of Emotional Tort, Common Law Tort
15
             of Deceit, and Duty to Care Tort. County of Riverside Department of Public Social
16
             Services (DPSS) Children's Services Division, Kocis caused unjust injuries under the
17
             meaning and definition of Article 2.5. Child Abuse and Neglect Reporting Act §
18           11166.05, Article 2.5. Child Abuse and Neglect Reporting Act § 11164 (a)(b), Article
19           2.5. Child Abuse and Neglect Reporting Act § 11165.3, Penal Code § 11166(c); Penal
20           Code § 11166.01, Penal Code § 11165.9, 28 U.S.C. § 1367(a), 18 U.S.C. §
21           3509(a)(1)(2)(A)(3)(4)(5)(11)(12) Article III Rule 20, United States Constitutional Civil

22
             Rights Eighth and Fourteenth Amendments. The above civil right was violated by
             Defendant Kocis, Ortiz, and County of Riverside. Hereby, entitling Plaintiff to recover
23
             damages pursuant to 42 U.S.C. § 1983.
24
         102. By doing the acts described above in Paragraph 47, Defendant caused and/or permitted
25
      the violation of a minor child under 18 U.S.C. § 3283 – Offense against children. Violations
26
      guaranteed by State Statute California under the definition and meaning under 18 U.S.C. § 3509
27    (a)(1)(2)(A)(3)(4)(5)(11)(12) - Child victims’ and child witnesses’ rights, 34 U.S.C. § 20341
28    (a)(c)(1)(2)(3)(7)(8) - Caused intentional physical blunt force trauma to minor child. Knowledge
      CIVIL RIGHTS COMPLAINT - 45
     Case 5:22-cv-01648-JLS-KS Document 1 Filed 09/19/22 Page 46 of 112 Page ID #:46



1     of the situation of a child is vulnerable to abuse as children have the right to be safe and free
2     from abuse California Family Code § 3020.
3            (a) Therefore, compromising the Children’s Rights, emotional well-being, abuse by other

4
                parent Ortiz, and forcing the child to side with one parent or the other. Causing Infliction
                of Emotional Distress Tort, Assault, and Battery Tort. The above civil right was violated
5
                by Defendant Ortiz. Hereby, entitling Plaintiff to recover damages pursuant to 42 U.S.C.
6
                § 1983. Equal Protection, Privileges, Rights, Immunity Clause 42 U.S.C § 1985 and
7
                1986.
8
                                      Third Cause of Action Claim #3
9
             103. Plaintiff realleges paragraphs 48 through 49.
10
             104. By doing the acts described above in Paragraph 48, Defendant caused and/or permitted
11    the violation under the color of state law who has violated rights guaranteed by Federal Statutes,
12    and the Constitution. That deprived the rights within the meaning of 42 U.S.C. § 1985, 11 U.S.C.
13    § 1109 - Right to be heard, 29 U.S.C. § 1109 - Where defendant shall be held liable for breach of

14    fiduciary duty, and California Family Code § 6203. Directly violates California Family Code §
      3027.5(a)(1)(2) without authority or jurisdiction with not following the State and Federal
15
      statutory law being constitutional due process. That prohibits congress from obstructing
16
      individuals’ privileges and freedom of association guarantees immunity to civil liberty parenting
17
      right to be protection and or shall not be infringed upon.
18
        I.      When a government official acting under the color of law loses absolute immunity
19
                against suit when he or she intentionally breaches their oath and obligated duty to meet
20              major requirements. Where a Judge covers up and ignores Defendant Ortiz misconduct
21              by ignoring Plaintiff direct evidence towards them defending self against inaccurate
22              accusations. That were all based on hearsay while not being at unknown hearings and

23              losing fundamental parental rights. Without a meaningful hearing or even an opportunity
                to be heard in court and or to be disciplined by the court.
24
       II.      Judicial discretion was made with not having a reasonable cause or having produced any
25
                required evidence as proof beyond reasonable doubt. Where the judge did not act
26
                reasonably and not having reasonable cause for discretion. That being discrimination
27
                misconduct where shunting caused injuries to minor child and family. Justified by
28
      CIVIL RIGHTS COMPLAINT - 46
     Case 5:22-cv-01648-JLS-KS Document 1 Filed 09/19/22 Page 47 of 112 Page ID #:47



1            credible threats by a judicial officer making her subject to suit for unlawful malicious
2            prosecution that the plaintiffs did not consent to prejudice unfair injuries that involved
3            excessive force.

4
         (a) Judge and Defendant Hester caused violence by failing to obtain justice with Equal
             Protection Clause of the Fourteenth Amendment that escalated to a reckless Intentional
5
             Negligence Tort. This has caused extreme hardships to not only the family but to the
6
             minor child. Intentional emotional trauma and battery causing serious bodily injury. That
7
             injured minor child and the loss of property being chattel or minor child of the Plaintiff.
8
             This is all good reason for grounds of California Gov. Code § 810.8 California Tort
9            Claims Act. Where damages Plaintiff due to the suffering of the minor child. Causing
10           Infliction of Emotional Distress Tort, Common Law Tort of Deceit, Assault, and Battery
11           Tort. Knowledge of the situation of a child is vulnerable to abuse as children have the
12           right to be safe and free from abuse California Family Code § 3020, 18 § U.S.C.

13
             3509(a)(1)(2)(A)(3)(4)(5)(11)(12).
         (b) Therefore, provisions and statue enactments for the breach of Judges’ code of conduct.
14
             That would be defined in California Gov. Code § 810.2 by employee including judicial
15
             officer as defined in California Gov. Code § 810(b). Statute meaning by Federal or by
16
             State of California that violated Uniform Child Custody Jurisdiction Act and the Uniform
17
             Civil Liberty for Support Act. Civil Rights of children described in 42 U.S.C. § 1983
18           where Defendant Hester who uses her official position to restrict a person's safety 42
19           U.S.C. § 1986. Judge and Defendant Hester clearly violates Plaintiff's Sixth Amendment,
20           18 U.S.C. § 242, 42 U.S.C. § 9858o(a) – Parental rights and responsibilities, 28 U.S.C. §
21           144 – Bias or prejudice of judge, 28 U.S.C. § 453 - Oaths of justices and judges, 18

22
             U.S.C. § 3283 – Offenses against children – No statute of limitation being physical abuse,
             under eighteen years of age, 18 U.S.C. § 3771 – Crime victim’s rights – right to be
23
             reasonably protected by the accused, 42 U.S.C § 1985 and 42 U.S.C. § 1986. The above
24
             civil right was violated by Defendant Hester and County of Riverside. Hereby, entitling
25
             Plaintiff to recover damages pursuant to 42 U.S.C. § 1983.
26
         105. By doing the acts described above in Paragraph 49, Defendant Ortiz filed a Request for
27    Order to prevent Mr. Casillas from going to child exchange and Mrs. Casillas not being allowed
28    to leave the Coachella Valley. Defendant caused and/or permitted the violation of Federal Rule
      CIVIL RIGHTS COMPLAINT - 47
     Case 5:22-cv-01648-JLS-KS Document 1 Filed 09/19/22 Page 48 of 112 Page ID #:48



1     of Evidence 401 nothing was provided to show cause for orders that violate one's civil rights, 31
2     U.S.C. § 3729 (a)(1)(B)(C)(G) - False claims act, Fraud or Deceit Tort.
3        (a) Therefore, the United States institutes prosecution of all violations of laws under 42

4
             U.S.C. § 1987 and 42 U.S.C. § 1988(a). Begier v. Strom 46 Cal. app 4th 880 (1996), 28
             U.S.C. § 1357 - Injuries under Federal Laws Federal Court shall have original jurisdiction
5
             of any civil action commenced by any person to recover damages for any injuries or
6
             actions of any act done by him or her to enforce the rights of citizens of the United States,
7
             where Pro se litigants are entitled to recover under 28 U.S.C. § 1920. The above civil
8
             right was violated by Defendant Ortiz. Hereby, entitling Plaintiff to recover damages
9            pursuant to 42 U.S.C. § 1983.
10                               Fourth Cause of Action Claim # 4
11       106. Plaintiff realleges paragraphs 50 through 53.
12       107. By doing the acts described above in Paragraph 50, Defendant caused and/or permitted
13    the violation of blunt force trauma to forehead and minor child speaking to mother, Hospital

14    Social Worker, and Defendant Wilson of suicidal words. Defendant Wilson chose to ignore a
      minor child's emotional distress for help by never filing a report even after knowing of the abuse
15
      that would continue to cause harm to the minor child. Social workers neglected to follow through
16
      with legal requirements and the main objective of social worker. Defendant Wilson acting under
17
      color of state law who has violated rights guaranteed by Federal Statutes, and the Constitution
18
      that deprived the rights within the meaning of 42 U.S.C. § 1983. That caused and/or permitted
19
      the violation of the Equal Protection Clause of the Fourteenth Amendment, California Penal
20    Code § 278 PC, the Eighth Amendment the duty to protect under public policy failed where the
21    assumption of risk would be to the child. This would be the type of injuries within the scope of
22    risk to the minor child and would be foreseen to continue. That reasonable standard of care after

23    evaluating the factors being contributed conduct as well as the previous conduct. It would be
      reasonable to believe any person in their right mind would intervene by enforcing protection
24
      from the abuser being cruel and usual punishment. Knowledge of the situation of a child is
25
      vulnerable to abuse as children have the right to be safe and free from abuse California Family
26
      Code § 3020.
27

28
      CIVIL RIGHTS COMPLAINT - 48
     Case 5:22-cv-01648-JLS-KS Document 1 Filed 09/19/22 Page 49 of 112 Page ID #:49



1        (a) Makes the social worker a contributor by association due to ignoring Ortiz misconduct
2           and where evidence that social workers reports contradict each other and are not
3           consistent. In pari delicto. Violation of minor child that was documented on Defendant

4
            Wilson being working under the hospital as a social worker. Where failing to report child
            abuse that is required under 18 U.S.C. § 3283 - Offenses against children - No statute of
5
            limitations that would otherwise preclude prosecution for an offense involving the sexual
6
            or physical abuse, or kidnaping, of a child under the age of eighteen years old. California
7
            Penal Code § 11165.9 neglects to report suspected child abuse and welfare. Defendant
8
            Wilson violates her Code of Ethics as a social worker ethical responsibilities as a
9           professional working for the County of Riverside.
10       (b) Due to indications of such offenses to harm, threaten to harm along with factual
11          statements made by the victim being the minor child. Shall be reported by mandated
12          reporter under California Penal Code § 11165.7 (a)(15), 18 U.S.C. § 3509

13
            (a)(1)(2)(A)(3)(4)(5)(11)(12), 34 U.S.C. § 20341(a)(1)(b)(3)(c)(1)(2)(3) - Child abuse
            reporting, 42 U.S.C. § 1983 Civil Rights of Children. Beltran v. Santa Clara County, 514
14
            F.3d 906, 908 (9th Cir. 2008) social workers are not entitled to absolute immunity for
15
            investigations. California Government Code § 820.21(a)(b) malice conduct that is
16
            intended by a social worker caused injury to a minor child.
17
         (c) Defendant caused and/or permitted the violation of Strict and Absolute Liability Tort,
18          Intentional Negligence Tort, Intentional Infliction of Emotional Tort, Common Law Tort
19          of Deceit, and Duty to Care Tort. Defendant Wilson caused Legal Abuse Syndrome
20          (LAS) due to emotional trauma to the physical abuse to the minor child’s safety and
21          wellbeing. County of Riverside Department of Public Social Services (DPSS) Children's

22
            Services Division; Wilson caused unjust injuries under the meaning and definition of
            Article 2.5. Child Abuse and Neglect Reporting Act § 11166.05, Article 2.5. Child Abuse
23
            and Neglect Reporting Act § 11164 (a)(b), Article 2.5. Child Abuse and Neglect
24
            Reporting Act § 11165.3, Penal Code § 11166(c); Penal Code § 11166.01, Penal Code §
25
            11165.9, 28 U.S.C. § 1367(a), Article III Rule 20, United States Constitutional Civil
26
            Rights Eighth and Fourteenth Amendments.
27       (d) The malicious conduct by Defendant Ortiz where child services from Defendant Wilson
28          abandoned an emergency to act. It is necessary to protect a child at risk of abuse
      CIVIL RIGHTS COMPLAINT - 49
     Case 5:22-cv-01648-JLS-KS Document 1 Filed 09/19/22 Page 50 of 112 Page ID #:50



1            especially as a social worker that works for a hospital. It is critical to protect a minor
2            child from abuse by a trusted person. Whose duty is to ensure the protection of children's
3            civil rights that puts a child’s safety and physical wellbeing at a life-threatening risk or

4
             even death. Causing emotional depression from abuse, insomnia by disturbance to
             sleeping habits causing loss of sleep from having nightmares, anxiety, a complete
5
             disruption to childhood life and routine. The above civil right was violated by Defendant
6
             Wilson, County of Riverside, and Ortiz. Hereby, entitling Plaintiff to recover damages
7
             pursuant to 42 U.S.C. § 1983.
8
         108. By doing the acts described above in Paragraph 51, Defendant caused and/or permitted
9     the violation of Common Law Tort of Deceit. The United States institutes prosecution of all
10    violations of laws under 42 U.S.C. § 1987. Plaintiff’s Casillas have the right to be free from
11    corruption and due to the court's corrupt actions depriving Plaintiff of any constitutional
12    protection of rights. Defined under the Civil Rights Act of the Fourteenth Amendment.

13
         (a) Where Statutory rights were violated meaning the State of California or Federal Statute
             California Gov. Code § 811.8. Defendant Ortiz caused Intentional Infliction of Emotional
14
             distress by causing physical abuse who gets great gratification from causing harm and
15
             toucher to both mother and daughter. Malicious parent syndrome caused neglecting
16
             minor child, hardships to minor child's mental health, severe intimidation, or coercion,
17
             and emotional trauma.
18       (b) Defendant Ortiz dangerous to human life and protected from violations of Federal and
19           State Law. Casillas family lives in fear that it would be too late, and things have escalated
20           to go on too far for taking one of our lives. Casillas ask all parties involved to be
21           accountable for their crimes and punished in a United States Court of Law. Due to

22
             Casillas going through Legal Abuse Syndrome (LAS), anxiety and severe depression to
             minor child, loss of enjoyment of life and/or knowingly violations where Defendant has
23
             never been held accountable or liable for his actions. Where malicious crimes and a
24
             pattern of abuse continue where credible threats are made against Plaintiffs' and minor
25
             child lives. Intentionally targeting a child and plotting to harm Plaintiff’s. Resulting in
26
             causing immediate danger to a minor child with a firearm.
27       (c) Therefore, by damaging a minor child by acts of violence causing trauma and injury to
28           mother for the abuse they had undergone by Defendant Ortiz. Whom has a history of
      CIVIL RIGHTS COMPLAINT - 50
     Case 5:22-cv-01648-JLS-KS Document 1 Filed 09/19/22 Page 51 of 112 Page ID #:51



1            terrorist threats, domestic battery, reckless driving, vandalism, and unknown number of
2            concealed crimes committed by a compulsive liar with a physiological mental disorder
3            with a violent history. Violations protected by statute 18 U.S.C. § 232, 49 U.S.C. §

4
             46507(1)(B) – False information and threats, 10 U.S.C.§ 919b (1)(2) - Art. 119b - Child
             endangerment. The above civil right was violated by Defendant Ortiz. Hereby, entitling
5
             Plaintiff to recover damages pursuant to 42 U.S.C. § 1983 and 42 U.S.C. § 1988(a).
6
         109. By doing the acts described above in Paragraph 52, The Palm Desert Police Department
7
      of Riverside County, the Riverside County DPSS/Child Protective Services, and Riverside
8
      Superior Courthouse have continued to purposely and inappropriately falsify documentation of
9     the crimes that have been caused to Plaintiffs and minor child. At this time, Casillas is currently
10    being deprived to obtain any reports or documentation which would be unlawfully violating my
11    rights under the Right to Know Act. Which gives the public the right to see certain records
12    relating to police misconduct and serious uses of force. Plaintiff requested records numerous

13
      time in person and by filing through the Riverside County database. Both incidents plaintiff was
      denied records under the Public Records Act – a law that gives the public the right to see the
14
      non-confidential documents of our state and local government agencies. The misconduct has
15
      delayed and deprived plaintiffs of a fair trial at the Riverside Superior Courthouse. The Palm
16
      Desert Police Department, Child Protective Services, Palm Springs, and Larson Justice Center
17
      have failed to provide disclosed information regarding any investigations, reports, or records
18    regarding my case. The integrity of these departments has been compromised as they fail to serve
19    and protect the real victims being Plaintiffs Casillas and minor child.
20       (a) Therefore, the intentional and unlawful misled information that violates Federal and
21           Common Law Torts. Begier v. Strom 46 Cal. app 4th 880 (1996). Under 28 U.S.C. §1357

22
             injuries under Federal Laws Federal Court shall have original jurisdiction of any civil
             action commenced by any person to recover damages for any injuries or actions of any
23
             act done by him or her to enforce the rights of citizens of the United States, where Pro se
24
             litigants are entitled to recover under 28 U.S.C. § 1920. The above civil right was
25
             violated by the County of Riverside. Hereby, entitling Plaintiff to recover damages
26
             pursuant to 42 U.S.C. § 1983.
27       110. By doing the acts described above in Paragraph 53, Plaintiffs have a video recording of
28    minor child crying because she doesn't want to go with Defendant Ortiz for a scheduled
      CIVIL RIGHTS COMPLAINT - 51
     Case 5:22-cv-01648-JLS-KS Document 1 Filed 09/19/22 Page 52 of 112 Page ID #:52



1     visitation ordered by Judge and Defendant Hester. Defendant caused and/or permitted the
2     violation of when a person aware of facts might reasonably entertain doubt that the judge would
3     be impartial makes the disqualification standard fundamentally an objective one. It represents a

4
      legislative judgment that due to the sensitivity of the question and inherent difficulties of proof
      as well as the importance of public confidence in the judicial system. The issue is not limited to
5
      the existence of an actual bias. Rather, if any reasonable man or woman would entertain doubts
6
      concerning the judge's impartiality, disqualification is mandated. To ensure that the proceedings
7
      appear to the public to be impartial and hence worthy of their confidence the situation must be
8
      viewed through the eyes of the objective person. The reason for the objective standard of proof is
9     the difficulty in showing that a judge is bias unless the judge so admits.
10      I.      In addition, public perceptions of justice are not furthered when a judge who is
11              reasonably thought to be bias in a matter hears the case. Due to Defendant Hester stating
12              on court record on May 10, 2019, that mother is withholding the minor child from

13
                Defendant Ortiz. Mrs. Casillas informed Hester that child is in fear of Defendant Ortiz
                due to the abuse he has caused to their daughter. Hester response, “Maybe because father
14
                is not getting enough time with your daughter and Mother is alienating father from
15
                child.” Plaintiff emphasizes that Defendant Ortiz is a dangerous person and who is
16
                committed to attacking Mrs. Casillas to the point of no return. Catchpole v. Brannon
17
                (1995), 1st Dist.) 36 Cal App 4th 287, 42 Cal Rprt 2d 440. No reasonable person could
18              think that a Commissioner, Judge, or anyone working under them could possibly conduct
19              themselves in a fair and impartial manner considering they are facing discipline from the
20              commission on judicial performance.
21     II.      The Department of Justice and scrutiny from his counterparts as the Plaintiff has publicly

22
                exposed the judicial misconduct and fraud upon the court. In this case to the point,
                Defendant Hester ignored the laws in relation to the Domestic Violence Prevention Act,
23
                Piqui's Resolution HR113, United States Concurrent Resolution and the California
24
                Family Code § 3044.
25
             (a) Judge and Defendant Hester and Riverside Superior Court caused and shall be held
26
                accountable for reckless actions motivated by evil intent where government officials
27              protect a man with a history who has sexually assaulted, blackmailed, physically
28              assaulted, and tortured Plaintiff and minor child being his own daughter. Defendant
      CIVIL RIGHTS COMPLAINT - 52
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1            caused verbal abuse, mental abuse, and physical abuse where the child is scared to
2            disobey him or else, minor child will be punished and disciplined in a form of child abuse
3            if she does not do what he says. Begier v. Strom 46 Cal. app 4th 880 (1996), 28 U.S.C. §

4
             1357 injuries under Federal Laws Federal Court shall have original jurisdiction of any
             civil action commenced by any person to recover damages for any injuries or actions of
5
             any act done by him or her to enforce the rights of citizens of the United States, where
6
             Pro se litigants are entitled to recover under 28 U.S.C. § 1920.
7
         (b) Remedy     constitutes   torts   for   protected   rights   under   18   U.S.C.   §    3509
8
             (a)(1)(2)(A)(3)(4)(5)(12). Defendant caused and/or permitted the violation of a minor
9            child under 18 U.S.C. § 3283 – Offense against children. Violations guaranteed by State
10           Statute California under the definition and meaning under 18 U.S.C. § 3509
11           (a)(1)(2)(A)(3)(4)(5)(11)(12) - Child victims’ and child witnesses’ rights, 34 U.S.C. §
12           20341 (a)(c)(1)(2)(3)(7)(8) - Caused intentional physical trauma to minor child.

13
             Knowledge of the situation of a child is vulnerable to abuse as children have the right to
             be safe and free from abuse California Family Code § 3020.
14
         (c) Therefore, compromising the Children’s Rights, emotional well-being, abuse by other
15
             parent Ortiz, and forcing the child to side with one parent or the other, emotional
16
             depression from abuse, insomnia by disturbance to sleeping habits causing loss of sleep
17
             from having nightmares, anxiety, a complete disruption to childhood life and routine.
18           Causing Infliction of Emotional Distress Tort, Common Law Tort of Deceit, Assault, and
19           Battery Tort. Equal Protection, Privileges, Rights, Immunity Clause 42 U.S.C § 1985 and
20           1986. The above civil right was violated by Defendant Ortiz, County of Riverside, and
21           Hester. Hereby, entitling Plaintiff to recover damages pursuant to 42 U.S.C. § 1983.

22                                 Fifth Cause of Action Claim # 5
23       111. Plaintiff realleges paragraphs 54 through 57.
         112. By doing the acts described above in Paragraph 54, Defendant Sierra-Leyva of San
24
      Bernardino Department of Public Social Services (DPSS)/Child Protective Services (CPS) Social
25
      workers neglected to follow through with legal requirements and the main objective of social
26
      worker. Defendant Sierra-Leyva acting under color of state law who has violated rights
27
      guaranteed by Federal Statutes, and the Constitution that deprived the rights within the meaning
28
      CIVIL RIGHTS COMPLAINT - 53
     Case 5:22-cv-01648-JLS-KS Document 1 Filed 09/19/22 Page 54 of 112 Page ID #:54



1     of 42 U.S.C. § 1983. That caused and/or permitted the violation of the Equal Protection Clause
2     of the Fourteenth Amendment, California Penal Code § 278 PC, the Eighth Amendment the duty
3     to protect under public policy failed where the assumption of risk would be to the child. This

4
      would be the type of injuries within the scope of risk to the minor child and would be foreseen to
      continue. That reasonable standard of care after evaluating the factors being contributed conduct
5
      as well as the previous conduct. It would be reasonable to believe any person in their right mind
6
      would intervene by enforcing protection from the abuser being cruel and usual punishment.
7
      Knowledge of the situation of a child is vulnerable to abuse as children have the right to be safe
8
      and free from abuse California Family Code § 3020.
9        (a) Makes the social worker a contributor by association due to ignoring Ortiz misconduct
10           and where evidence that social workers reports contradict each other and are not
11           consistent. Violation of minor child that was documented on Defendant Sierra-Leyva
12           where failing to report child abuse that is required under 18 U.S.C. § 3283 - Offenses

13
             against children - No statute of limitations that would otherwise preclude prosecution for
             an offense involving the sexual or physical abuse, or kidnaping, of a child under the age
14
             of eighteen years old. California Penal Code § 11165.9 neglects to report suspected child
15
             abuse and welfare. Defendant Sierra-Leyva violates her Code of Ethics as a social worker
16
             ethical responsibilities as a professional working for the County of San Bernardino.
17
         (b) Due to indications of such offenses to harm, threaten to harm along with factual
18           statements made by the victim being the minor child. Shall be reported by mandated
19           reporter under California Penal Code § 11165.7 (a)(15), 18 U.S.C. § 3509
20           (a)(1)(2)(A)(3)(4)(5)(11)(12), 34 U.S.C. § 20341(a)(b)(3)(c)(1)(2)(3) - Child abuse
21           reporting, 42 U.S.C. § 1983 Civil Rights of Children. Beltran v. Santa Clara County, 514

22
             F.3d 906, 908 (9th Cir. 2008) social workers are not entitled to absolute immunity for
             investigations. California Government Code § 820.21(a)(b) malice conduct that is
23
             intended by a social worker caused injury to a minor child.
24
         (c) Defendant caused and/or permitted the violation of Strict and Absolute Liability Tort,
25
             Intentional Negligence Tort, Intentional Infliction of Emotional Tort, Common Law Tort
26
             of Deceit, and Duty to Care Tort. County of San Bernardino Department of Public Social
27           Services (DPSS) Children's Services Division; Sierra-Leyva caused unjust injuries under
28           the meaning and definition of Article 2.5. Child Abuse and Neglect Reporting Act §
      CIVIL RIGHTS COMPLAINT - 54
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1            11166.05, Article 2.5. Child Abuse and Neglect Reporting Act § 11164 (a)(b), Article
2            2.5. Child Abuse and Neglect Reporting Act § 11165.3, Penal Code § 11166(c); Penal
3            Code § 11166.01, Penal Code § 11165.9, 28 U.S.C. § 1367(a), Article III Rule 20, United

4
             States Constitutional Civil Rights Eighth and Fourteenth Amendments.
         (d) Therefore, compromising the Children’s Rights, emotional well-being, abuse by other
5
             parent Ortiz, and forcing the child to side with one parent or the other, emotional
6
             depression from abuse, insomnia by disturbance to sleeping habits causing loss of sleep
7
             from having nightmares, anxiety, a complete disruption to childhood life and routine.
8
             The above civil right was violated by Defendant Sierra-Leyva, County of Riverside, and
9            Ortiz. Hereby, entitling Plaintiff to recover damages pursuant to 42 U.S.C. § 1983.
10       113. By doing the acts described above in Paragraph 55, Plaintiffs have an audio recording of
11    minor child stating she is going to be removed from mother/Plaintiff Casillas care months before
12    she was removed. Defendant caused and/or permitted the violation of 18 U.S.C. § 242 –

13
      Deprivation of rights, 10 U.S.C. § 932 – Art. 132 – Retaliation, 28 U.S.C. § 144 – Bias or
      prejudice of judge, Common Law Tort of Deceit. Minor child clearly knew she was going to be
14
      taken away from mother due to Defendants maliciously plotting to kidnap minor child away
15
      from mother and primary parent Mrs. Casillas. Knowledge of the situation of a child is
16
      vulnerable to abuse as children have the right to be safe and free from abuse California Family
17
      Code § 3020.
18       (a) Therefore, the United States institutes prosecution of all violations of laws under 42
19           U.S.C. § 1987. Oaths of justice and judges 28 U.S.C. § 453, 18 U.S.C. § 3283 – Offenses
20           against children – No statute of limitations physical abuse or kidnapping under eighteen
21           years of age. Where state officials have been utilizing his or her position to deprive

22
             another person of any of their rights and or to restrict any person from their health and
             safety. 28 U.S.C. § 1357 injuries under Federal Laws Federal Court shall have original
23
             jurisdiction of any civil action commenced by any person to recover damages for any
24
             injuries or actions of any act done by him or her to enforce the rights of citizens of the
25
             United States, where Pro se litigants are entitled to recover under 28 U.S.C. § 1920. The
26
             above civil right was violated by Defendant Hester, County of Riverside, and Ortiz.
27           Hereby, entitling Plaintiff to recover damages pursuant to 42 U.S.C. § 1983 and 42
28           U.S.C. § 1988 (a).
      CIVIL RIGHTS COMPLAINT - 55
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1        114. By doing the acts described above in Paragraph 57, Defendant Hester caused and/or
2     permitted the deprivation of rights under the color of state law who had violated rights
3     guaranteed by Federal Statutes, and the Constitution that deprived the rights within the meaning

4
      of 42 U.S.C. § 1983. That enjoin Defendants, their agents, employees, assigns, successors, and
      all other persons and entities in active concert or participation with them doing the acts described
5
      above. Under 28 U.S.C. § 1357 injuries under Federal Laws Federal Court shall have original
6
      jurisdiction of any civil action commenced by any person to recover damages for any injuries or
7
      actions of any act done by him or her to enforce the rights of citizens of the United States, where
8
      Pro se litigants are entitled to recover under 28 U.S.C. § 1920.
9        (a) Judge and Defendant Hester caused the loss of time where time is extremely valuable to
10           the life of a mother and her only child. There is no amount of money that can ever replace
11           that ever again, nor the pain and agony that has been caused to Plaintiffs and minor child.
12           Judge and Defendant Hester made credible threats to call San Bernardino County Child

13
             Protective Services to drop the case and then assigns Minors Counsel and Defendant
             Adams 18 U.S.C. § 1951 (a)(b)(1)(2). Judge and Defendant Hester is clearly bias or
14
             prejudice 28 U.S.C. § 144, 28 U.S.C. § 453 – Oaths of justices and judges, Canon 1,
15
             Canon 2, Canon 3, Title II of the Civil Rights Act of 1964 section 201 (a)(d)(1)(2),
16
             section 202, and section 203 (a).
17
         (b) California Penal Code § 278.5 PC makes it a crime maliciously to deprive another adult
18           of his/her lawful right to custody of or visitation with a child. Due to false grounds being
19           malice, malicious prosecution under 42 U.S.C. § 1983. Plaintiff lost certain rights without
20           consent being unlawful, unfair or a meaningful hearing. Without even having an
21           opportunity to be heard during hearings held at the County of Riverside Superior Court

22
             Larson Justice Center.
         (c) Where the question of law is no longer a question when the Plaintiff has produced direct
23
             evidence during every case beyond reasonable doubt that Defendant Ortiz has a history
24
             violence and past abusive conduct. When a judicial officer deprives the rights of a United
25
             States Citizen to the extent that tortures mother and child by legal abuse syndrome that
26
             has traumatized them and other children's lives against their own will.
27       (d) Abuse by public officials were all previous cases that have legally abused and abducted
28           children against their own will have been at Riverside Superior Court Larson Justice
      CIVIL RIGHTS COMPLAINT - 56
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1            Center. That have been clearly discriminating against the minority race violates the
2            United States Code of conduct by person acting under color of state law who has violated
3            rights guaranteed by the Federal Statutes 42 U.S.C. § 1985 (3), 42 U.S.C. § 1981, 42

4
             U.S.C. § 1986, Constitution law violations against Due Process Clause of the Fourteenth
             Amendment.
5
         (e) Federal Rule of Civil Procedure Rule 46- Objecting to a Rule or Order Taking Clause of
6
             the Fifth Amendment. Violation of intentional reckless disregard and intrusion to chattel
7
             tort, Common Law Tort of Deceit, Intentional Infliction of Emotional Distress Tort, and
8
             grounds under Violation of intentional reckless disregard and intrusion to chattel tort.
9            Due to grounds under the California Tort Claims Act and California Civil Code §
10           3294(a)(1)(2)(3) – Punitive damages. That justifies entitling Plaintiff to recover damages
11           pursuant to Proceedings in vindication of Civil Rights matters see. Butz v, Economou,
12           438 U.S. 478, 506, (1978), Constitutional law stated under 42 U.S.C. § 1988(a). The

13
             above civil right was violated by Defendant Hester and County of Riverside. Hereby,
             entitling Plaintiff to recover damages pursuant to 42 U.S.C. § 1983.
14
                                   Sixth Cause of Action Claim #6
15
         115. Plaintiff realleges paragraphs 58 through 59.
16
         116. By doing the acts described above in paragraph 58, Defendant Adams ineffective
17
      assistance as minors counsel under 28 U.S.C. § 1927. Enjoins defendants, their agents,
18
      employees, assigns, successors, and all other persons and entities in active concert or
19
      participation with them doing the acts described above who is under the color of state law that
20    has violated rights guaranteed by Federal Statutes, and the Constitution that deprived the rights
21    within the meaning of 42 U.S.C. § 1983.
22       (a) Defendant caused and/or permitted the violation of Strict and Absolute Liability Tort,

23           Intentional Negligence Tort, Intentional Infliction of Emotional Tort, Common Law Tort
             of Deceit, and Duty to Care Tort. Defendant Adams caused unjust injuries under the
24
             meaning and definition of Article 2.5. Child Abuse and Neglect Reporting Act §
25
             11166.05, Article 2.5. Child Abuse and Neglect Reporting Act § 11164 (a)(b), Article
26
             2.5. Child Abuse and Neglect Reporting Act § 11165.3, Penal Code § 11166(c); Penal
27

28
      CIVIL RIGHTS COMPLAINT - 57
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1           Code § 11166.01, Penal Code § 11165.9, 28 U.S.C. § 1367(a), Article III Rule 20, United
2           States Constitutional Civil Rights Eighth and Fourteenth Amendments.
3        (b) Minors Counsel and Defendant Adams caused and/or permitted the violation of the Equal

4
            Protection Clause of the Fourteenth Amendment, California Penal Code § 278 PC, the
            Eighth Amendment the duty to protect under public policy failed where the assumption
5
            of risk would be to the child. This would be the type of injuries within the scope of risk to
6
            the minor child and would be foreseen to continue. That reasonable standard of care after
7
            evaluating the factors being contributed conduct as well as the previous conduct. It would
8
            be reasonable to believe any person in their right mind would intervene by enforcing
9           protection from the abuser being cruel and usual punishment. Knowledge of the situation
10          of a child is vulnerable to abuse as children have the right to be safe and free from abuse
11          California Family Code § 3020.
12       (c) Defendant Adams is a contributor by association due to ignoring Ortiz misconduct and

13
            where evidence that minors counsel reports contradict each other and are not consistent.
            In pari delicto. Violation of minor child that was documented on Defendant Adams
14
            where failing to report child abuse that is required under 18 U.S.C. § 3283 - Offenses
15
            against children - No statute of limitations that would otherwise preclude prosecution for
16
            an offense involving the sexual or physical abuse, or kidnaping, of a child under the age
17
            of eighteen years old. California Penal Code § 11165.9 neglects to report suspected child
18          abuse and welfare.
19       (d) Due to indications of such offenses to harm, threaten to harm along with factual
20          statements made by the victim being the minor child. Shall be reported by mandated
21          reporter   under     California   Penal   Code   §   11165.7(a),    18    U.S.C.   §   3509

22
            (a)(1)(2)(A)(3)(4)(5)(11)(12), 34 U.S.C. § 20341(a)(c)(1)(2)(3), 42 U.S.C. § 1983 Civil
            Rights of Children. Beltran v. Santa Clara County, 514 F.3d 906, 908 (9th Cir. 2008).
23
            Minors Counsel are not entitled to absolute immunity for investigations. California
24
            Government Code § 820.21(a)(b) malice conduct that is intended by minors’ counsel
25
            caused injury to a minor child.
26
         (e) Rights guaranteed by Federal Statutes and the Constitution that deprived the rights within
27          the meaning of imbibement. To enforce sanctions against defendants FRCP Rule 11
28          attorney caused unnecessary delays and needless increase in cost of litigation damages.
      CIVIL RIGHTS COMPLAINT - 58
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1            For working against the “best interests of the child” as well as the unlawfulness including
2            general that purposely torture and traumatize plaintiff. Where malicious intent to cause
3            suffering and irreparable harm of emotional distress for the intentional legal abuse

4
             conduct where the damages are ongoing.
         (f) Defendant Adams interview was unlawfully in nature and shows a pattern of conduct that
5
             takes advantage of federal grants while working under the County of Riverside.
6
             Recklessly ignores requirements pursuant to children's protection laws to 42 U.S.C. §
7
             1982 Property rights of citizens and their chattel being their children. Defendant Adams
8
             who improperly violates all requirements of 34 U.S.C. § Chapter 203 - Victims of Child
9            Abuse cases. Defendants violates Federal Rule of Civil Procedure Rule 46- Objecting to a
10           Rule or Order Taking Clause of the Fifth Amendment. Violation of intentional reckless
11           disregard and intrusion to chattel tort. Due to grounds under the California Tort Claims
12           Act and California Civil Code § 3294(a)(1)(2)(3) – Punitive damages. That justifies

13
             entitling Plaintiff to recover damages pursuant to proceedings in vindication of Civil
             Rights matters see. Butz v, Economou, 438 U.S. 478, 506, (1978).
14
         (g) Therefore, compromising the Children’s Rights, emotional well-being, abuse by other
15
             parent Ortiz, and forcing the child to side with one parent or the other, emotional
16
             depression from abuse, insomnia by disturbance to sleeping habits causing loss of sleep
17
             from having nightmares, anxiety, a complete disruption to childhood life and routine.
18           The above civil right was violated by Minors Counsel and Defendant Adams, County of
19           Riverside, and Ortiz. Hereby, entitling Plaintiff to recover damages pursuant to 42 U.S.C.
20           § 1983 and 42 U.S.C. § 1988(a). Thus, causing the loss of time, where time is extremely
21           valuable to the life of a mother and her only child. There is no amount of money that can

22
             ever replace that ever again, nor that has been caused to plaintiffs.
         117. By doing the acts described above in paragraph 59, Minor child was admitted to ER
23
      making her a victim of violence. Judge and Defendants Hester and Reed thoroughly reviewed
24
      Plaintiff’s documented case of how Hester has not only violated the Due Process Clause but
25
      infringed upon my legal right on how to raise one’s child. A major violation of Freedom of
26
      Association under the First Amendment Right, recognized by the courts as a Statutory Right -
27    Civil Right NAACP v. Alabama (1958). The right to associate together free from undo state
28    interference. Clearly states how it is beyond debate that freedom to engage in association for the
      CIVIL RIGHTS COMPLAINT - 59
     Case 5:22-cv-01648-JLS-KS Document 1 Filed 09/19/22 Page 60 of 112 Page ID #:60



1     advancement of beliefs and ideas is an inseparable aspect of personal liberty. Assured by the
2     Intimate Association in Due Process Clause of the Fourteenth Amendment which embraces
3     freedom of speech and that all people are treated equally. The malicious intent to target the

4
      Plaintiff’s and minor child with intentional efforts to interfere with our relationship with the child
      presented in case number PSC 1906710, INV 1300054, INK 1201717, and IND 1201594.
5
      Enjoins defendants, their agents, employees, assigns, successors, and all other persons and
6
      entities in active concert or participation with them doing the acts described above who is under
7
      the color of state law that has violated rights guaranteed by Federal Statutes, and the Constitution
8
      that deprived the rights within the meaning of 42 U.S.C. § 1983.
9        (a) Defendant caused and/or permitted the violation of Strict and Absolute Liability Tort,
10           Intentional Negligence Tort, Intentional Infliction of Emotional Tort, Common Law Tort
11           of Deceit, and Duty to Care Tort. Defendants Hester and Reed make legal discretions
12           without having no sufficient grounds for doing so where this should have had no legal

13
             effect from the creation. Under 18 U.S.C. § 3283 – Offenses against children – No statute
             of limitations physical abuse or kidnapping under eighteen years of age. Therefore, only
14
             enabling and protecting Defendant Ortiz abuse toward his own child and intentional
15
             conversion towards person for the use of bribery against Mrs. Casillas.
16
         (b) Thus, a good reason for a Habeas Corpus and peremptory challenges for the immediate
17
             return of minor child to restoring law and order for civil disorder. Beiger v. Strom 46 Cal.
18           app 4th 880 (1996). Under 28 U.S.C. § 1357 - Injuries under Federal Laws Federal Court
19           shall have original jurisdiction of any civil action commenced by any person to recover
20           damages for any injuries or actions of any act done by him or her to enforce the rights of
21           citizens of the United States, where Pro se litigants are entitled to recover under 28

22
             U.S.C. § 1920.
         (c) Minors Counsel and Defendant Adams caused and/or permitted the violation of 18
23
             U.S.C. § 287 – False, fictitious, or fraudulent claims, 49 U.S.C. § 46507 – False
24
             information and threats, and 8 U.S.C. § 1324c(a)(1)(2) – Penalties for document fraud.
25
             Defendant Adams is used by the County of Riverside as a judicial weapon pathological
26
             liar who disguises evidence and makes Brady material for the intent to be used as
27           exculpatory evidence which is evidence favorable to the other side. Statutory
28           Constitutional Rights clearly prohibit malicious prosecution claims. Minors Counsel and
      CIVIL RIGHTS COMPLAINT - 60
     Case 5:22-cv-01648-JLS-KS Document 1 Filed 09/19/22 Page 61 of 112 Page ID #:61



1           Defendant Adams should be held liable under the False Claims Act for submitting false
2           statements to the Riverside Superior Court Larson Justice stating that she interviewed
3           minor child the same day minor child was admitted to the hospital. Minors Counsel and

4
            Defendant Adams caused and/or permitted the violation of the Equal Protection Clause of
            the Fourteenth Amendment, California Penal Code § 278 PC, the Eighth Amendment the
5
            duty to protect under public policy failed where the assumption of risk would be to the
6
            child.
7
         (d) Thus, would be the type of injuries within the scope of risk to the minor child and would
8
            be foreseen to continue due to minor child having bruises all over her legs after being
9           admitted to the hospital. That reasonable standard of care after evaluating the factors
10          being contributed conduct as well as the previous conduct. It would be reasonable to
11          believe any person in their right mind would intervene by enforcing protection from the
12          abuser being cruel and usual punishment. Knowledge of the situation of a child is

13
            vulnerable to abuse as children have the right to be safe and free from abuse California
            Family Code § 3020.
14
         (e) Therefore, compromising the Children’s Rights, emotional well-being, abuse by other
15
            parent Ortiz, and forcing the child to side with one parent or the other, emotional
16
            depression from abuse, insomnia by disturbance to sleeping habits causing loss of sleep
17
            from having nightmares, anxiety, a complete disruption to childhood life and routine.
18          Defendant Ortiz caused and/or permitted the violation of 18 U.S.C. § 3509
19          (a)(1)(2)(A)(3)(4)(5)(12) and 34 U.S.C. § 20341(a)(c)(1)(2)(3)(7)(8). Defendants Hester
20          and Reed caused and shall be held accountable for reckless actions motivated by
21          Defendant Ortiz. Begier v. Strom 46 Cal. app 4th 880 (1996). In pari delicto. California

22
            Civil Code § 3294(a)(1)(2)(3) – Punitive damages, 28 U.S.C. § 453 – Oaths of justices
            and judges, 28 U.S.C. § 1357 injuries under Federal Laws Federal Court shall have
23
            original jurisdiction of any civil action commenced by any person to recover damages for
24
            any injuries or actions of any act done by him or her to enforce the rights of citizens of
25
            the United States, where Pro se litigants are entitled to recover under 28 U.S.C. § 1920.
26
            The above civil right was violated by Defendant Ortiz, Hester, Reed, County of
27          Riverside, and Adams. Hereby, entitling Plaintiff to recover damages pursuant to 42
28          U.S.C. § 1983, 42 U.S.C. § 1985, 42 U.S.C. § 1986 and 42 U.S.C. § 1988(a).
      CIVIL RIGHTS COMPLAINT - 61
     Case 5:22-cv-01648-JLS-KS Document 1 Filed 09/19/22 Page 62 of 112 Page ID #:62



1                                 Seventh Cause of Action Claim #7
2        The Riverside County Superior Court-with substantial support from the
3
         Minors Counsel conspired to provide false and misleading reports to the
4
       County of Riverside to have minor child maliciously removed from primary
5
                 parent and mother while minor child was being hospitalized.
6
         118. Plaintiff realleges paragraphs 60 through 61.
7
         119. By doing the acts described above in Paragraph 60, Defendant Adams and Hester
8     caused and/or permitted the violation enjoins defendants, their agents, employees, assigns,
9     successors, and all other persons and entities in active concert or participation with them. Doing
10    the acts described above under the color of state law who has violated rights guaranteed by

11    Federal Statutes, and the Constitution that deprived the rights within the meaning of 42 U.S.C. §
      1983. The violations of Confrontation Clause 18 U.S.C. § 14141 where it is unlawful for any
12
      government authority or person on behalf of the government authority to conduct a pattern and
13
      practice that deprives a person of rights, privileges or immunities secured or protected by the
14
      constitution or laws in the United States.
15
         (a) Plaintiff did not give consent to electronic services thus violating proof of service
16
             California Civil Code § 2.251(b)(1)(B) - Electronic service requires that any such
17           provisions be clear consent that is agreed to service addressed on form EFS-005-cv, and
18           violates FRCP Rule 12(b) makes a lack of personal jurisdiction due to unconscionability
19           of a fair due process clause. Ineffective assistance of minors counsel 28 U.S.C. § 1927,

20           where improper removal of child from custody Ex-Parte or visits 25 U.S.C. § 1920.
         (b) Defendant caused and/or permitted the violation of Strict and Absolute Liability Tort,
21
             Intentional Negligence Tort, Intentional Infliction of Emotional Tort, Common Law Tort
22
             of Deceit, and Duty to Care Tort. Defendants Hester and Reed make legal discretions
23
             without having no sufficient grounds for doing so where this should have had no legal
24
             effect from the creation. Under 18 U.S.C. § 3283 – Offenses against children – No statute
25
             of limitations physical abuse or kidnapping under eighteen years of age. Therefore, only
26           enabling and protecting Defendant Ortiz abuse toward his own child and intentional
27           conversion towards person for the use of bribery against Mrs. Casillas.
28
      CIVIL RIGHTS COMPLAINT - 62
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1        (c) Thus, a good reason for a Habeas Corpus and peremptory challenges for the immediate
2           return of minor child to restoring law and order for civil disorder. Beiger v. Strom 46 Cal.
3           app 4th 880 (1996). Under 28 U.S.C. § 1357 - Injuries under Federal Laws Federal Court

4
            shall have original jurisdiction of any civil action commenced by any person to recover
            damages for any injuries or actions of any act done by him or her to enforce the rights of
5
            citizens of the United States, where Pro se litigants are entitled to recover under 28
6
            U.S.C. § 1920.
7
         (d) Minors Counsel and Defendant Adams caused and/or permitted the violation of 18
8
            U.S.C. § 287 – False, fictitious or fraudulent claims, 49 U.S.C. § 46507 – False
9           information and threats, and 8 U.S.C. § 1324c(a)(1)(2) – Penalties for document fraud.
10          Defendant Adams is used by the County of Riverside as a judicial weapon pathological
11          liar who disguises evidence and makes Brady material for the intent to be used as
12          exculpatory evidence which is evidence favorable to the other side. Statutory

13
            Constitutional Rights clearly prohibit malicious prosecution claims. Minors Counsel and
            Defendant Adams should be held liable under the False Claims Act for submitting false
14
            statements to the Riverside Superior Court Larson Justice. Minors Counsel and
15
            Defendant Adams caused and/or permitted the violation of the Equal Protection Clause of
16
            the Fourteenth Amendment, California Penal Code § 278 PC, the Eighth Amendment the
17
            duty to protect under public policy failed where the assumption of risk would be to the
18          child.
19       (e) Minors Counsel and Defendant Adams violates 28 U.S.C. Fed. Rules of Evid. 610 you
20          can't know a fact until you know what evidence is and nothing more than hearsay. Where
21          Article VIII FRCP Rule 802 excludes hearsay as relevant showing correct procedural

22
            evidence and procedural rules against hearsay being admissible for the taking of personal
            chattel being a child. Defendants shall be held accountable for Emotional Abuse-
23
            California Penal Code Section 11166 (b); Emotional Abuse is defined as when a person
24
            causes or permits a child to suffer unjustifiable or significant mental suffering. Within the
25
            meaning of 42 U.S.C. § 1983, caused the loss of time, where time is extremely valuable
26
            to the life of a mother and her only child. There is no amount of money that can ever
27          replace that ever again, nor that has been caused to plaintiffs. Beiger v. Strom 46 Cal. app
28          4th 880 (1996), 28 U.S.C. § 1357 Injuries under Federal Laws Federal Court shall have
      CIVIL RIGHTS COMPLAINT - 63
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1               original jurisdiction of any civil action commenced by any person to recover damages for
2               any injuries or actions of any act done by him or her to enforce the rights of citizens of
3               the United States, where Pro se litigants are entitled to recover under 28 U.S.C. § 1920.

4
             (f) Defendants violates Constitution law violations against Due Process Clause of the
                Fourteenth Amendment. Federal Rule of Civil Procedure Rule 46- Objecting to a Rule or
5
                Order Taking Clause of the Fifth Amendment. Violation of intentional reckless disregard
6
                and intrusion to chattel tort, due to unlawful fair process and tort, intentional infliction of
7
                emotional distress tort, and grounds under California Claims Act of Intentional
8
                Misconduct or negligence tort of California Civil Code of Civil Procedure § 3294 - Cruel
9               and unjust hardship, disregard of persons rights. The above civil right was violated by
10              Defendant Hester, Adams, County of Riverside, and Reed. That justifies entitling
11              Plaintiff to recover damages pursuant to Proceedings in vindication of Civil Rights
12              matters see. Butz v, Economou, 438 U.S. 478, 506, (1978), Constitutional law stated

13
                under 42 U.S.C. § 1988(a). Hereby, entitling Plaintiff to recover damages pursuant to 42
                U.S.C. § 1983, 42 U.S.C. § 1985, and 42 U.S.C. § 1986.
14
             120. By doing the acts described above in Paragraph 61, Defendant caused and/or permitted
15
      the deprivation of rights under color of law who permitted and enjoins defendants, their agents,
16
      employees, assigns, successors, and all other persons and entities in active concert or
17
      participation with them doing the acts described above. Litigation sanctions would be brought to
18    the GAL Defendant Adams whose ineffective assistance of counsel 28 U.S.C. § 1927, where
19    improper removal of child from custody Ex-Parte or visits 25 U.S.C. § 1920, California Civil
20    Procedure section 2.251 (b)(1)(B) Electronic service requires that any such provisions be clear
21    consent that is agreed to service addressed on form EFS-005-cv, and violates FRCP Rule 12(b)

22
      makes a lack of personal jurisdiction due to unconstitutionality of a fair due process clause.
        I.      Therefore, ties in violations of Confrontation Clause 18 U.S.C. § 14141 where it is
23
                unlawful for any government authority or person on behalf of the government authority
24
                to conduct a pattern and practice that deprives a person of rights, privileges or immunities
25
                secured or protected by the constitution or laws in the United States. They shall be held
26
                liable for the assisting of extreme outrageous conduct. This standard indicates that the
27              decision is not based on the judge personal view of her own impartiality and suggests that
28              the litigants necessarily partisan views do not provide the applicable frame of reference.
      CIVIL RIGHTS COMPLAINT - 64
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1            Rather, the judge ought to consider how her participation in any given case looks to the
2            average person on the street.
3      II.   Defendant Hester has been intentionally sitting on this case as filed by the Plaintiff, this

4
             case is active and ongoing. It has become apparent that Defendant Hester is bias. Mrs.
             Casillas is an invisible party and acts accordingly, even ignoring my Civil Rights and the
5
             very law Hester is ruling on. Judge and Defendant Hester even indicated plaintiff is being
6
             untruthful or less credible in my testimony without a bias for such belief. Hester cannot
7
             be objective in her decisions. Plaintiff believes that equal protection laws were violated
8
             here. The Fourteenth Amendment commands that no state shall, “Deny to any person
9            within its jurisdiction the equal protection of the laws.” Hester ignoring the law, and
10           illegally taking away my Constitutional Rights in order to show favor to Defendant Ortiz
11           the bias and prejudice is clearly revealed here by particular findings that are set forth in
12           Hester's tentative decision.

13
      III.   In which Hester had given father full legal and sole custody of minor child at the age of
             seven years old and just being diagnosis with type one diabetes while being under the
14
             care of Loma Linda Children’s Hospital. Based on unfounded evidence or facts of these
15
             allegations which were brought to the court's attention that Hester makes outrageous,
16
             hostile, and belittling remarks to Mrs. Casillas on court record. With no factual evidence
17
             to support the remarks Hester unjustifiable decision to step outside of and ignore the law
18           to hurt and harm of Plaintiff and her child. The original intent of the Equal Protection
19           Clause in the Civil Rights Act was to give the humblest and the poorest the same Civil
20           Rights as the most powerful and wealthy. “The claim and exercise of a Constitutional
21           right cannot be converted to a crime.” Miller v. U.S., 230 F 486 at 489.

22
      IV.    It is important to note here that there was no reason for plaintiff case to be referred in
             anyway as needing dependency proceedings that was meant as a threat. In the end
23
             plaintiff was never given documentation of a straightforward legal reason and rule for
24
             decision being a violation of Bright Line Rule. For the existence of the collaboration of
25
             all defendants then it would not have caused substantial interference of the loss of time,
26
             where time is extremely valuable and can never again be returned especially to the life of
27           a mother and her only child. There is no amount of money that can ever replace that ever
28           again, nor the excruciating pain that has been caused to Plaintiffs and child. Judge and
      CIVIL RIGHTS COMPLAINT - 65
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1           Defendant Hester is in violation of taking chattel from Plaintiff's possession without
2           consent or by fraud or duress. Where the law is bring access to the chattel being a minor
3           child and causing destruction.

4
         (a) Judge and Defendant Hester demonstrates both objectively and subjectively that Hester is
            bias and prejudice against Plaintiff Casillas and minor child due to her disability of being
5
            a diabetic that violates American with Disabilities Act 42 U.S.C. § 12101, et seq. The
6
            Riverside Superior Court unlawfully kidnapped and ripped minor child away from her
7
            home due to all the fabricated lies against Plaintiff. That mother had caused type one
8
            diabetes to the minor child and made unjustified judgment to separate a child from her
9           mother. That violates Human Rights violation and not in the child's best interest of the
10          child.
11       (b) Judge and Defendant Hester granted Defendant Adams Emergency Ex-Parte on hearsay
12          and false allegations with no evidence during the entirety of the hearing that violates

13
            California Family Code § 3027.1 – False accusations of child abuse or neglect during
            custody proceedings and California Family Code § 3064. Defendant Adams made
14
            misleading and false statements under oath stating that Plaintiff only feeds minor child
15
            salad and water. Defendant Adams should be held liable for 18 U.S.C. § 287 – False,
16
            fictious or fraudulent claims, 18 U.S.C. § 371 - Conspiracy to commit offense or to
17
            defraud the United States, by concealing and altering court records, 18 U.S.C. § 241
18          Conspiracy against rights, 18 U.S.C. § 1038 – False information and hoaxes, 18 U.S.C. §
19          1001 – Statements or entries generally. As stated under California Family Code §
20          3011(a)(b)(1)(d)(e)(1), California Family Code § 3020(a)(b)(c), California Family Code
21          § 3044(a)(c)(h) – perpetrated domestic violence within the previous five years, California

22
            Family Code § 3031, California Family Code § 3048 (a)(1)(2)(3)(4)(5) and California
            Family Code § 6203(a)(1)(2)(3)(4)(b). Therefore, Defendant Ortiz shouldn’t have had
23
            legal custody or grounds of minor child due to history of domestic violence. Judge and
24
            Defendant Hester did not consider the determination of the best interest of the child
25
            health, safety, welfare of the child and the history of abuse by other parent being
26
            Defendant Ortiz. Testimony by Defendant Adams does not qualify as an expert witness
27          under Cal. Evid. Code § 1107.
28
      CIVIL RIGHTS COMPLAINT - 66
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1        (c) There is not a day that goes by that plaintiff does not miss her only child and worries for
2           her health, safety, and wellbeing. Especially, during the time of the COVID-19 Pandemic
3           and Mass shooting at Robb Elementary School. The Riverside Superior Court did the

4
            worst thing you can do to a mother and that is to unlawfully take a child away from her
            mother and to be placed with her abusive father. While minor child was under the care of
5
            Loma Linda Children’s Hospital and being treated for type one diabetes. County of
6
            Riverside Superior Court and Defendant Hester violates California Penal Code § 278.5
7
            PC – Deprivation of Custody, 28 U.S.C. § 144 – Bias or prejudice of judge, 18 US.C. §
8
            242 – Deprivation of rights under color or law, 10 U.S.C. § 932 – Art. 132. Retaliation,
9           28 U.S.C. § 453 – Oaths of justices and judges.
10       (d) It is clear that the local authority acted in a way that was contrary to case law and in
11          breach of the Article Eight rights of both parents and the child. This has caused emotional
12          distress, damages, and psychological devastation. Under liable for the Tort Actions and

13
            Omissions of its employees fraudulent and misrepresentation causing unfair legal fees
            that increased while defending self of all actions discussed in complaint. Intentional
14
            Infliction of Emotional Distress Tort 4.19, Torts of Outrageous Conduct California Tort
15
            Claims Act, Common Law Tort of Deceit, California Gov. Code § 810 - 996 defamation,
16
            privacy, if there is no court order, an amount determined by the State in accordance with
17
            a formula approved by the Secretary. The most pain that any parent could have endorsed
18          by a political person of power.
19       (e) Disturbing a mother’s ability to make age-appropriate decisions for her child, unable to
20          know of her child's physical wellbeing, unable to have a relationship with daughter due to
21          the corruption at Riverside Superior court and their agents and or employees. Plaintiff’s

22
            Casillas did not consent to their child being taken from them or their rights being violated
            under the Due Process Clause. Where the decision to remove a minor child from her
23
            primary parents’ custody failed to support “Clear convincing evidence” standard
24
            described in case law Colorado v. New Mexico, 467 U.S. 310 (1984). Plaintiffs did not
25
            consent to the deliberate trauma bombing causing unfair injuries and harm to both
26
            mother, child, and family.
27       (f) Minor Counsel and Defendant Adams caused and/or permitted the violation of the Equal
28          Protection Clause of the Fourteenth Amendment, California Penal Code § 278 PC, The
      CIVIL RIGHTS COMPLAINT - 67
     Case 5:22-cv-01648-JLS-KS Document 1 Filed 09/19/22 Page 68 of 112 Page ID #:68



1           Eighth Amendment, the duty to protect under public policy failed, where the assumption
2           of risk would be to the minor child. This would be the type of injuries within the scope of
3           risk to minor child and would be foresee this to continue. That reasonable standard of

4
            care after evaluating the factors being contributed conduct as well as the previous
            conduct. It would be reasonable to believe any person in their right mind would intervene
5
            by enforcing protection from the abuser. Cruel and usual punishment. Knowledge of the
6
            situation of a minor child is vulnerable to abuse. Makes the Minors Counsel and
7
            Defendant Adams a contributor by association due to ignoring Defendant Ortiz
8
            misconduct. Where evidence that Defendant Adams reports contradict each other and are
9           not consistent.
10       (g) Minor Counsel and Defendant Adams caused and/or permitted the violation of 49 U.S.C.
11          § 46507 for falsifying legal documentation, 8 U.S.C. § 1324c(a)(1)(2) – Penalties for
12          document fraud, and California Family Code § 3151(a). Defendant Adams is used by the

13
            Riverside Superior court as a judicial weapon pathological liar who disguises evidence
            and makes Brady material for the intent to be used as exculpatory evidence which is
14
            evidence favorable to the other side. Statutory Constitutional Rights clearly prohibit
15
            malicious prosecution claims. Minor Counsel and Defendant Adams should be held liable
16
            under the False Claims Act for submitting false statements to the Riverside Superior
17
            Court stating that she interviewed minor child the same day minor child was admitted to
18          Loma Linda Children’s Hospital.
19       (h) Defendants shall be held accountable for Emotional Abuse-California Penal Code Section
20          11166 (b); Emotional Abuse is defined as when a person causes or permits a child to
21          suffer unjustifiable or significant mental suffering. Suffering when you see and hear

22
            minor child quavering voice from being in fear. Within the meaning of 42 U.S.C. § 1983,
            caused the loss of time, where time is extremely valuable to the life of a mother and her
23
            only child. There is no amount of money that can ever replace that ever again, nor that
24
            has been caused to plaintiffs. Beiger v. Strom 46 Cal. app 4th 880 (1996), 28 U.S.C. §
25
            1357 Injuries under Federal Laws Federal Court shall have original jurisdiction of any
26
            civil action commenced by any person to recover damages for any injuries or actions of
27          any act done by him or her to enforce the rights of citizens of the United States, where
28          Pro se litigants are entitled to recover under 28 U.S.C. § 1920.
      CIVIL RIGHTS COMPLAINT - 68
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1        (i) Defendants violates Constitution law violations against Due Process Clause of the
2            Fourteenth Amendment. Federal Rule of Civil Procedure Rule 46- Objecting to a Rule or
3            Order Taking Clause of the Fifth Amendment. Violation of intentional reckless disregard

4
             and intrusion to Chattel Tort, due to unlawful fair process and tort, Intentional Infliction
             of Emotional Distress Tort, Fraud or Deceit Tort, and grounds under California Claims
5
             Act of Intentional Misconduct or negligence tort of California Civil Code of Civil
6
             Procedure § 3294 - Cruel and unjust hardship, disregard of persons rights. The above
7
             civil right was violated by Defendant Hester, Adams, County of Riverside, and Reed
8
             actions causing unnecessary harm, disproportionate, and deeply traumatic for not only the
9            mother but most importantly the child Meilani Ortiz. Hereby, entitling Plaintiff to recover
10           damages pursuant to 42 U.S.C. § 1983, 42 U.S.C. § 1985, 42 U.S.C. § 1986 and 42
11           U.S.C. § 1988(a).
12                                Eighth Cause of Action Claim #8
13       121. Plaintiff realleges paragraphs 62 through 64.

14       122. By doing the acts described above in Paragraph 62, Defendant caused and/or permitted
      the violation enjoins Defendants, their agents, employees, assigns, successors, and all other
15
      persons and entities in active concert or participation with them doing the acts described above
16
      caused the loss of time, where time is extremely valuable to the life of a mother and her only
17
      child. There is no amount of money that can ever replace that ever again, nor that has been
18
      caused to Plaintiffs. This is only more legal games played by the court by defamations filed by
19
      Minor Counsel and Defendant Adams accusing Plaintiff of being on drugs and an unfit mother.
20    This is nothing more than false allegations and again without bringing forward any clear
21    convincing evidence or specific findings for the conclusions of judgment and final order that
22    were never supported by the evidence, which is a fraud and contrary.

23       (a) Defendant Ortiz caused and/or permitted the violation of 42 U.S.C. § 3617 – Interference,
             coercion, or intimidation while Mrs. Casillas was trying to spend time with her daughter
24
             in the hospital. Ortiz made multiple threats to have Mrs. Casillas removed and had
25
             hospital staff turn on her due to defendant Ortiz making false information against
26
             Plaintiff violates 18 U.S.C. § 1038 – False information and hoaxes. The above civil right
27

28
      CIVIL RIGHTS COMPLAINT - 69
     Case 5:22-cv-01648-JLS-KS Document 1 Filed 09/19/22 Page 70 of 112 Page ID #:70



1            was violated by Defendant Ortiz. Hereby, entitling Plaintiff to recover damages pursuant
2            to 42 U.S.C. § 1983.
3        123. By doing the acts described above in Paragraph 63, Defendant caused and/or permitted

4
      the deprivation of rights under color of law who permitted enjoins defendants, their agents,
      employees, assigns, successors, and all other persons and entities in active concert or
5
      participation with them doing the acts described above ineffective, where improper service
6
      within the meaning of California Civil Procedure § 2.251 service requires that any such
7
      provisions be clear consent that is agreed to service addressed on form EFS-005-cv, and violates
8
      FRCP Rule 12(b) makes a lack of personal jurisdiction due to unconstitutionality of the fair Due
9     Process Clause.
10       (a) Defendant Ortiz alternates court documents and falsifies that Mr. Casillas was served.
11           Ortiz shall be held accountable for 8 U.S.C. § 1324c(a)(1)(2) – Penalties for document
12           fraud, 18 U.S.C. § 287 False, fictitious or fraudulent claims, 18 U.S.C. § 1038 – False

13
             information and hoaxes, 18 U.S.C. § 1001 – Statements or entries generally. Therefore,
             ties in violations of Confrontation Clause 18 U.S.C. § 14141 where it is unlawful for any
14
             government authority or person on behalf of the government authority to conduct a
15
             pattern and practice that deprives a person of rights, privileges or immunities secured or
16
             protected by the constitution or laws in the United States. The above civil right was
17
             violated by Defendant Ortiz. Hereby, entitling Plaintiff to recover damages pursuant to 42
18           U.S.C. § 1983.
19       124. By doing the acts described above in Paragraph 64, Defendant Ortiz files for a
20    Restraining Order on Mr. Casillas and order was granted. The conduct of Defendants described
21    above constitutes: A pattern or practice of resistance to the full enjoyment of rights granted and

22
      protected under the Constitution Freedom of Association Immunities and Equal Protection
      Clause and California Family Code § 3011(1)(2)(3). Where any child that has had a caretaking
23
      relationship with other parent, stepfather parent cohabiting as peaceful family registered
24
      domestic partners shall have the same rights, protections, and benefits who have the same
25
      responsibilities duties under the law of statue under California Family Code § 297-297.5(a).
26
      Where the Plaintiff has shown multiple times, substantial evidence concerning child protection
27    for being in danger. However, Harassment Restraining Order against Mr. Casillas would be
28    granted with no justification or grounds for granting restraining order to be valid by the
      CIVIL RIGHTS COMPLAINT - 70
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1     Riverside Superior Court in Palm Springs signed by Defendant Reed under Case number PSC
2     1906710.
3        (a) Defendant caused and/or permitted the deprivation of rights under color of law who

4
            permitted enjoins defendants, their agents, employees, assigns, successors, and all other
            persons and entities in active concert or participation with them doing the acts described
5
            above ineffective where improper service within the meaning of California Civil
6
            Procedure § 2.251 service requires that any such provisions be clear consent that is
7
            agreed to service addressed on form EFS-005-cv, and violates FRCP Rule 12(b) makes a
8
            lack of personal jurisdiction due to unconstitutionality of a fair due process clause.
9        (b) Violations of Confrontation Clause 18 U.S.C. § 14141 where it is unlawful for any
10          government authority or person on behalf of the government authority to conduct a
11          pattern and practice that deprives a person of rights, privileges or immunities secured or
12          protected by the constitution or laws in the United States.

13
         (c) Mr. Casillas was never informed of the inaccurate accusations and nature of cause
            making matters void and set aside in general for violating Sixth Amendment right to
14
            receive adequate notice. Lack of knowledge of restraining order would be intent for
15
            entrapment towards Plaintiff. Habitual patterns of unlawful civil wrongs by the Riverside
16
            Superior Court would violate constitutional principalities as government employees that
17
            fall under color of law. Due to the Defendant being a minority race the court caused
18          Plaintiffs to be subjected to the courts traumatizing intimidation and legal abuse.
19       (d) County of Riverside Superior Court continues to punish Plaintiffs until conversion to
20          cause serious and substantial interference with the destruction of chattel. Thus, shall be
21          held liable for violations of Procedural Torts and Conversion Tort. After improper service

22
            under statute 28 U.S.C. § 1608(B)(I), California Family Code § 3031(a)(1)(2)(c) where
            the court is encouraged not to make a custody visitation order that is inconsistent with
23
            restraining order or protective orders unless the court findings: The custody or visitation
24
            order cannot be made in consistent with the emergency protective order, protective order,
25
            or restraining order. The custody or visitation order is in the best interest of the minor.
26
            Whenever custody or visitation is granted to a parent in case in which domestic violence
27          is alleged and an emergency protective order has been issued.
28
      CIVIL RIGHTS COMPLAINT - 71
     Case 5:22-cv-01648-JLS-KS Document 1 Filed 09/19/22 Page 72 of 112 Page ID #:72



1        (e) Defendants caused unfair injuries and acts of consistent trauma bombing with intentional
2            efforts to disrupt Plaintiffs’ marriage only to obtain control over Mrs. Casillas as his own
3            possession. That caused both Plaintiffs’ extreme unnecessary hardships, being stress,

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             anxiety, along with financial hardships towards Plaintiffs’ marriage during the entire time
             of all events that had occurred. Violation of 18 U.S.C. § 371 Conspiracy to commit
5
             offense or to defraud the United States, by concealing and altering court records. Failure
6
             to properly serve violates Sixth Amendment and Federal Rules of Civil Procedure 12
7
             (b)(5) making the Civil Harassment Restraining Order null and void. Defendants caused
8
             and/or permitted the violation being a Defamation of Character Tort.
9        (f) Defendant Reed violates 18 U.S.C. § 242 – Deprivation of rights under color of law, 18
10           U.S.C. § 241 – Conspiracy against rights, 10 U.S.C. § 932 – Art. 132. Retaliation, 28
11           U.S.C. § 144 – Bias or prejudice of judge, and 28 U.S.C. § 453 – Oaths of justices and
12           judges due to this not being the first time that Defendant Reed granted Ortiz restraining

13
             order against Plaintiff. The above civil right was violated by Defendant Ortiz, County of
             Riverside, and Reed. That justifies entitling Plaintiff to recover damages pursuant to
14
             Proceedings in vindication of Civil Rights matters see. Butz v, Economou, 438 U.S. 478,
15
             506, (1978), Constitutional law stated under 42 U.S.C. § 1988(a). Hereby, entitling
16
             Plaintiff to recover damages pursuant to 42 U.S.C. § 1983.
17
                                  Ninth Cause of Action Claim #9
18
         125. Plaintiff realleges paragraphs 65 through 66.
19
         126. By doing the acts described above in Paragraph 65, Defendant Adams files with the
20    Riverside Superior Court false and hearsay allegations which caused and/or permitted enjoins
21    defendants, their agents, employees, assigns, successors, and all other persons and entities in
22    active concert or participation with them doing the acts described above who is under the color

23    of state law who has violated rights guaranteed by Federal Statutes, and the Constitution that
      deprived the rights within the meaning of 42 U.S.C. § 1983. Ineffective assistance of counsel 28
24
      U.S.C. § 1927, where improper removal of child from custody Ex-Parte or visits 25 U.S.C. §
25
      1920, California Family Code § 3151, California Family Code § 3064, California Civil
26
      Procedure § 2.251(b)(1)(B) - Electronic service requires that any such provisions be clear
27
      consent that is agreed to service addressed on form EFS-005-cv and violates FRCP Rule 12(b)
28
      CIVIL RIGHTS COMPLAINT - 72
     Case 5:22-cv-01648-JLS-KS Document 1 Filed 09/19/22 Page 73 of 112 Page ID #:73



1     makes a lack of personal jurisdiction due to unconstitutionality of the fair Due Process Clause.
2     Therefore, ties in violations of Confrontation Clause 18 U.S.C. § 14141 where it is unlawful for
3     any government authority or person on behalf of the government authority to conduct a pattern

4
      and practice that deprives a person of rights, privileges or immunities secured or protected by the
      constitution or laws in the United States.
5
         (a) Causing Plaintiffs unfair injuries for rights guaranteed by Federal Statutes and the
6
             Constitution that deprived the rights within the meaning of imbibement. To enforce
7
             sanctions against defendants FRCP Rule 11 attorney caused unnecessary delays and
8
             needless increase in cost of litigations. Beiger v. Strom 46 Cal. app 4th 880 (1996).
9            Under 28 U.S.C. § 1357 - Injuries under Federal Laws Federal Court shall have original
10           jurisdiction of any civil action commenced by any person to recover damages for any
11           injuries or actions of any act done by him or her to enforce the rights of citizens of the
12           United States, where Pro se litigants are entitled to recover under 28 U.S.C. § 1920.

13
         (b) Where the conduct of defendant described above caused the violation while under the
             color of state law who has violated rights guaranteed by Federal Statutes, and the
14
             Constitution that deprived the rights within the meaning of 42 U.S.C. § 1985, 11 U.S.C. §
15
             1109 - Right to be heard, 29 U.S.C. § 1109 - Where defendant shall be held liable for
16
             breach of fiduciary duty, and Family Code § 6203. Directly violates California Family
17
             Code § 3027.5 (a)(1)(2) without authority or jurisdiction with not following the State and
18           Federal statutory law being constitutional due process. That prohibits congress from
19           obstructing individuals’ privileges and freedom of association guarantees immunity to
20           civil liberty parenting right to be protection and or shall not be infringed upon.
21       (c) When a government official acting under the color of law loses absolute immunity

22
             against suit when he or she intentionally breaches their oath and obligated duty to meet
             major requirements under 28 U.S.C. § 453 – Oaths of justices and judges. Where a Judge
23
             covers up and ignores Defendant Ortiz misconduct by ignoring Plaintiff direct evidence
24
             towards them defending self against inaccurate accusations. That were all based on
25
             hearsay while not being at unknown hearings and losing fundamental parental rights.
26
             Without a meaningful hearing or even an opportunity to be heard in court and or to be
27           disciplined by the court.
28
      CIVIL RIGHTS COMPLAINT - 73
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1        (d) Judicial discretion was made with not having a reasonable cause or having produced any
2            required evidence as proof beyond reasonable doubt. Where the Judge did not act
3            reasonably and not having reasonable cause for discretion. That being discrimination

4
             misconduct where shunting caused injuries to minor child and family. Justified by
             credible threats by a judicial officer making her subject to suit for unlawful malicious
5
             prosecution that the plaintiffs did not consent to prejudice unfair injuries that involved
6
             excessive force.
7
         (e) Defendant Hester caused violence by failing to obtain justice with Equal Protection
8
             Clause that escalated to a reckless Intentional Negligence Tort and Common Law Tort of
9            Deceit. That has caused extreme hardships to not only the family but to the minor child.
10           Intentional emotional trauma and battery causing serious bodily injury. That injured
11           minor child and the loss of property being chattel or minor child of the Plaintiff. This is
12           all good reason for grounds of California Gov. Code § 810.8 California Tort Claims Act.

13
             Where damages Plaintiff due to the suffering of the minor child. Where provisions and
             statue enactments for the breach of Judges’ code of conduct. That would be defined in
14
             California Gov. Code § 810.2 by employee including judicial officer as defined in
15
             California Gov. Code § 810(b).
16
         (f) Riverside Superior Court and Defendant Hester violates California Penal Code § 278.5
17
             PC – Deprivation of Custody. Statute meaning by Federal or by State of California that
18           violated Uniform Child Custody Jurisdiction Act and the Uniform Civil Liberty for
19           Support Act. Civil Rights of children described in 42 U.S.C. § 1983 where Defendant
20           Hester who uses her official position to restrict a person's safety 42 U.S.C. § 1986. The
21           above civil right was violated by Defendant Hester, County of Riverside, and Adams.

22
             That justifies entitling Plaintiff to recover damages pursuant to Proceedings in
             vindication of Civil Rights matters see. Butz v, Economou, 438 U.S. 478, 506, (1978),
23
             Constitutional law stated under 42 U.S.C. § 1988(a). Hereby, entitling Plaintiff to recover
24
             damages pursuant to 42 U.S.C. § 1983.
25
         127. By doing the acts described above in Paragraph 66, Defendant caused and/or permitted
26
      enjoins defendants, their agents, employees, assigns, successors, and all other persons and
27    entities in active concert or participation with them doing the acts described above who is under
28    the color of state law who has violated rights guaranteed by Federal Statutes, and the
      CIVIL RIGHTS COMPLAINT - 74
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1     Constitution that deprived the rights within the meaning of ineffective assistance of counsel 28
2     U.S.C. § 1927, where improper removal of child from custody Ex-Parte or visits 25 U.S.C. §
3     1920. Violations of Confrontation Clause 18 U.S.C. § 14141 where it is unlawful for any

4
      government authority or person on behalf of the government authority to conduct a pattern and
      practice that deprives a person of rights, privileges or immunities secured or protected by the
5
      constitution or laws in the United States. Begier v. Strom 46 Cal. app 4th 880 (1996).
6
         (a) Riverside Superior Court and Defendant Hester violates California Penal Code § 278.5
7
             PC – Deprivation of Custody and 28 U.S.C. § 1357 - Injuries under Federal Laws Federal
8
             Court shall have original jurisdiction of any civil action commenced by any person to
9            recover damages for any injuries or actions of any act done by him or her to enforce the
10           rights of citizens of the United States, where Pro se litigants are entitled to recover under
11           28 U.S.C. § 1920.
12       (b) Riverside Superior Court did not review the case of its entirety before granting custody to

13
             defendant Ortiz with a history of domestic violence and there being two workers at the
             Department of Social Services who believed father to be a threat to the Minor Child. The
14
             above civil right was violated by Defendant Hester and County of Riverside. That
15
             justifies entitling Plaintiff to recover damages pursuant to Proceedings in vindication of
16
             Civil Rights matters see. Butz v, Economou, 438 U.S. 478, 506, (1978), Constitutional
17
             law stated under 42 U.S.C. § 1988(a). Hereby, entitling Plaintiff to recover damages
18           pursuant to 42 U.S.C. § 1983.
19                                Tenth Cause of Action Claim #10
20       128. Plaintiff realleges paragraphs 67 through 69.
21       129. By doing the acts described above in Paragraph 68, Defendant Reed grants Defendant
22    Ortiz Request for Order for two years. The conduct of Defendants described above constitutes: A

23    pattern or practice of resistance to the full enjoyment of rights granted and protected under the
      Constitution Freedom of Association Immunities and Equal Protection Clause and California
24
      Family Code § 3011 (1)(2)(3) where any child that has had a caretaking relationship with other
25
      parent, stepfather parent cohabiting as peaceful family registered domestic partners shall have
26
      the same rights, protections, and benefits who have the same responsibilities duties under the law
27
      of statue under California Family Code § 297-297.5(a). Where the Plaintiff has shown multiple
28
      CIVIL RIGHTS COMPLAINT - 75
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1     times, substantial evidence concerning child protection for being in danger. Civil Harassment
2     Restraining Order against Mr. Casillas would be granted with no justification or grounds for
3     granting restraining order to be valid by the Riverside Superior Court in Palm Springs signed by

4
      Defendant Reed under Case number PSC 1906710.
         (a) Mr. Casillas was never informed of the inaccurate accusations and nature of cause
5
             making matters void and set aside in general for violating Sixth Amendment right to
6
             receive adequate notice. Lack of knowledge of restraining order would be intent for
7
             entrapment towards Plaintiff. Habitual patterns of unlawful civil wrongs by the Riverside
8
             Superior Court would violate constitutional principalities as government employees that
9            fall under color of law. Due to the Defendant being a minority race the court caused
10           Plaintiffs to be subjected to the courts traumatizing intimidation and legal abuse.
11       (b) In which caused Plaintiff Casillas serious and substantial interference with the destruction
12           of chattel. Thus, shall be held liable for violations of Procedural Torts, Common Law

13
             Tort of Deceit, and Conversion Tort. After improper service under statute 28 U.S.C. §
             1608(B)(I), California Family Code § 3064, and California Family Code §
14
             3031(a)(1)(2)(c) where the court is encouraged not to make a custody visitation order that
15
             is inconsistent with restraining order or protective orders unless the court findings: The
16
             custody or visitation order cannot be made in consistent with the emergency protective
17
             order, protective order, or restraining order. The custody or visitation order is in the best
18           interest of the minor. Whenever custody or visitation is granted to a parent in case in
19           which domestic violence is alleged and an emergency protective order has been issued.
20       (c) Defendants caused unfair injuries and acts of consistent trauma bombing with intentional
21           efforts to disrupt Plaintiffs’ marriage, only to obtain control over Mrs. Casillas as his own

22
             possession. That caused both Plaintiffs’ extreme unnecessary hardships, being, stress,
             anxiety, along with financial hardships towards Plaintiffs’ marriage during the entire time
23
             of all events that had occurred. Violation of 18 U.S.C. § 371 - Conspiracy to commit
24
             offense or to defraud the United States, by concealing and altering court records. Failure
25
             to properly serve violates Sixth Amendment and Federal Rules of Civil Procedure 12
26
             (b)(5) making the Civil Harassment Restraining Order null and void.
27       (d) Defendants caused and/or permitted the violation being a Defamation of Character Tort.
28           Defendant Reed violates 18 U.S.C. § 242 – Deprivation of rights under color of law, 18
      CIVIL RIGHTS COMPLAINT - 76
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1            U.S.C. § 241 – Conspiracy against rights, 10 U.S.C. § 932 – Art. 132. Retaliation, 28
2            U.S.C. § 144 – Bias or prejudice of judge, and 28 U.S.C. § 453 – Oaths of justices and
3            judges due to this not being the first time that Defendant Reed granted Ortiz restraining

4
             order against Plaintiff. The above civil right was violated by Defendant Reed, County of
             Riverside, and Ortiz. That justifies entitling Plaintiff to recover damages pursuant to
5
             Proceedings in vindication of Civil Rights matters see. Butz v, Economou, 438 U.S. 478,
6
             506, (1978), Constitutional law stated under 42 U.S.C. § 1988(a). Hereby, entitling
7
             Plaintiff to recover damages pursuant to 42 U.S.C. § 1983.
8
         130. By doing the acts described above in Paragraph 69, Defendant Adams files to the
9     Riverside Superior Court of false and hearsay allegations which caused and/or permitted enjoins
10    defendants, their agents, employees, assigns, successors, and all other persons and entities in
11    active concert or participation with them doing the acts described above who is under the color
12    of state law who has violated rights guaranteed by Federal Statutes, and the Constitution that

13
      deprived the rights within the meaning of 42 U.S.C. § 1983. Ineffective assistance of counsel 28
      U.S.C. § 1927, where improper removal of child from custody Ex-Parte or visits 25 U.S.C. §
14
      1920, California Civil Procedure § 2.251(b)(1)(B) - Electronic service requires that any such
15
      provisions be clear consent that is agreed to service addressed on form EFS-005-cv and violates
16
      FRCP Rule 12(b) makes a lack of personal jurisdiction due to unconstitutionality of the fair Due
17
      Process Clause. Violation of 18 U.S.C. § 371 - Conspiracy to commit offense or to defraud the
18    United States, by concealing and altering court records and 18 U.S.C. § 241 Conspiracy against
19    rights. Therefore, ties in violations of Confrontation Clause 18 U.S.C. § 14141 where it is
20    unlawful for any government authority or person on behalf of the government authority to
21    conduct a pattern and practice that deprives a person of rights, privileges or immunities secured

22
      or protected by the constitution or laws in the United States.
         (a) Defendant caused and/or permitted the violation causing Plaintiffs unfair injuries for
23
             rights guaranteed by Federal Statutes and the Constitution that deprived the rights within
24
             the meaning of imbibement. To enforce sanctions against defendants FRCP Rule 11
25
             attorney caused unnecessary delays and needless increase in cost of litigations. Beiger v.
26
             Strom 46 Cal. app 4th 880 (1996). County of Riverside Superior Court and Defendant
27           Hester violates California Penal Code § 278.5 PC – Deprivation of Custody and 28
28           U.S.C. § 1357 - Injuries under Federal Laws Federal Court shall have original jurisdiction
      CIVIL RIGHTS COMPLAINT - 77
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1            of any civil action commenced by any person to recover damages for any injuries or
2            actions of any act done by him or her to enforce the rights of citizens of the United States,
3            where Pro se litigants are entitled to recover under 28. U.S.C. § 1920. The above civil

4
             right was violated by the following Defendant Adams and County of Riverside. Hereby,
             entitling Plaintiff to recover damages pursuant to 42 U.S.C. § 1983.
5
                                Eleventh Cause of Action Claim #11
6
         131. Plaintiff realleges paragraphs 70 through 71.
7
         132. By doing the acts described above in Paragraph 70, Defendant caused and/or permitted
8
      the violation enjoins defendants, their agents, employees, assigns, successors, and all other
9
      persons and entities in active concert or participation with them doing the acts described above.
10
      Thus, under the color of state law who has violated rights guaranteed by Federal Statutes, and the
11    Constitution that deprived the rights within the meaning of ineffective assistance of Defendant
12    and Minor’s Counsel Adams under 28 U.S.C. § 1927 – Counsels liability for excessive costs and
13    28 U.S.C. § 1920. Defendant Adams and Hester violations of Confrontation Clause 18 U.S.C. §

14    14141 where it is unlawful for any government authority or person on behalf of the government
      authority to conduct a pattern and practice that deprives a person of rights, privileges or
15
      immunities secured or protected by the constitution or laws in the United States.
16
         (a) Defendant caused and/or permitted the violation causing Plaintiffs unfair injuries for
17
             rights guaranteed by Federal Statutes and the Constitution that deprived the rights within
18
             the meaning of imbibement. To enforce sanctions against defendants FRCP Rule 11
19
             attorney caused unnecessary delays and needless increase in cost of litigations. Beiger v.
20           Strom 46 Cal. app 4th 880 (1996). Under 28 U.S.C. § 1357 - Injuries under Federal Laws
21           Federal Court shall have original jurisdiction of any civil action commenced by any
22           person to recover damages for any injuries or actions of any act done by him or her to

23           enforce the rights of citizens of the United States, where Pro se litigants are entitled to
             recover under 28. U.S.C. § 1920.
24
         (b) Defendant Ortiz violates Mrs. Casillas the right to visitation with child under 28 U.S.C.
25
             §1738A – Full faith and credit given to child custody determinations and 26 U.S.C. §
26
             7206 – Fraud and false statements stating that Minor’s Counsel Adams is his legal
27
             attorney. Defendants violates Constitution law violations against Due Process Clause of
28
      CIVIL RIGHTS COMPLAINT - 78
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1            the Fourteenth Amendment. Federal Rule of Civil Procedure Rule 46- Objecting to a
2            Rule or Order Taking Clause of the Fifth Amendment. Violation of Intentional Reckless
3            Disregard and Intrusion to Chattel Tort, due to unlawful Fair Process and Tort,

4
             Intentional Infliction of Emotional Distress Tort, Common Law Tort of Deceit, and
             grounds under California Claims Act of Intentional Misconduct or negligence tort of
5
             California Civil Code of Civil Procedure § 3294 - Cruel and unjust hardship, disregard of
6
             persons rights. The above civil right was violated by the following Defendant Adams,
7
             County of Riverside, and Ortiz. Hereby, entitling Plaintiff to recover damages pursuant to
8
             42 U.S.C. § 1983. That justifies entitling Plaintiff to recover damages pursuant to
9            Proceedings in vindication of Civil Rights matters see. Butz v, Economou, 438 U.S. 478,
10           506, (1978), Constitutional law stated under 42 U.S.C. § 1988(a).
11       133. By doing the acts described above in Paragraph 71, Defendant caused and/or permitted
12    the violation enjoins defendants, their agents, employees, assigns, successors, and all other

13
      persons and entities in active concert or participation with them doing the acts described above
      who is under the color of state law who has violated rights guaranteed by Federal Statutes, and
14
      the Constitution that deprived the rights within the meaning of ineffective assistance of
15
      Defendant and Minor’s Counsel Adams under 28 U.S.C. § 1927 – Counsels liability for
16
      excessive costs and 28 U.S.C. § 1920. Defendant Adams and Hester violations of Confrontation
17
      Clause 18 U.S.C. § 14141 where it is unlawful for any government authority or person on behalf
18    of the government authority to conduct a pattern and practice that deprives a person of rights,
19    privileges or immunities secured or protected by the constitution or laws in the United States.
20       (a) Defendant caused and/or permitted the violation causing Plaintiffs unfair injuries for
21           rights guaranteed by Federal Statutes and the Constitution that deprived the rights within

22
             the meaning of imbibement. To enforce sanctions against defendants FRCP Rule 11
             attorney caused unnecessary delays and needless increase in cost of litigations. Beiger v.
23
             Strom 46 Cal. app 4th 880 (1996). Riverside Superior Court and Defendant Hester
24
             violates California Penal Code § 278.5 PC – Deprivation of Custody and 28 U.S.C. §
25
             1357 - Injuries under Federal Laws Federal Court shall have original jurisdiction of any
26
             civil action commenced by any person to recover damages for any injuries or actions of
27           any act done by him or her to enforce the rights of citizens of the United States, where
28           Pro se litigants are entitled to recover under 28 U.S.C. § 1920.
      CIVIL RIGHTS COMPLAINT - 79
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1        (b) Defendants violates Constitution law violations against Due Process Clause of the
2           Fourteenth Amendment. Federal Rule of Civil Procedure Rule 46- Objecting to a Rule or
3           Order Taking Clause of the Fifth Amendment. Deprivation of civil liberty under the color

4
            of state law who has violated rights guaranteed by Federal Statutes, and the Constitution
            that deprived the rights within the remedy against state actors who have failed to prevent
5
            conspiracy. Violation of Intentional Reckless Disregard and Intrusion to Chattel Tort, due
6
            to Unlawful Fair Process and Tort, Intentional Infliction of Emotional Distress Tort, and
7
            grounds under California Claims Act of Intentional Misconduct or negligence Tort of
8
            California Civil Code of Civil Procedure § 3294 - Cruel and unjust hardship, disregard of
9           persons rights. Defendant Hester violates Oaths of justices and judges under 28 U.S.C. §
10          453, California Family Code § 3031, California Family Code § 3044, 18 U.S.C. § 3283,
11          42 U.S.C. § 12101, et seq, 18 U.S.C. § 242 -Deprivation of rights under color of law, 18
12          U.S.C. § 241 – Conspiracy against rights, 10 U.S.C. § 932 – Art. 132. Retaliation, 42

13
            U.S.C. § 12203, 28 U.S.C. § 144 – Bias or prejudice of judge is clear that Hester is
            unethical and impartial thus plaintiff cannot have a fair trial at the Riverside Superior
14
            Court.
15
         (c) Therefore, compromising the Children’s Rights, emotional well-being, abuse by other
16
            parent Ortiz, and forcing the child to side with one parent or the other, emotional
17
            depression from abuse, insomnia by disturbance to sleeping habits causing loss of sleep
18          from having nightmares, anxiety, a complete disruption to childhood life and routine.
19          Causing Infliction of Emotional Distress Tort, Common Law Tort of Deceit, Assault, and
20          Battery Tort. Equal Protection, Privileges, Rights, Immunity Clause 42 U.S.C § 1985 and
21          1986. The above civil right was violated by the following Defendant Hester, County of

22
            Riverside, Adams, and Ortiz. Hereby, entitling Plaintiff to recover damages pursuant to
            42 U.S.C. § 1983. That justifies entitling Plaintiff to recover damages pursuant to
23
            Proceedings in vindication of Civil Rights matters see. Butz v, Economou, 438 U.S. 478,
24
            506, (1978), Constitutional law stated under 42 U.S.C. § 1988(a).
25
                                Twelfth Cause of Action Claim #12
26
         134. Plaintiff realleges paragraphs 72 through 75.
27

28
      CIVIL RIGHTS COMPLAINT - 80
     Case 5:22-cv-01648-JLS-KS Document 1 Filed 09/19/22 Page 81 of 112 Page ID #:81



1        135. By doing the acts described above in Paragraph 72, Defendant Nordin was present
2     during supervised visitation with minor child discloses that Defendant Ortiz telling child her
3     mother is a liar and don’t listen to anything she tells you. Minor child cries frightful and pulls on

4
      mother/Plaintiff to not make her go with Defendant Ortiz showing extreme concerns of child
      abuse by Defendant Ortiz. Defendant Ortiz is clearly abusing minor child as there are reports of
5
      abuse with Child Protective Services County of Riverside and child showing extreme distress
6
      when having to be handed over to father. It would be reasonable to believe any person in their
7
      right mind would intervene by enforcing protection from the abuser being cruel and usual
8
      punishment. Knowledge of the situation of a child is vulnerable to abuse as children have the
9     right to be safe and free from abuse California Family Code § 3020.
10       (a) Defendant caused and/or permitted enjoins defendants, their agents, employees, assigns,
11           successors, and all other persons and entities in active concert or participation with them
12           doing the acts described above who is under the color of state law who has violated rights

13
             guaranteed by Federal Statutes, and the Constitution that deprived the rights within the
             meaning of 42 U.S.C. § 1983. Makes the visitation monitor a contributor by association
14
             due to ignoring Ortiz misconduct and where evidence of reports contradicts each other
15
             and are not consistent. Violation of minor child that was documented on Defendant
16
             Nordin where failing to report child abuse that is required under 18 U.S.C. § 3283 -
17
             Offenses against children - No statute of limitations that would otherwise preclude
18           prosecution for an offense involving the sexual or physical abuse, or kidnaping, of a child
19           under the age of eighteen years old. California Penal Code § 11165.9 neglects to report
20           suspected child abuse and welfare, California Penal Code § 11165.7 (a)(30), California
21           Penal Code § 11165.3, 18 U.S.C. § 3509 (a)(1)(2)(A)(3)(4)(5)(11)(12), 34 U.S.C. §

22
             20341(a)(1)(b)(3)(c)(1)(2)(3) - Child abuse reporting.
         (b) Under California Government Code § 820.21(a)(b) to cause injury to the plaintiff or
23
             despicable conduct that is carried on by the person described in sub. division (a) with a
24
             willful and conscious disregard of the rights or safety of others especially children. This
25
             is the most pain that any parent could have endorsed by a political person of power with
26
             being the Riverside Superior Court judge and defendant Hester. By distressing a mothers’
27           ability to make age-appropriate decisions for her own child, unable to know of her child's
28           physical wellbeing, unable to have a relationship with her daughter, and having the child
      CIVIL RIGHTS COMPLAINT - 81
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1            to be subject to abuse by Defendant Ortiz. Rights guaranteed by Federal Statutes, and the
2            Constitution that deprived the rights within the meaning of embedment to enforce
3            sanctions against defendants FRCP Rule 11 attorney and Minors Counsel Adams caused

4
             unnecessary delays and needless increase in cost of litigation damages, including general
             that purposely torture and traumatize plaintiff. Thus, violates California Family Code §
5
             3027.5(a)(1)(2) without authority or jurisdiction with not following the State and Federal
6
             statutory law being constitutional due process. That prohibits congress from obstructing
7
             individuals’ privileges and freedom of association guarantees immunity to civil liberty
8
             parenting right to be protection and or shall not be infringed upon.
9        (c) Due to Defendant Hester orders to make an unjustified supervised visitation cost for the
10           monitors and to drive two-three hours to visit with minor child, cover the cost of fuel,
11           wear, and tear on vehicle, and to cover the cost of special events with child. Plaintiff
12           litigation fees and unnecessary legal abuse punishing the wrong doer. Where malicious

13
             intent to cause suffering and irreparable harm of emotional distress for the intentional
             legal abuse conduct where the damages are ongoing. Thus, being intentional infliction of
14
             emotional distress due to Riverside Superior Court continuous legal abuse syndrome to
15
             mother/plaintiff, minor child, and family.
16
         (d) Therefore, compromising the Children’s Rights, emotional well-being, abuse by other
17
             parent Ortiz, and forcing the child to side with one parent or the other, emotional
18           depression from abuse, insomnia by disturbance to sleeping habits causing loss of sleep
19           from having nightmares, anxiety, a complete disruption to childhood life and routine.
20           Causing Infliction of Emotional Distress Tort, Common Law Tort of Deceit, Assault, and
21           Battery Tort. Equal Protection, Privileges, Rights, Immunity Clause 42 U.S.C § 1985 and

22
             1986. The above civil right was violated by the following Defendant Hester, Nordin,
             County of Riverside, and Ortiz. Hereby, entitling Plaintiff to recover damages pursuant to
23
             42 U.S.C. § 1983.
24
         136. By doing the acts described above in Paragraph 73, Defendant Adam files with the
25
      Riverside Superior Court false declaration of lies and hearsay by defendant Ortiz that caused
26
      and/or permitted enjoins defendants, their agents, employees, assigns, successors, and all other
27    persons and entities in active concert or participation with them doing the acts described above
28    who is under the color of state law. Defendant has violated rights guaranteed by Federal Statutes
      CIVIL RIGHTS COMPLAINT - 82
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1     and the Constitution that deprived the rights within the meaning of 42 U.S.C. § 1983, California
2     Civil Code § 3294(c)(1)(2)(3), 28 U.S.C. § 1927 - Counsel’s liability for excessive costs. Under
3     28 U.S.C. Fed. Rules of Evid. 610 you can't know a fact until you know what evidence is and

4
      nothing more than hearsay. Where Article VIII FRCP Rule 802 excludes hearsay as relevant
      showing correct procedural evidence and procedural rules against hearsay being admissible for
5
      the taking of personal chattel being a child.
6
         (a) Plaintiff Casillas has lost certain rights without a meaningful hearing or even having an
7
             opportunity to be heard. False allegations of accusing plaintiffs are inconsistent and out
8
             of contents with altering court documents and evidence. Plaintiff argues that there are no
9            issues of material fact. California Penal Code § 118 PC: Perjury, California Penal Code §
10           278.5, ARTICLE 2.5. Child Abuse and Neglect Reporting Act 11164 (b); 11165.3;
11           11165.7(a)(21), Penal Code Section 11166, 28 U.S.C. § 1367(a) Article III Rule 20.
12       (b) This would unjustly force the plaintiff to only see her daughter for two hours at a time per

13
             week that would affect minor child who already had a deep psychological trauma due to
             Minors Counsel and Defendant Adams falsifying documents to the Riverside Superior
14
             Court. Just for one moment of your time how would any child or mother feel only seeing
15
             their only child for two hours per week. Due to the corruption at the County of Riverside
16
             County Superior Court by making up false or malicious allegations and unlawful actions
17
             to remove a child from her mother. Plaintiff can understand and agree if she was an unfit
18           parent but that is definitely not the case in this matter. Due to my suffering that was
19           caused by a bias and or prejudice unfair injuries being insomnia anxiety, depression, and
20           legal abuse syndrome by the Riverside County Superior Court. Begier v. Strom 46 Cal.
21           App. 4th 880 (1996). Under 28 U.S.C. § 1357 - Injuries under Federal Laws Federal

22
             Court shall have original jurisdiction of any civil action commenced by any person to
             recover damages for any injuries or actions of any act done by him or her to enforce the
23
             rights of citizens of the United States, where Pro se litigants are entitled to recover under
24
             28 U.S.C. § 1920.
25
         (c) Defendant caused and/or permitted the violation of Common Law Tort of Deceit. The
26
             United States institutes prosecution of all violations of laws under 42 U.S.C. § 1987.
27           Plaintiff’s Casillas have the right to be free from corruption and due to the court's corrupt
28           actions depriving Plaintiff of any constitutional protection of rights. Defined under the
      CIVIL RIGHTS COMPLAINT - 83
     Case 5:22-cv-01648-JLS-KS Document 1 Filed 09/19/22 Page 84 of 112 Page ID #:84



1            Civil Rights Act of the Fourteenth Amendment. Thus, violates California Family Code §
2            3027.5(a)(1)(2) without authority or jurisdiction with not following the State and Federal
3            statutory law being constitutional due process. That prohibits congress from obstructing

4
             individuals’ privileges and freedom of association guarantees immunity to civil liberty
             parenting right to be protection and or shall not be infringed upon. When a government
5
             official acting under the color of law loses absolute immunity against suit when he or she
6
             intentionally breaches their oath and obligated duty to meet major requirements. Where a
7
             judge and minors counsel cover up, ignores, and enabling Defendant Ortiz misconduct
8
             and or behavior by ignoring plaintiff direct evidence towards them defending self against
9            inaccurate accusations. That were all based on hearsay while not being at unknown
10           hearings and losing fundamental parental rights. Without a meaningful hearing or even an
11           opportunity to be heard in court and or to be disciplined by the court.
12       (d) Therefore, compromising the Children’s Rights, emotional well-being, abuse by other

13
             parent Ortiz, and forcing the child to side with one parent or the other, emotional
             depression from abuse, insomnia by disturbance to sleeping habits causing loss of sleep
14
             from having nightmares, anxiety, a complete disruption to childhood life and routine.
15
             Causing Infliction of Emotional Distress Tort, Common Law Tort of Deceit, Assault, and
16
             Battery Tort. Equal Protection, Privileges, Rights, Immunity Clause 42 U.S.C § 1985 and
17
             1986. The above civil right was violated by the following Defendant Hester, County of
18           Riverside, Adams, and Ortiz. Hereby, entitling Plaintiff to recover damages pursuant to
19           42 U.S.C. § 1983.
20       137. By doing the acts described above in Paragraph 74, Defendant Ortiz altered court
21    documents and provided them to supervised visitation monitor and Defendant Nordin. Defendant

22
      caused and/or permitted enjoins defendants, their agents, employees, assigns, successors, and all
      other persons and entities in active concert or participation with them doing the acts described
23
      above. Thus, has violated rights guaranteed by Federal Statues, and the Constitution that
24
      deprived the rights within the meaning of California Penal Code § 278.5 PC makes it a crime
25
      maliciously to deprive another adult of his/her lawful right to custody of or visitation with a child
26
      and 8 U.S.C. § 1324c (a) Penalties for document fraud, violation of 18 U.S.C. § 371 - Conspiracy
27    to commit offense or to defraud the United States, by concealing and altering court records.
28    Defendant Adams ineffective assistance as minor’s counsel 28 U.S.C. § 1927 and 18 U.S.C. §
      CIVIL RIGHTS COMPLAINT - 84
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1     241 to conspire against rights with Ortiz to not make minor child available for visitation with
2     Mrs. Casillas.
3            (a) Defendants Ortiz and Adams shall be held accountable for Penal Code § 278.5 PC in

4
                 which it states, “When you deprive someone of their right to visitation with a child-
                 even if they don’t have custody. Rights guaranteed by Federal Statutes and the
5
                 Constitution that deprived the rights within the meaning of imbibement. To enforce
6
                 sanctions against defendants FRCP Rule 11 attorney and Defendant Adams caused
7
                 unnecessary delays and needless increase in cost of litigation damages. For working
8
                 against the best interests of the child under California Family Code § 3151(a) as well
9                as the unlawfulness including general that purposely torture and traumatize plaintiff.
10               Where malicious intent to cause suffering and irreparable harm of emotional distress
11               for the intentional legal abuse conduct where the damages are ongoing. Plaintiff shall
12               recover damages pursuant to 42 U.S.C. § 1983, causing the loss of time, where time is

13
                 extremely valuable to the life of a mother and her only child. There is no amount of
                 money that can ever replace that ever again, nor that has been caused to plaintiffs.
14
                 Under 28 U.S.C. § 1357 - Injuries under Federal Laws Federal Court shall have
15
                 original jurisdiction of any civil action commenced by any person to recover damages
16
                 for any injuries or actions of any act done by him or her to enforce the rights of
17
                 citizens of the United States. When a government official acting under the color of
18               law loses absolute immunity against suit when he or she intentionally breaches their
19               oath and obligated duty to meet major requirements.
20           (b) Where a judge covers up, ignores, and enables Defendant Ortiz misconduct and or
21               behavior by ignoring plaintiff direct evidence towards them defending self against

22
                 inaccurate accusations. That were all based on hearsay while not being at unknown
                 hearings and losing fundamental parental rights. Without a meaningful hearing or
23
                 even an opportunity to be heard in court and or to be disciplined by the court.
24
                 Defendant is in violation of Confrontation Clause 18 U.S.C. § 14141 where it is
25
                 unlawful for any government authority or person on behalf of the government
26
                 authority to conduct a pattern and practice that deprives a person of rights, privileges
27               or immunities secured or protected by the constitution or laws in the United States.
28
      CIVIL RIGHTS COMPLAINT - 85
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1            (c) Therefore, compromising the Children’s Rights, emotional well-being, abuse by other
2                parent Ortiz, and forcing the child to side with one parent or the other, emotional
3                depression from abuse, insomnia by disturbance to sleeping habits causing loss of

4
                 sleep from having nightmares, anxiety, a complete disruption to childhood life and
                 routine. Causing Infliction of Emotional Distress Tort, Common Law Tort of Deceit.
5
                 Equal Protection, Privileges, Rights, Immunity Clause 42 U.S.C § 1985 and 1986.
6
                 The above civil right was violated by the following Defendant Hester, County of
7
                 Riverside, Adams, and Ortiz. Hereby, entitling Plaintiff to recover damages pursuant
8
                 to 42 U.S.C. § 1983.
9        138. By doing the acts described above in Paragraph 75, Defendant Adams files an Ex-Parte
10    to Riverside Superior Court for Plaintiff and Mrs. Casillas to have no contact with her child due
11    to Ortiz making false or malicious allegations against Mrs. Casillas. Defendant Reed oversee Ex-
12    Parte and denied order. Defendant Adams office emailed copy to Plaintiff. Defendant caused

13
      and/or permitted enjoins defendants, their agents, employees, assigns, successors, and all other
      persons and entities in active concert or participation with them doing the acts described above
14
      who is under the color of state law who has violated rights guaranteed by Federal Statutes, and
15
      the Constitution that deprived the rights within the meaning of California Penal Code § 1714.10,
16
      California Rules of Court § 5.151, California Family Code § 3064, 18 U.S.C. § 1038, United
17
      States Constitutional Civil Rights Eighth and Fourteenth Amendments.
18       (a) Under 2021 California Rules of the court Code of Civil Procedure Rule 2.251 (b)(1),
19           California Rules of The Court Rule 5.240 (a)(2)(3)(d)(f), 18 U.S.C. § 241 - Conspiracy
20           against rights, 8 U.S.C § 1451(a), 8 U.S.C § 1101(f)(6) grounds of imbibement to enforce
21           sanctions against defendants FRCP Rule 11 attorney caused unnecessary delays and

22
             needless litigations. Thus, entitling Plaintiff to file civil suit pursuant to 42 U.S.C. § 1983.
             Ineffective assistance of counsel 28 U.S.C. § 1927, where improper removal of child
23
             from custody Ex-Parte or visits 25 U.S.C. § 1920, California Family Code § 3151(a),
24
             California Civil Procedure § 2.251(b)(1)(B) - Electronic service requires that any such
25
             provisions be clear consent that is agreed to service addressed on form EFS-005-cv, and
26
             violates FRCP Rule 12(b) makes a lack of personal jurisdiction due to unconstitutionality
27           of a fair due process clause.
28
      CIVIL RIGHTS COMPLAINT - 86
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1        (b) Thus, ties in violations of Confrontation Clause 18 U.S.C. § 14141 where it is unlawful
2            for any government authority or person on behalf of the government authority to conduct
3            a pattern and practice that deprives a person of rights, privileges or immunities secured or

4
             protected by the constitution or laws in the United States. Defendant shall be held
             accountable for Penal Code § 278.5 PC in which it states, “When you deprive someone of
5
             their right to visitation with a child-even if they don’t have custody. Rights guaranteed by
6
             Federal Statutes, and the Constitution that deprived the rights within the meaning of
7
             imbibement. To enforce sanctions against defendants FRCP Rule 11 attorney and
8
             Minor’s Counsel Adams caused unnecessary delays and needless increase in cost of
9            litigations. Begier v. Strom 46 Cal. app 4th 880 (1996).
10       (c) Therefore, under 28 U.S.C. § 1357 - Injuries under Federal Laws Federal Court shall
11           have original jurisdiction of any civil action commenced by any person to recover
12           damages for any injuries or actions of any act done by him or her to enforce the rights of

13
             citizens of the United States, where Pro se litigants are entitled to recover under 28
             U.S.C. § 1920. Causing Infliction of Emotional Distress Tort, Common Law Tort of
14
             Deceit. Equal Protection, Privileges, Rights, Immunity Clause 42 U.S.C § 1985 and 1986.
15
             The above civil right was violated by the following Defendant Adams, County of
16
             Riverside, Reed, and Ortiz. Hereby, entitling Plaintiff to recover damages pursuant to 42
17
             U.S.C. § 1983.
18
                                Thirteenth Cause of Action Claim #13
19
         139. Plaintiff realleges paragraphs 76 through 78.
20       140. By doing the acts described above in Paragraph 76, Defendant Ortiz made credible
21    threats to Mr. Casillas and screams a minor child causing child to quiver in fear of Ortiz.
22    Defendant caused and/or permitted enjoins defendants, their agents, employees, assigns,

23    successors, and all other persons and entities in active concert or participation with them doing
      the acts described above who is under the color of state law who has violated rights guaranteed
24
      by Federal Statutes, and the Constitution that deprived the rights within the meaning of 42
25
      U.S.C. § 1983. Defendant shall be held accountable for their crimes and be prosecuted in a court
26
      of law for the disciplinary actions against defendants for the personal liability and intentional
27
      deliberate crimes committed by causing mother to jeopardize her case and life with her child.
28
      CIVIL RIGHTS COMPLAINT - 87
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1        (a) Due to unfair injuries actions from happening and shall be held accountable under 42
2     U.S.C. § 1985(3) for neglect to prevent and injuries have occurred due to state actors who have
3     failed to prevent described and defined under 42 U.S.C. § 1986. Causing Intentional Infliction of

4
      Emotional distress due to legal abuse to mother and family. That have been described as factual
      where defendant shall be held accountable for Intentional infliction of emotional distress tort and
5
      to malicious prosecution. All admissible for the unlawful taking of plaintiffs personal chattel
6
      being minor child without having a fair due process. Defendant loses personal jurisdiction.
7
         (b) Thus, being a statute where credible threats would put the plaintiff /victim in great danger
8
      causing extreme unnecessary hardships, being, stress, anxiety due to the fear for their life, and
9     safety. There is no excuse for Defendants’ actions causing plaintiff and minor child to be
10    victimized and strongly constitutes the right to file civil litigations in Tort law for violations of
11    protected statutory encroachment. This has been compromising the child's rights, emotional well-
12    being, and forcing the child to side with one parent or the other. For violations of 18 U.S.C. §

13
      3509 - Child victims and rights. Children have the right to be safe and free from abuse California
      Family Code § 3020.
14
         (c) Therefore, Defendant Ortiz made credible threats of violence to Mr. Casillas and shall be
15
      held accountable for 10 U.S.C. § 915 – Art.115 Communicating threats. Violations of 28 U.S.C.
16
      § 1357 - Injuries under Federal Laws Federal Court shall have original jurisdiction of any civil
17
      action commenced by any person to recover damages for any injuries or actions of any act done
18    by him or her to enforce the rights of citizens of the United States, where Pro se litigants are
19    entitled to recover under 28 U.S.C. § 1920. The above civil right was violated by the following
20    Defendant Ortiz. Hereby, entitling Plaintiff to recover damages pursuant to 42 U.S.C. § 1983.
21       141. By doing the acts described above in Paragraph 77, Plaintiff Casillas attorney files

22
      Restraining Order to the Riverside Superior Court against Defendant Ortiz misconduct. Order
      denied by Judge and Defendant Hester. Defendant Hester under the color of state law who has
23
      violated rights guaranteed by Federal Statutes, and the Constitution that deprived the rights
24
      within the meaning of 42 U.S.C. § 1985(3), and 42 U.S.C. § 1983 Prohibits congress from
25
      obstructing justice and makes a clear requirement that all trial is equally protected by fair due
26
      process of law. That affected plaintiffs’ civil liberties within the meaning under privileges clause
27    of the Fifth and Fourteenth Amendments of the United States Constitution. Defendant caused
28    and/or permitted enjoins defendants, their agents, employees, assigns, successors, and all other
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1     persons and entities in active concert or participation with them doing the acts described above
2     who is under the color of state law who has violated rights guaranteed by Federal Statutes, and
3     the Constitution that deprived the rights within the meaning of 42 U.S.C. § 1983. Where credible

4
      threats that were made towards Mr. Casillas. Judge and Defendant Hester denied Mr. Casillas to
      be present in courtroom. Therefore, Mr. Casillas was unable to have a fair hearing to defend
5
      himself due to Defendant Hester retaliating against Plaintiffs for filing a restraining order against
6
      Defendant Ortiz. Judge and Defendant Hester is clearly prejudice and bias toward Plaintiff’s and
7
      failed to uphold the integrity and independence of the judiciary.
8
             (a) The County of Riverside Superior Court have failed to enforce plaintiff’s state and
9                federal rights. Judge and Defendant Hester failed to protect the health, safety, and
10               wellbeing of the minor child due to Hester still letting Ortiz obtain full/sole custody
11               of daughter. Therefore, not in the best interest of the child to undergo traumatizing
12               incidents by Ortiz conduct. Defendant Hester not reprimanding Ortiz for his actions

13
                 and Denied attorney request that Ortiz be on probation for his behavior. Defendant
                 Hester enabling Ortiz bad behavior clearly shows Hester is bias and prejudice against
14
                 plaintiffs. By not holding Defendants Ortiz liable for his actions and ignoring his
15
                 misconduct or concealing his crimes. Defendant Hester is in violation of 18 U.S.C. §
16
                 371 - Conspiracy to commit offense or to defraud the United States, by concealing
17
                 and altering court records, 18 U.S.C. § 241 Conspiracy against rights, 42 U.S.C. §
18               12203 – Prohibition against retaliation and coercion, 42 U.S.C. § 1985 Conspiracy to
19               interfere with civil rights, Canon 1, Canon 2, Canon 3, 18 U.S.C. § 3509 – Child
20               victims’ and child witnesses’ rights, 28 U.S.C. § 144 – Bias or prejudice of judge.
21           (b) Deprivation of civil liberty under the color of state law who has violated rights

22
                 guaranteed by Federal Statutes, and the Constitution that deprived the rights within
                 the remedy against state actors who have failed to prevent conspiracy. Shall be held
23
                 accountable under 42 U.S.C. § 1986 for interfering with civil rights and equal
24
                 protection of rights being life and chattel where children are entitled to all rights and
25
                 freedoms.
26
             (c) State judges are subject to the court for intentional actions to intimidate and retaliate
27               against a person that escalate to be more aggressive. By Defendant Hester legal
28               discretions made with no consideration of how actions would affect seven-year-old
      CIVIL RIGHTS COMPLAINT - 89
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1               minor child. This completely ignoring an innocent little girl's desperate need for
2               constitutional protection. Due to Mrs. Casillas exercising her opinion or practicing
3               her faith of life, and liberty. All that being freedom of speech that being a

4
                Constitutional Right under the First Amendment and 11 U.S.C. § 1109 - Right to be
                heard. Having every legal right to file a litigation case.
5
            (d) The Riverside Superior Court unfair injuries by the conduct of defendants described
6
                above caused and/or permitted in where civil rights were violated. The deprivation of
7
                rights under color of law who permitted and enabled Defendant Ortiz to violate 10
8
                U.S.C. § 915- Art. 115 Communicating Threats, 18 U.S.C. § 3509 – Child victims’
9               and child witnesses’ rights, 28 U.S.C. § 1784 – Contempt of court, and children have
10              the right to be safe and free from abuse California Family Code § 3020.
11          (e) It is established under Privileges of Immunity Clause Amendment XIV Section I
12              Clause 2 of the United States Constitution Fourteenth Amendment deprivation of

13
                rights under color of law by Defendant Hester who ignored Federal Rules of
                Evidence 407. Where if subsequent remedial measures would have been taken earlier
14
                that would have made an injury earlier or harm less likely against discrimination
15
                liberty protections Roberts v. United States Jaycees, 468 U.S. 609 (1984) First and
16
                Fourteenth Amendments. The Fifth Amendment due process clause prohibits the
17
                federal government from discrimination if the discrimination is so unjustifiable that it
18              violates due process of law. Bolling v. Sharpe, 2010.
19          (f) Plaintiff’s Casillas have the right to be free from corruption and due to the court's
20              corrupt actions depriving plaintiff of any constitutional protection of rights. Defined
21              under the Civil Rights Act of the Fourteenth Amendment. Plaintiff’s and minor child

22
                have undergone legal abuse syndrome by Riverside Superior Court and Defendant
                Hester. Violations of 28 U.S.C. § 1357 - Injuries under Federal Laws Federal Court
23
                shall have original jurisdiction of any civil action commenced by any person to
24
                recover damages for any injuries or actions of any act done by him or her to enforce
25
                the rights of citizens of the United States, where Pro se litigants are entitled to recover
26
                under 28 U.S.C. § 1920. The above civil right was violated by the following
27              Defendant Ortiz, County of Riverside, and Hester. Hereby, entitling Plaintiff to
28              recover damages pursuant to 42 U.S.C. § 1983.
      CIVIL RIGHTS COMPLAINT - 90
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1                              Fourteenth Cause of Action Claim #14
2        142. Plaintiff realleges paragraphs 79 through 81.
3        143. By doing the acts described above in Paragraph 79, Plaintiff’s call 911 for a welfare
4     check of minor child due to mother noticing a bruise on child leg during a video chat. Defendant

5     Ortiz neglect and refused care from the fire department for the minor child. Defendant caused
      and/or permitted enjoins defendants, their agents, employees, assigns, successors, and all other
6
      persons and entities in active concert or participation with them doing the acts described above
7
      who is under the color of state law who has violated rights guaranteed by Federal Statutes, and
8
      the Constitution that deprived the rights within the meaning of 42 U.S.C. § 1983. Enjoins
9
      defendants, their agents, employees, assigns, successors, and all other persons and entities in
10
      active concert or participation with them doing the acts described above.
11       (a) Thus, responding officer from the County of Riverside intentionally neglected to get
12           minor child proper medical attention nor reported the child abuse and ignoring child
13           desperate need of help by abusing father and Defendant Ortiz. County of Riverside

14           officer from the Palm Desert Police Department violates 18 U.S.C. §1169(a)(1)(H) -
             Reporting of child abuse. In pari delicto.
15
         (b) Defendant Ortiz causes malicious parent syndrome and neglecting child's wellbeing to
16
             obtain necessary medical attention by person with proper scope of practice. Ortiz violates
17
             18 U.S.C. § 3509 – Child victims’ and child witnesses’ rights, 18 U.S.C. § 3283 –
18
             Offenses against children no statute of limitations physical abuse or kidnapping under
19
             eighteen years of age, Children have the right to be safe and free from abuse California
20           Family Code § 3020. However, Ortiz being the parent acted in contrary to the best
21           interest of the child. Due to the refusal to provide consent for the child’s medical care.
22           Therefore, causing hardships to child's physical and medical wellbeing, mental health,

23           emotional PTSD, anxiety, and severe depression to a child. Begier v. Strom 46 Cal. app
             4th 880 (1996).
24
         (c) Violations under 28 U.S.C. § 1357 Injuries under Federal Laws Federal Court shall have
25
             original jurisdiction of any civil action commenced by any person to recover damages for
26
             any injuries or actions of any act done by him or her to enforce the rights of citizens of
27
             the United States, where Pro se litigants are entitled to recover under 28 U.S.C. § 1920.
28
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1             The above civil right was violated by the following Defendant Ortiz and County of
2             Riverside officer of Palm Desert Police Department. Hereby, entitling Plaintiff to recover
3             damages pursuant to 42 U.S.C. § 1983.

4
         144. By doing the acts described above in Paragraph 80, Defendant Lopez and Ortiz caused
      and/or permitted enjoins defendants, their agents, employees, assigns, successors, and all other
5
      persons and entities in active concert or participation with them doing the acts described above.
6
      Being under the color of state law who has violated rights guaranteed by Federal Statutes, and
7
      the Constitution that deprived the rights within the meaning of deceitful Fraud Tort, California
8
      Civil Code § 45, CFR § 73.735-1003-(a)(b)(d) - Conflicts of interest statutes, 18 U.S.C. § 371 -
9     Conspiracy to commit offense or to defraud the United States, by concealing and altering court
10    records and 18 U.S.C. § 241 Conspiracy against rights. United States 388 (1971) Limitations of
11    Bivens 31 U.S.C. § 3729, 28 U.S.C. § 1367(a) Article III Rule 20, California Canon 3c (2)(5), 42
12    U.S.C. § 14141, United States Constitutional Civil Rights Eighth and Fourteenth Amendments.

13
      Therefore, the United States institutes prosecution of all violations of laws under 42 U.S.C. §
      1987.
14
         (a) Defendant Lopez consistently helps Ortiz that has caused substantial hardships that
15
              jeopardized all of plaintiffs' cases. Defendant Lopez actions being legal grounds to
16
              invoke 42 U.S.C. § 14141 - Conflict of interest. Due to being an employee of the County
17
              of Riverside Superior Court, Larson Justice Center has personal and financial interest.
18            Defendant Hester caused malicious prosecutions against plaintiff while knowing the court
19            clerk and Defendant Lopez due to her working in the Family Law Division of the
20            courthouse by intentionally and willfully acted in bad faith.
21       (b) Defendant Lopez and Hester caused fraud upon the court by causing plaintiffs unfair

22
              injuries being delays with unfair trials that being civil disorder described under 18 U.S.C.
              § 232. That caused plaintiff to be in immediate danger that escalated by retaliation only to
23
              punish plaintiff for defending their fundamental civil rights. Being a conflict of interest
24
              that is strictly prohibited where plaintiffs have the right to be free from corruption. These
25
              violations are punishable by disciplinary actions of criminal prosecution under 42 U.S.C.
26
              § 1988. This has caused extreme hardships by substantial interference in the case and
27            having a relationship with the child.
28
      CIVIL RIGHTS COMPLAINT - 92
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1        (c) Violations under 42 U.S.C. § 14141 - Conflict of interest where an employee has
2            personal and financial interest being strictly prohibited and violations are punishable by
3            disciplinary actions of criminal prosecution and 8 U.S.C. § 1324(a)(1)(2)(5). Defendant

4
             Lopez still consistently helped Ortiz that has caused substantial hardships that
             jeopardized all of plaintiffs' cases even when plaintiff had spoken to Lopez supervisor at
5
             the County of Riverside Superior Court to make them aware of the situation at hand.
6
             Begier v. Strom 46 Cal. App. 4th 880 (1996). Therefore, 28 U.S.C. § 1357 - Injuries
7
             under Federal Laws Federal Court shall have original jurisdiction of any civil action
8
             commenced by any person to recover damages for any injuries or actions of any act done
9            by him or her to enforce the rights of citizens of the United States, where Pro se litigants
10           are entitled to recover under 28 U.S.C. § 1920. The above civil right was violated by the
11           following Defendant Lopez, County of Riverside, and Ortiz. Hereby, entitling Plaintiff to
12           recover damages pursuant to 42 U.S.C. § 1983.

13
         145. By doing the acts described above in Paragraph 81, Defendant and Minors Counsel
      Adams files an Ex-Parte to Riverside Superior Court for Plaintiff and Mrs. Casillas to end video
14
      chats with her child due to Ortiz making false or malicious allegations against Mrs. Casillas.
15
      Defendant and Judge Hester grants orders without having a hearing. Defendant Hester under the
16
      color of state law who has violated rights guaranteed by Federal Statutes, and the Constitution
17
      that deprived the rights within the meaning of 42 U.S.C. § 1985(3), 42 U.S.C. § 1988, and 42
18    U.S.C. § 1983. Prohibits congress from obstructing justice and makes a clear requirement that all
19    trial is equally protected by fair due process of law. That affected plaintiffs’ civil liberties within
20    the meaning under, privileges clause of the Fifth, Sixth, Eighth, and Fourteenth Amendments of
21    the United States Constitution.

22
         (a) Judge and Defendant Hester is clearly prejudice and bias toward Plaintiff’s and failed to
             uphold the integrity and independence of the judiciary. Defendant Hester violates 11
23
             U.S.C. § 1109 - Right to be heard, 18 U.S.C. § 371 - Conspiracy to commit offense or to
24
             defraud the United States, by concealing and altering court records, 18 U.S.C. § 241 –
25
             Conspiracy of rights, 42 U.S.C. § 12203 – Prohibition against retaliation and coercion,
26
             Canon 1, Canon 2, Canon 3. Plaintiff has the right to be heard and to have a fair due
27           process of law. Defendant Adams office emailed copy to Plaintiff. Defendant caused
28           and/or permitted enjoins defendants, their agents, employees, assigns, successors, and all
      CIVIL RIGHTS COMPLAINT - 93
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1           other persons and entities in active concert or participation with them doing the acts
2           described above who is under the color of state law who has violated rights guaranteed by
3           Federal Statutes, and the Constitution that deprived the rights within the meaning of

4
            California Penal Code § 1714.10, California Rules of Court § 5.151, California Family
            Code § 3064 ,18 U.S.C. § 1038, United States Constitutional Civil Rights Eighth and
5
            Fourteenth Amendments.
6
         (b) Under 28 U.S.C. Fed. Rules of Evid. 610 you can't know a fact until you know what
7
            evidence is and nothing more than hearsay. Where Article VIII FRCP Rule 802 excludes
8
            hearsay as relevant showing correct procedural evidence and procedural rules against
9           hearsay being admissible for the taking of personal chattel being a child. Plaintiff Casillas
10          has lost certain rights without a meaningful hearing or even having an opportunity to be
11          heard. False allegations of accusing plaintiffs are inconsistent and out of contents with
12          altering court documents, and evidence. Plaintiff argues that there are no issues of

13
            material fact. California Penal Code § 118 PC: Perjury, California Penal Code § 278.5.
         (c) Defendant Hester and Adams enabling Ortiz bad behavior clearly shows Hester is bias
14
            and prejudice against plaintiffs. By not holding Defendants Ortiz liable for his actions
15
            and ignoring his misconduct or concealing his crimes. Under 2021 California Rules of the
16
            court Code of Civil Procedure Rule 2.251 (b)(1), California Rules of The Court Rule
17
            5.240 (a)(2)(3)(d), California Rule of The Court Rule 5.240 (f), 8 U.S.C §1451(a), 8
18          U.S.C §1101(f)(6), grounds of imbibement to enforce sanctions against defendants FRCP
19          Rule 11 attorney and minors counsel Adams caused unnecessary delays and needless
20          litigations. Hereby, entitling Plaintiff to file civil suit pursuant to 42 U.S.C. § 1983.
21       (d) Ineffective assistance of counsel 28 U.S.C. § 1927, where improper removal of child

22
            from custody Ex-Parte or visits 25 U.S.C. § 1920, 18 U.S.C. § 287 False, fictious or
            fraudulent claims, 8 U.S.C. § 1324c (a) penalties for document fraud, California Family
23
            Code § 3151(a), California Civil Procedure § 2.251(b)(1)(B) - Electronic service requires
24
            that any such provisions be clear consent that is agreed to service addressed on form
25
            EFS-005-cv, and violates FRCP Rule 12(b) makes a lack of personal jurisdiction due to
26
            unconstitutionality of a fair due process clause. Defendant Ortiz provides Defendant
27          Adams false or malicious allegations that ties in violations of Confrontation Clause 18
28          U.S.C. § 14141 where it is unlawful for any government authority or person on behalf of
      CIVIL RIGHTS COMPLAINT - 94
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1            the government authority to conduct a pattern and practice that deprives a person of
2            rights, privileges or immunities secured or protected by the constitution or laws in the
3            United States.

4
         (e) Defendants shall be held accountable for Penal Code § 278.5 PC in which it states,
             “When you deprive someone of their right to visitation with a child-even if they don’t
5
             have custody. Rights guaranteed by Federal Statutes, and the Constitution that deprived
6
             the rights within the meaning of imbibement. Causing the plaintiffs unfair injuries by
7
             Riverside County Superior Courts Minors Counsel and Defendant Adams being FRCP
8
             Rule 11(b) for Sanctions dealing with improper pleadings, motions, or other papers and
9            caused unnecessary delays and needless increase in cost of litigations. Begier v. Strom 46
10           Cal. app 4th 880 (1996).
11       (f) Therefore, under 28 U.S.C. § 1357 - Injuries under Federal Laws Federal Court shall
12           have original jurisdiction of any civil action commenced by any person to recover

13
             damages for any injuries or actions of any act done by him or her to enforce the rights of
             citizens of the United States, where Pro se litigants are entitled to recover under 28
14
             U.S.C. § 1920. The above civil right was violated by the following Defendants Adams,
15
             Hester, County of Riverside, and Ortiz. Hereby, entitling Plaintiff to recover damages
16
             pursuant to 42 U.S.C. § 1983.
17
                               Fifteenth Cause of Action Claim # 15
18
         146. Plaintiff realleges paragraphs 82 through 83.
19
         147. By doing the acts described above in Paragraph 82, Mrs. Casillas asks her daughter
20    during child visitation why she was forced to lie to her. Defendant Ortiz coached child to lie to
21    supervised monitor prior to having visitation with mother. Defendant caused and/or permitted
22    enjoins defendants, their agents, employees, assigns, successors, and all other persons and

23    entities in active concert or participation with them doing the acts described above. Thus, is
      under the color of state law who has violated rights guaranteed by Federal Statutes, and the
24
      Constitution that deprived the rights within the meaning of Common Law Tort of Deceit.
25
      Therefore, the United States institutes prosecution of all violations of laws under 42 U.S.C. §
26
      1987. Hereby, entitling Plaintiff to recover damages pursuant to 42 U.S.C. § 1988(a).
27

28
      CIVIL RIGHTS COMPLAINT - 95
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1        (a) Judge and Defendant Hester caused violence by failing to obtain justice with Equal
2            Protection Clause of the Fourteenth Amendment that escalated to a reckless Intentional
3            Negligence Tort. This has caused extreme hardships to not only the family but to the

4
             minor child. Intentional emotional trauma and battery causing serious bodily injury. That
             injured minor child and the loss of property being chattel or minor child of the Plaintiff.
5
             This is all good reason for grounds of California Gov. Code § 810.8 California Tort
6
             Claims Act. Where damages Plaintiff due to the suffering of the minor child. Causing
7
             Infliction of Emotional Distress Tort, Common Law Tort of Deceit, Assault, and Battery
8
             Tort. Knowledge of the situation of a child is vulnerable to abuse as children have the
9            right to be safe and free from abuse California Family Code § 3020.
10       (b) Defendant Hester and Adams enabling Ortiz bad behavior clearly shows Hester is bias
11           and prejudice against plaintiffs. By not holding Defendants Ortiz liable for his actions
12           and ignoring his misconduct or concealing his crimes. Harmful or offensive intent to

13
             harm a child through fear of apprehension of an immunity battery. Apprehension of fear
             where verbal abuse intended to continue within a fixed space or in actual dominion that
14
             continues with a direct connection to escalate to physical abuse where the child is harmed
15
             by force then scared to disobey or else she will be punished if she does not do what her
16
             father demands.
17
         (c) Minor child routine habits, disturbance in sleeping, caused physical abuse to child,
18           embarrassing and degrading. Begier v. Strom 46 Cal. app 4th 880 (1996). Under 28
19           U.S.C. § 1357 - Injuries under Federal Laws Federal Court shall have original jurisdiction
20           of any civil action commenced by any person to recover damages for any injuries or
21           actions of any act done by him or her to enforce the rights of citizens of the United States,

22
             where Pro se litigants are entitled to recover under 28 U.S.C. § 1920. The above civil
             right was violated by the following Defendant Hester, County of Riverside, Adams, and
23
             Ortiz. Hereby, entitling Plaintiff to recover damages pursuant to 42 U.S.C. § 1983 and 42
24
             U.S.C. 1988(a).
25
         148. By doing the acts described above in Paragraph 83, Defendant, and Supervised Monitor
26
      Dahlman documents and notices major bruises on minor child. Defendant caused and/or
27    permitted enjoins defendants, their agents, employees, assigns, successors, and all other persons
28    and entities in active concert or participation with them doing the acts described above. Thus,
      CIVIL RIGHTS COMPLAINT - 96
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1     who is under the color of state law who has violated rights guaranteed by Federal Statutes, and
2     the Constitution that deprived the rights within the meaning of Article 2.5. Child Abuse and
3     Neglect Reporting Act Section 11164 – 11174.3 (a)(e)(1). California Penal Code § 11165.3,

4
      California Penal Code § 11165.7 (a)(30), California Penal Code § 11165.9, and California
      Government Code Section 820.21(a)(b). Defendant Dahlman should be held accountable for her
5
      actions by not reporting child abuse 18 U.S.C. § 3509 (a)(1)(2)(A)(3)(4)(5)(11)(12), 34 U.S.C. §
6
      20341(a)(1)(b)(3)(c)(1)(2)(3), 42 U.S.C. § 1983 Civil Rights of Children. Beltran v. Santa Clara
7
      County, 514 F.3d 906, 908 (9th Cir. 2008). Supervised child monitors reports contradict each
8
      other and are not consistent from previous monitor to Defendant Dahlman reports.
9        (a) Rights guaranteed by Federal Statutes, and the Constitution that deprived the rights
10           within the meaning of embedment to enforce sanctions against defendants FRCP Rule 11
11           attorney and Minors Counsel Adams caused unnecessary delays and needless increase in
12           cost of litigation damages. Plaintiff is to drive two-three hours to visit with child, to also

13
             cover the cost of fuel, wear, and tear on vehicle, and to cover the cost of special events
             with child. Plaintiff litigation fees and unnecessary legal abuse punishing the wrong doer.
14
             Where malicious intent to cause suffering and irreparable harm of emotional distress for
15
             the intentional legal abuse conduct where the damages are ongoing.
16
         (b) The conduct by a supervised monitor that would be considered despicable by any
17
             reasonable person. That caused unfair injuries to a minor child being Intentional
18           Infliction of Emotional Distress, anxiety, Legal Abuse Syndrome (LAS) due to emotional
19           trauma to the physical abuse to the minor child’s safety and wellbeing. From malicious
20           conduct by Defendant Ortiz. Thus, causing emotional depression from abuse, insomnia
21           by disturbance to sleeping habits causing loss of sleep from having nightmares, a

22
             complete disruption to childhood life and routine. Defendant Hester and Adams enabling
             Ortiz bad behavior clearly shows Hester is bias and prejudice against plaintiffs. By not
23
             holding Defendant Ortiz liable for his actions and ignoring his misconduct or concealing
24
             his crime.
25
         (c) Therefore, compromising the child's rights, emotional well-being, and forcing the child to
26
             side with one parent or the other thinking if child says anything to mother, she would be
27           reprimanded by Defendant Ortiz. In which Ortiz reprimands in the form of abuse toward
28           the child. Causing Infliction of Emotional Distress Tort as the child should be free from
      CIVIL RIGHTS COMPLAINT - 97
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1            abuse but due to Defendant and Judge Hester orders, she is subject to ongoing abuse and
2            trauma by Ortiz. It is not in the best interest of the child to be subject to Ortiz abuse or by
3            the County of Riverside Superior Court. The above civil right was violated by Defendant

4
             Hester, County of Riverside, Adams, and Ortiz. Hereby, entitling Plaintiff to recover
             damages pursuant to 42 U.S.C. § 1983 for causing minor child unfair injuries that
5
             purposely torture and traumatizing for both mother and child.
6
                                Sixteenth Cause of Action Claim #16
7
         149. Plaintiff realleges paragraph 84.
8
         150. By doing the acts described above in Paragraph 84, Defendant and Minors Counsel
9
      Adams files an Ex-Parte a week before Christmas to the Riverside Superior Court for Plaintiff
10
      and Mrs. Casillas to have no contact with child due to Ortiz making false or malicious
11    allegations against Mrs. Casillas. Defendant and Judge Hester grants orders without having a
12    hearing. Defendant Hester under the color of state law who has violated rights guaranteed by
13    Federal Statutes, and the Constitution that deprived the rights within the meaning of 42 U.S.C. §

14    1985(3), 42 U.S.C. § 1988, and 42 U.S.C. § 1983. Prohibits congress from obstructing justice
      and makes a clear requirement that all trial is equally protected by fair due process of law. That
15
      affected plaintiffs’ civil liberties within the meaning under, privileges clause of the Fifth, Sixth,
16
      Eighth, and Fourteenth Amendments of the United States Constitution. Wherefore, the
17
      deprivation of rights under color of law who permitted enjoins defendants, their agents,
18
      employees, assigns, successors, and all other persons and entities in active concert or
19
      participation with them doing the acts described above.
20       (a) Defendants caused and/or permitted the violation defined under the required state laws
21           being Family Code § 3022.3 upon the trial of a question of fact in a proceeding to
22           determine the custody of a minor child. The court shall issue a statement of decision

23           explaining the factual and legal basis for its decision that mother was denied any
             information pursuant to her daughter. All violations of section 632 of Code of Civil
24
             Procedure, California Family Code § 3027.1, California Family Code § 3064 – Courts are
25
             not supposed to make Ex-Parte orders modifying custody, 18 U.S.C. § 242, California
26
             Civil Code § 1573, and California Penal Code § 278.5 (a).
27

28
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1        (b) Defendant Hester caused violence by failing to obtain justice with Equal Protection
2           Clause and Due Process that escalated to a reckless Intentional Negligence Tort and
3           Common Law Tort of Deceit. This has caused extreme hardships to not only the family

4
            but to the minor child. Intentional emotional trauma and battery causing serious bodily
            injury. That injured minor child and the loss of property being chattel or minor child of
5
            the Plaintiff. This is all good reason for grounds of California Gov. Code § 810.8,
6
            California Tort Claims Act. Where damages Plaintiff due to the suffering of the minor
7
            child.
8
         (c) Where provisions and statue enactments for the breach of Judges’ code of conduct. That
9           would be defined in California Gov. Code § 810.2 by employee including judicial officer
10          as defined in California Gov. Code § 810(b). Statute meaning by Federal or by State of
11          California that violated Uniform Child Custody Jurisdiction Act and the Uniform Civil
12          Liberty for Support Act. Civil Rights of children described in 42 U.S.C. § 1983 where

13
            Defendant Hester who uses her official position to restrict a person's safety 42 U.S.C. §
            1986.
14
         (d) Defendant Hester and Adams enabling Ortiz bad behavior clearly shows Hester is bias
15
            and prejudice against plaintiffs. By not holding Defendants Ortiz liable for his actions
16
            and ignoring his misconduct or concealing his crimes. Judge and Defendant Hester failed
17
            to uphold the integrity and independence of the judiciary. Defendant Hester violates 11
18          U.S.C. § 1109 - Right to be heard, 18 U.S.C. § 371, 18 U.S.C. § 241 – Conspiracy of
19          rights, 42 U.S.C. § 12203 – Prohibition against retaliation and coercion, 18 U.S.C. § 371,
20          Canon 1, Canon 2, Canon 3. Plaintiff has the right to be heard and to have a fair due
21          process of law. Defendant Adams office emailed copy to Plaintiff. Defendant caused

22
            and/or permitted enjoins defendants, their agents, employees, assigns, successors, and all
            other persons and entities in active concert or participation with them doing the acts
23
            described above who is under the color of state law who has violated rights guaranteed by
24
            Federal Statutes, and the Constitution that deprived the rights within the meaning of
25
            California Penal Code § 1714.10, California Rules of Court § 5.151, 18 U.S.C. § 1038,
26
            United States Constitutional Civil Rights Sixth, Eighth, and Fourteenth Amendments.
27       (e) Under 28 U.S.C. Fed. Rules of Evid. 610 you can't know a fact until you know what
28          evidence is and nothing more than hearsay. Where Article VIII FRCP Rule 802 excludes
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1          hearsay as relevant showing correct procedural evidence and procedural rules against
2          hearsay being admissible for the taking of personal chattel being a child. Plaintiff Casillas
3          has lost certain rights without a meaningful hearing or even having an opportunity to be

4
           heard. False allegations of accusing plaintiffs are inconsistent and out of contents with
           altering court documents, and evidence. Plaintiff argues that there are no issues of
5
           material fact. California Penal Code § 118 PC: Perjury and California Civil Code §
6
           3294(a)(1)(2)(3) – Punitive damages.
7
        (f) Under 2021 California Rules of the court Code of Civil Procedure Rule 2.251 (b)(1),
8
           California Rules of The Court Rule 5.240 (a)(2)(3)(d), California Rule of The Court Rule
9          5.240 (f), 8 U.S.C § 1451(a), 8 U.S.C § 1101(f)(6), grounds of imbibement to enforce
10         sanctions against defendants FRCP Rule 11 attorney and minors counsel Adams caused
11         unnecessary delays and needless litigations.
12      (g) Ineffective assistance of counsel 28 U.S.C. § 1927, where improper removal of child

13
           from custody Ex-Parte or visits 25 U.S.C. § 1920, 18 U.S.C. § 287 False, fictious or
           fraudulent claims, 8 U.S.C. § 1324c (a) penalties for document fraud, California Family
14
           Code § 3151(a), California Civil Procedure § 2.251(b)(1)(B) - Electronic service requires
15
           that any such provisions be clear consent that is agreed to service addressed on form
16
           EFS-005-cv, and violates FRCP Rule 12(b) makes a lack of personal jurisdiction due to
17
           unconstitutionality of a fair due process clause. Defendant Ortiz provides Minor Counsel
18         and Defendant Adams false or malicious allegations. Hereby, ties in violations of
19         Confrontation Clause 18 U.S.C. § 14141 where it is unlawful for any government
20         authority or person on behalf of the government authority to conduct a pattern and
21         practice that deprives a person of rights, privileges or immunities secured or protected by

22
           the constitution or laws in the United States. In pari delicto.
        (h) Where Rule 406 Habitual routine of practice being evidence of a person's habits of
23
           altering court documents, and evidence, an organization's routine practice may be
24
           admitted proving that persons acted unjustly. Due to constitutional law violations.
25
           Statement of facts being factual with the evidence provided shows defendants direct
26
           character shall be evidence provided upon the court. Due to false allegations of accusing
27         plaintiff that are inconsistent and out of contents.
28
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1       (i) Defendants shall be held accountable for Penal Code § 278.5 PC in which it states,
2          “When you deprive someone of their right to visitation with a child-even if they don’t
3          have custody.” Rights guaranteed by Federal Statutes, and the Constitution that deprived

4
           the rights within the meaning of imbibement. Causing the plaintiffs unfair injuries by
           County of Riverside Superior Courts Minors Counsel and Defendant Adams being FRCP
5
           Rule 11(b) for Sanctions dealing with improper pleadings, motions, or other papers and
6
           caused unnecessary delays and needless increase in cost of litigations Thus, has caused
7
           unjust injuries being malicious prosecution, Intentional Infliction of Emotional Distress
8
           for willful acts that were taken with reckless disregard for the rights of others especially
9          children whose obligation and duty is to protect the best interest of the child. There is
10         absolutely no excuse for doing such evil crimes especially when defendants themselves
11         being mothers and or grandmothers of law should know better. Minor child Meilani Ortiz
12         at the age of seven quote, “How would they like it if someone was to do this to them?”

13
           Begier v. Strom 46 Cal. app 4th 880 (1996). Therefore, under 28 U.S.C. § 1357 - Injuries
           under Federal Laws Federal Court shall have original jurisdiction of any civil action
14
           commenced by any person to recover damages for any injuries or actions of any act done
15
           by him or her to enforce the rights of citizens of the United States, where Pro se litigants
16
           are entitled to recover under 28 U.S.C. § 1920.
17
        (j) Defendants violates plaintiffs Fifth Amendment and Fourteenth Amendment as person
18         shall not be deprived any interests in liberty or property without due process of law.
19         Emergency orders never had a follow up hearing within twenty days after order was
20         signed by Judge and Defendant Hester. The Fifth Amendment due process clause
21         prohibits the federal government from discrimination if the discrimination is so

22
           unjustifiable that it violates due process of law. Bolling v. Sharpe, 2010.
        (k) Defendants’ conduct violated Federal Statutory laws of the United States Constitution
23
           where actions and conduct caused trauma from prejudice unfair injuries being, insomnia,
24
           anxiety, depression, intentional infliction of emotional distress, and enjoyment of life.
25
           Where there is no amendment or money in the world that can cure the causing of the
26
           extreme hardships for mother and child due to the loss of years with one another.
27         Therefore, any reasonable person would have believed the County of Riverside Superior
28         Court judicial officers and minors counsel named above acted as a trespasser of the law.
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1           Where all orders made without regard to fair due process and equal protection under law
2           failed to obtain substantial justice in state courts are legal grounds for state to lose subject
3           matter jurisdiction and plaintiff to file civil suit in federal court for all violations of law

4
            pursuant to 42 U.S.C. § 1983. The above civil right was violated by the following
            Defendants Adams, Hester, County of Riverside, and Ortiz. Hereby, entitling Plaintiff to
5
            recover damages pursuant to 42 U.S.C. § 1983, 42 U.S.C. § 1985(3), 42 U.S.C. § 1986,
6
            and 42 U.S.C. § 1988.
7
                             Seventeenth Cause of Action Claim #17
8
        151. Plaintiff realleges paragraphs 85 through 87.
9
        152. By doing the acts described in Paragraph 85, 86, and 87, Plaintiff files an Ex-Parte to
10
     the Riverside Superior Court. Courthouse plays games back and forth stating that certain
11   paperwork wasn’t submitted when it was due to getting confirmation sent to plaintiffs’ email.
12   Riverside Superior Court denied all documents and filings that was sent to courthouse.
13   Defendant caused and/or permitted the violation enjoins defendants, their agents, employees,

14   assigns, successors, and all other persons and entities in active concert or participation with them
     doing the acts described above. That is under the color of state law who has violated rights
15
     guaranteed by Federal Statutes, and the Constitution that deprived the rights within the meaning.
16
     Courts have repeatedly held that positive proof of the partiality of a judge is not a requirement,
17
     only the appearance of partiality. Liljeberg v. Health Services Acquisition Corp., 486 U.S. 847,
18
     108 S. Ct.2194 (1988) (what matters is not the reality of bias or prejudice but its appearance);
19
     United States v. Balistrieri, 779 F.2d 1191 (7th Cir. 1985) (Section 455(a) “Is directed against the
20   appearance of partiality, whether or not the judge is actually biased.”) (Section 455(a) of the
21   Judicial Code, 28 U.S.C. § 455(a)(b)(1) is not intended to protect litigants from actual bias in
22   their judge but rather to promote public confidence in the protection of impartiality of the

23   judicial process. Judges have shown to be biased and discriminated against both plaintiffs.”)
     “The standard for disqualification provided in California Probate Code § 7060 and or providing
24
     for disqualification for bias or prejudice where a person aware of the facts might reasonably
25
     entertain a doubt that the judge is able to be impartial, is fundamentally an objective one.” It
26
     represents a legislative judgment that, due to the sensitivity of the question and inherent
27
     difficulties of proof, as well as importance of public confidence in the judicial system, the issue
28
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1    is not limited to the existence of an actual bias. That Court also stated that Section 455(a)
2    “Requires a judge to recuse herself in any proceeding in which her impartiality might reasonably
3    be questioned.” Taylor v. O’Grady, 888 F.2d 1189 (7th Cir.1989).

4
        (a) Where the real issue is who are we to go to when in need of serious help? This is
            unacceptable behavior that has been discussed with families and friends throughout social
5
            media, video, and audio recordings of how the judicial system and law enforcement can’t
6
            be trusted. As stated in this complaint this has caused injuries that have been ongoing and
7
            that has dramatically affected plaintiff as a parent. Mrs. Casillas has an audio recording of
8
            minor child not knowing what the child was going to say but when child does speak, she
9           expresses out with such passion. By stating, “C’mon’ the judges aren't going to do
10          anything and they’re going to take me away from you.” Minor child clearly states, “This
11          will happen because I know that it will happen, and I will have to stay with the man
12          (Ortiz) and I will never see you guys again.” It forces a person to wonder what is really

13
            going on for a seven year old when she tells mother, “It's ok mom I know I’m going to
            save my family from the man (Ortiz) because he is going to shoot you in the head.”
14
            Obviously due to the County of Riverside Superior Court reckless disregard to the best
15
            interest of the child it has traumatized a seven year old child.
16
        (b) This little girl clearly lost all hope in the judicial system, but worst of all the child is in
17
            complete fear of police officers as you can hear in multiple audio recordings when
18          plaintiff calls 911 asking for help or how mother and child is treated at the Palm Desert
19          Police Department. Plaintiffs and minor child or any other parent for that matter should
20          never have to go through what Mrs. Casillas had to endure by the legal abuse syndrome
21          from the County of Riverside. It’s really naive that as citizens you can’t turn to the higher

22
            authorities when you are in need of help especially when there is a child involved. The
            County of Riverside Superior Court violates plaintiffs Fourteenth Amendment as citizens
23
            we have the right of due process and equal protection of the laws. The above civil right
24
            was violated by the following County of Riverside. Hereby, entitling Plaintiff to recover
25
            damages pursuant to 42 U.S.C. § 1983.
26
                              Eighteenth Cause of Action Claim # 18
27
        153. Plaintiff realleges paragraphs 88 through 96.
28
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1       154. By doing the acts described above in Paragraph 88, Plaintiff contacts Defendant Ortiz,
2    Minors counsel and Defendant Adams on child wellbeing. Both Defendants never responded
3    back to Plaintiff on minor child health, safety, or wellbeing. Defendant caused and/or permitted

4
     enjoins defendants, their agents, employees, assigns, successors, and all other persons and
     entities in active concert or participation with them doing the acts described above who is under
5
     the color of state law who has violated rights guaranteed by Federal Statues, and the Constitution
6
     that deprived the rights within the meaning. By doing the acts above caused and/or permitted
7
     violations under the definition and meaning under 42 U.S.C. § 9858o – Parental rights and
8
     responsibilities, 10 U.S.C. § 932 – Art. 132 Retaliation, 18 U.S.C. § Conspiracy against rights,
9    California Penal Code § 278.5 PC Deprivation of custody – makes it a crime maliciously to
10   deprive another adult of his or her lawful right to custody of, or visitation with, a child.
11      (a) Parent’s rights to custody of child is a right encompassed with protection of this
12          amendment which may not be interfered with under guise of protecting public interest by

13
            legislative action which is arbitrary or without reasonable relation to some purpose within
            competency of state to effect. Reynold v. Baby Fold, Inc., 369 NE 2d 858; 68 III 2d 419 ,
14
            appeal dismissed 98 S Ct 1598, 435 US 963, IL, (1977). The liberty interest of the family
15
            encompasses an interest in retaining custody of one’s children and, thus, a state may not
16
            interfere with a parent’s custodial rights absent due process protections. Langton v.
17
            Maloney, 527 F Supp 538, D.C. Conn. (1981). A parent’s right to care and
18          companionship of his or her children are so fundamental, as to be guaranteed protection
19          under the First, Ninth, and Fourteenth Amendments of the United States Constitution. In
20          re: J.S. and C.,324 A2d 90; supra 129 NJ Super, at 489.
21      (b) Mrs. Casillas has every right to know the health and wellbeing of her child. Due to

22
            Defendant Hester and the County of Riverside Superior Court unlawful orders to have a
            child ripped from her mother without a fair Due Process on an Ex-Parte hearing violates
23
            all rights and parents custodial rights. The Fifth Amendment due process clause prohibits
24
            the federal government from discrimination if the discrimination is so unjustifiable that it
25
            violates due process of law. Bolling v. Sharpe, 2010. The above civil right was violated
26
            by the following Defendant County of Riverside, Adams, Hester, and Ortiz. Hereby,
27          entitling Plaintiff to recover damages pursuant to 42 U.S.C. § 1983.
28
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1       155. By doing the act described above in paragraph 90, Plaintiff emailed Defendant Adams
2    and Hester. The email was also Cc to Manuel Perez Riverside Board of Supervisors, Defendant
3    Ortiz, Defendant Reed, and 28th District California State Senate Melissa Melendez secretary

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     Glenn Miller. Plaintiff was inquiring on her child due to Defendant Adams and Ortiz not
     responding to any calls or emails that was left to defendants. Plaintiff is extremely concerned as
5
     she did not hear back from Defendants Ortiz and Adams due to mother not knowing of the
6
     whereabouts of minor child health, safety, or wellbeing. Defendant caused and/or permitted
7
     enjoins defendants, their agents, employees, assigns, successors, and all other persons and
8
     entities in active concert or participation with them doing the acts described above who is under
9    the color of state law who has violated rights guaranteed by Federal Statues, and the Constitution
10   that deprived the rights within the meaning. By doing the acts above caused and/or permitted
11   violations under the definition and meaning under 42 U.S.C. § 9858o – Parental rights and
12   responsibilities, 10 U.S.C. § 932 – Art. 132 Retaliation, 18 U.S.C. § Conspiracy against rights,

13
     California Penal Code § 278.5 PC Deprivation of custody – makes it a crime maliciously to
     deprive another adult of his or her lawful right to custody of, or visitation with, a child.
14
        (a) Parent’s interest in custody of her children is a liberty interest which has received
15
            considerable constitutional protection; a parent who is deprived of custody of his or her
16
            child, even though temporarily, suffers thereby grievous loss and such loss deserves
17
            extensive due process protection. Plaintiff like to ask the court to take judicial notice that
18          six months went by without knowing anything about her daughter during the COVID-19
19          Outbreak. In the Interest of Cooper, 621 P 2d 437; 5 Kansas App Div. 2d 584, (1980).
20          The United States Supreme Court noted that a parent’s right to “the companionship, care,
21          custody and management of his or her children” is an interest “far more precious” than

22
            any property right. May v. Anderson, 345 US 528, 533; 73 S Ct 840,843, (1952).
        (b) The United States Court of Appeals for the 9th Circuit (California) held that the parent-
23
            child relationship is a constitutionally protected liberty interest. (See; Declaration of
24
            Independence - life, liberty and the pursuit of happiness and the Fourteenth Amendment
25
            of the United States Constitution – No state can deprive any person of life, liberty or
26
            property without due process of law nor deny any person the equal protection of the
27          laws.) Kelson v. Springfield, 767 F 2d 651; US Ct App 9th Cir, (1985). Due to Defendant
28          Hester and the County of Riverside Superior Court unlawful orders to have a child ripped
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1           from her mother without a fair Due Process on an Ex-Parte hearing violates all rights and
2           parents custodial rights. The Fifth Amendment due process clause prohibits the federal
3           government from discrimination if the discrimination is so unjustifiable that it violates

4
            due process of law. Bolling v. Sharpe, 2010. The above civil right was violated by the
            following Defendant County of Riverside, Adams, Hester, Reed, and Ortiz. Hereby,
5
            entitling Plaintiff to recover damages pursuant to 42 U.S.C. § 1983.
6
        156. By doing the act described above in paragraph 92, Defendant County of Riverside
7
     violates the deprivation of rights, color of law, and state law. As permitted enjoins Defendants
8
     and Judge Kristi Hester and Arthur Hester their agents, employees, assigns, successors, and all
9    other persons and entities in active concert or participation with them doing the acts described
10   above. Defendant caused and/or permitted all violation under the definitions of California Code
11   of Civil Procedure § 473, California Code of Civil Procedure § 170.6 (3)(e)(1), 42 U.S.C. §
12   1983, 42 U.S.C. § 1988, United States Constitutional Civil Rights First, Sixth, Eighth, and

13
     Fourteenth Amendments.
        (a) As a judicial officer and judge of the County of Riverside Superior Court orders that
14
            Ortiz filed should have been denied due to Mr. Casillas never being served or having any
15
            knowledge of the filings that was submitted to the Riverside Superior Court. The rights
16
            guaranteed by Federal Statutes, and the Constitution that deprived the rights within the
17
            meaning of 42 U.S.C. § 1985, 10 U.S.C. § 932 – Art.132. Retaliation, 11 U.S.C. § 1109 -
18          Right to be heard, 18 U.S.C. § 241, 18 U.S.C. § 242, 28 U.S.C. § 144 – Bias or prejudice
19          of Judge, 28 U.S.C. § 453 – Oaths of justices and Judges, 29 U.S.C. § 1109 - Where
20          defendant shall be held liable for breach of fiduciary duty, 8 U.S.C. § 1324c (a) Penalties
21          for document fraud. Defendant Ortiz lying under oath stating that Mr. Casillas was served

22
            makes orders insufficient service of process and fraud. Under 28 § U.S.C. Fed. Rules of
            Evid. 610 you can't know a fact until you know what evidence is and nothing more than
23
            hearsay. Where Article VIII FRCP Rule 802 excludes hearsay as relevant showing
24
            correct procedural evidence and procedural rules.
25
        (b) Where provisions and statue enactments for the breach of judges’ code of conduct that
26
            would be defined in California Gov. Code § 810.2 by employee including judicial officer
27          as defined in California Gov. Code § 810(b). Defendant and Judge Kristi Hester does not
28          have the hearing but agrees to have a continuance hearing by sending the renewal to the
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1           Riverside Superior Court, Palm Springs Court. Due to her husband and Defendant Arthur
2           Hester being the judge that hears restraining orders in department PS4. In pari delicto.
3       (c) Therefore, has only caused unnecessary delays with unfair trials that purposely escalate

4
            to torture and traumatize plaintiffs. Thus, being retaliation to punish plaintiffs for
            defending their fundamental civil rights disguising and making it hard to discover judicial
5
            cover up of Defendant Ortiz crimes and malicious intent. The Fifth Amendment due
6
            process clause prohibits the federal government from discrimination if the discrimination
7
            is so unjustifiable that it violates due process of law. Bolling v. Sharpe, 2010. The above
8
            civil right was violated by the following Defendant County of Riverside, Hester, Ortiz,
9           and Hester. Hereby, entitling Plaintiff to recover damages pursuant to 42 U.S.C. § 1983.
10      157. By doing the act described above in paragraph 93, Plaintiff upon checking the Riverside
11   Superior Court website due to the restraining order being expired. Defendant Ortiz files to renew
12   restraining order again and hearing was held at Riverside Superior Court, Larson Justice Center

13
     with Defendant and Judge Kristi Hester. Mr. Casillas still has not been served or had knowledge
     of this hearing being held at the courthouse. Defendant Hester denied Ortiz order. Defendant
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     caused and/or permitted the violation enjoins defendants, their agents, employees, assigns,
15
     successors, and all other persons and entities in active concert or participation with them doing
16
     the acts described above caused who is under the color of state law who has violated rights
17
     guaranteed by Federal Statutes, and the Constitution that deprived the rights within the meaning.
18      (a) Defendant caused and/or permitted all violation under the definitions of California Code
19          of Civil Procedure § 473, California Code of Civil Procedure § 170.6 (3)(e)(1), 42 U.S.C.
20          § 1983, 42 U.S.C. § 1988, United States Constitutional Civil Rights First, Sixth, Eighth,
21          and Fourteenth Amendments. As a judicial officer and judge of the County of Riverside

22
            Superior Court the orders that Ortiz filed should have been denied due to Mr. Casillas
            never being served or having any knowledge of the filings that was submitted to the
23
            Riverside Superior Court. The rights guaranteed by Federal Statutes, and the Constitution
24
            that deprived the rights within the meaning of 42 U.S.C. § 1985, 10 U.S.C. § 932 –
25
            Art.132 Retaliation, 11 U.S.C. § 1109 - Right to be heard, 18 U.S.C. § 241, 18 U.S.C.
26
            242, 28 U.S.C. § 144 – Bias or prejudice of Judge, 28 U.S.C. § 453 – Oaths of justices
27          and Judges, 29 U.S.C. § 1109 - Where defendant shall be held liable for breach of
28          fiduciary duty, 8 U.S.C. § 1324c (a) Penalties for document fraud. Defendant Ortiz lying
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1           under oath stating that Mr. Casillas was served makes orders insufficient service of
2           process and fraud. Under 28 § U.S.C. Fed. Rules of Evid. 610 you can't know a fact until
3           you know what evidence is and nothing more than hearsay. Where Article VIII FRCP

4
            Rule 802 excludes hearsay as relevant showing correct procedural evidence and
            procedural rules.
5
        (b) Where provisions and statue enactments for the breach of judges’ code of conduct that
6
            would be defined in California Gov. Code § 810.2 by employee including judicial officer
7
            as defined in California Gov. Code § 810(b). Defendant and Judge Kristi Hester has the
8
            hearing but denied the order and forwards the restraining order again to the Riverside
9           Superior Court, Palm Springs Court. Due to her husband and defendant Arthur Hester
10          being the judge that hears restraining orders in department PS4. In pari delicto.
11      (c) Therefore, has only caused unnecessary delays with unfair trials that purposely escalate
12          to toucher and traumatize plaintiffs. The Fifth Amendment due process clause prohibits

13
            the federal government from discrimination if the discrimination is so unjustifiable that it
            violates due process of law. Bolling v. Sharpe, 2010. Thus, being retaliation to punish
14
            plaintiffs for defending their fundamental civil rights disguising and making it hard to
15
            discover judicial cover up of Defendant Ortiz crimes and malicious intent. The above
16
            civil right was violated by the following Defendant County of Riverside, Hester, and
17
            Ortiz. Hereby, entitling Plaintiff to recover damages pursuant to 42 U.S.C. § 1983.
18      158. By doing the act described above in paragraph 96, Defendant Ortiz has hearing to renew
19   restraining order that was forwarded over to the Riverside Superior Court, Palm Springs Court.
20   Due to Defendant and Judge Arthur Hester recusing himself from hearing matters in the case
21   pursuant to CCP 170.1/170.3 case reassigned to Honorable Judge in Department PS2 for all

22
     purposes. Defendant and Judge Rogers approved the restraining order. Mr. Casillas still has not
     been served or had knowledge of this hearing being held at the courthouse. Defendant caused
23
     and/or permitted the violation enjoins defendants, their agents, employees, assigns, successors,
24
     and all other persons and entities in active concert or participation with them doing the acts
25
     described above caused who is under the color of state law who has violated rights guaranteed by
26
     Federal Statutes, and the Constitution that deprived the rights within the meaning.
27      (a) Defendant caused and/or permitted all violation under the definitions of California Code
28          of Civil Procedure § 473, California Code of Civil Procedure § 170.6 (3)(e)(1), 42 U.S.C.
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1          § 1983, 42 U.S.C. § 1988, United States Constitutional Civil Rights First, Sixth, Eighth,
2          and Fourteenth Amendments. As a judicial officer and judge of the Riverside Superior
3          Court the orders that Ortiz filed should have been denied due to Mr. Casillas never being

4
           served or having any knowledge of the filings that was submitted to the Riverside
           Superior Court. The rights guaranteed by Federal Statutes, and the Constitution that
5
           deprived the rights within the meaning of 42 U.S.C. § 1985, 11 U.S.C. § 1109 - Right to
6
           be heard, 29 U.S.C. § 1109 - Where defendant shall be held liable for breach of fiduciary
7
           duty, 8 U.S.C. § 1324c (a) Penalties for document fraud. Defendant Ortiz lying under
8
           oath stating that Mr. Casillas was served makes orders insufficient service of process and
9          fraud. Under 28 § U.S.C. Fed. Rules of Evid. 610 you can't know a fact until you know
10         what evidence is and nothing more than hearsay. Where Article VIII FRCP Rule 802
11         excludes hearsay as relevant showing correct procedural evidence and procedural rules.
12      (b) Where provisions and statue enactments for the breach of judges’ code of conduct that

13
           would be defined in California Gov. Code § 810.2 by employee including judicial officer
           as defined in California Gov. Code § 810(b). Defendant and Judge Rogers is retired since
14
           2021 and is from the Los Angeles County Superior Court. Judge Manuel Bustamante Jr.
15
           also stated that he was in court the day of the hearing that was held on January 21, 2022.
16
           Judge Bustamante was appointed by Governor Gavin Newsom to serve as Judge in the
17
           Riverside County Superior Court as of March 25, 2022. In pari delicto.
18      (c) Clearly, shows County of Riverside Superior Court and defendants being the judges are
19         bias or prejudice that violates 28 U.S.C. § 144 Conspired against Plaintiff’s rights, 18
20         U.S.C. § 371, 18 U.S.C. § 241 Prohibition against retaliation and coercion, 28 U.S.C. §
21         453, 42 U.S.C. § 12203. The Fifth Amendment due process clause prohibits the federal

22
           government from discrimination if the discrimination is so unjustifiable that it violates
           due process of law. Bolling v. Sharpe, 2010. Therefore, being retaliation to punish
23
           plaintiffs for defending their fundamental civil rights disguising and making it hard to
24
           discover judicial cover up of Defendant Ortiz crimes and malicious intent. The above
25
           civil right was violated by the following Defendant County of Riverside, Rogers, and
26
           Ortiz. Hereby, entitling Plaintiff to recover damages pursuant to 42 U.S.C. § 1983.
27

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1             VII. RELIEF REQUESTED FOR CIVIL INJUNCTIVE AND
2                                      ARBITRATION COST
3    WHEREFORE, the Plaintiff Casillas requests that the Court enter an ORDER that:
4       1. Declares that Defendants’ conduct violated The Civil Rights Act pursuant to 42 U.S.C. §
5           1983.
6       2. Declares that Defendant the County of Riverside County Superior Court conduct violated

7
            The American with Disabilities Act pursuant to 42 U.S.C. § 12101, et seq.
        3. Enjoins Defendants, their agents, employees, assigns, successors, and all other persons
8
            and entities in active concert or participation with them be prosecuted to the fullest extent
9
            of the law for:
10
               a. Denying equal protection where due process clause is necessity, or otherwise
11
                    making malicious intentional efforts to interfere with targeting plaintiffs’
12                  relationship with minor child and husband.
13             b. Confrontation Clause 18 U.S.C. § 14141 where it is unlawful for any government
14                  authority or person on behalf of the government authority to conduct a pattern and
15                  practice that deprives a person of rights, privileges or immunities secured or

16
                    protected by the constitution or laws in the United States.
               c. Where 28 U.S.C. § 1367(a) Supplemental jurisdiction Article III FRCP 20 allows
17
                    defendants to be sued together in the same action. Enjoins defendants, their
18
                    agents, employees, assigns, successors, and all other persons and entities in active
19
                    concert; or
20
               d. Participation with them from: Hereby, entitling Plaintiff to recover damages
21                  pursuant to 42 U.S.C. § 1988. Made in violations of law that due process relief
22                  and equal protection, or otherwise improper removal of child from custody on an
23                  Ex-Parte and or visits in violation of 25 U.S.C. § 1920 and California Family
24                  Code § 3151(a).

25
               e. Deprivation of civil liberty under the color of state law who has violated rights
                    guaranteed by Federal Statutes, and the Constitution that deprived the rights
26
                    within the remedy against state actors who have failed to prevent conspiracy
27
                    under 18 U.S.C. § 242. Punitive damages a common demand in a civil rights
28
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1                  lawsuit due to defendants conduct was intentional or showed an extreme
2                  indifference to the rights of others. Plaintiff’s and minor child suffered loss of
3                  liberty from the civil rights violations, attorney fees, pain and suffering, and lost

4
                   wages.
               f. Coercing, intimidating, threatening, or interfering with a person in the exercise or
5
                   enjoyment of or on account of her having exercised or enjoyed, or on account of
6
                   her having aided or encouraged any other person in the exercise or enjoyment of a
7
                   right under 42 U.S.C. § 3617. A citizen can file a Bane Act suit due to
8
                   government employees interfered by threat, intimidation, or coercion with that
9                  Plaintiff’s constitutional rights.
10      4. Enjoins defendants from failing or refusing to take such affirmative steps as maybe
11         necessary to prevent the recurrence of any discriminatory or otherwise unlawful conduct
12         in the future and to eliminate the extent practicable and the effects of defendants’

13
           discriminatory or otherwise unlawful conduct.
        5. Awards appropriate monetary damages due to plaintiffs’ pain and suffering, lost of
14
           income, mental anguish, and emotional distress. Plaintiff’s and minor child was harmed
15
           by defendants’ discriminatory conduct as authorized by the Bivens claim under 42 U.S.C.
16
           § 1983. Defendants violated the Plaintiff’s and minor child civil rights, and those rights
17
           were so clearly established that a reasonable judge would have known their conduct was
18         a violation of the law.
19      6. Assesses civil penalties against defendants under 42 U.S.C. § 3614(a)(d)(1)(A)(B)(C) in
20         order to vindicate the public interest. The court may award such other relief as the court
21         deems appropriate, including monetary damages to persons aggrieved; and may, to

22
           vindicate the public interest, assess a civil penalty against the defendants.
        7. Request the court to impose disciplinary actions to hold all who have violated the law be
23
           prosecuted in Federal Court under 42 U.S.C. § 1987.
24
               a. Enforce plaintiffs’ immunity protection to prevent infringement to our civil liberty
25
                   rights under 42 U.S.C. § 1988 and consider any further relief which the court may
26
                   deem appropriate or fit.
27      8. Plaintiffs' humble and most imperative request where this would never be about financial
28         gain but only to obtain justice that reapplies law and order. Where a child has been
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1           detained unlawfully by the State of California. FRCP Rule 1. Establishes that civil rules
2           apply to all actions. FRCP Rule 64(a) are all for good cause while expressing Federal
3           Statutes and provisions are binding under the grounds of 47 U.S.C. § 33 Lis Pendens

4
            Statute claiming interest in real property located in the state that must comply with the
            request of the securing of subject Meilani Ortiz being the minor child in this case. Where
5
            the State of California abducted minor child without consent and violation of Public
6
            Private Necessity Tort Law against Plaintiff. The state loses immediate personal and
7
            venue jurisdiction and any action made in case over minor child Meilani Ortiz.
8
        9. Where FRCP Rule 62 (a) invokes an automatic stay of proceedings to enforce a judgment
9           where Plaintiff requests that under The United States Federal Court L.R. Civ. P. 72.
10          Enforcing Order for minor child Meilani Ortiz to be immediately returned to
11          Mother/Plaintiff Michele Casillas. Mother is to have full/sole legal custody of minor
12          child under FRCP Rule 64 collection of protected person and chattel where trespass to

13
            chattels Tort Rule defined under the Fifth and Fourteenth Constitutional Amendment.
            Due to fair grounds of relief in particular law Habeas Corpus 28 U.S.C. (a)(ii)(2) statue
14
            against states taking clause and equal protection clause. Restoring law to stop
15
            unnecessary delays that are abusing the life of a child and plaintiff. We pray we can move
16
            forward in a fair constitutional manner immediately where federal and state laws are
17
            applied that have caused harm being Intentional Emotional distress, with the intent of
18          Malicious Prosecution, Fraud upon the court, and Legal Abuse Syndrome.
19                            VIII. DEMAND FOR JURY TRIAL
20          The Plaintiff hereby demands a trial by jury of all issues so triable pursuant to Rule 38 of
21   the Federal Rules of Civil Procedure.
22

23   Dated: September 17, 2022                                        Respectfully submitted,
                                                                               /S/
24
                                                                      Michele Casillas
25                                                                    Plaintiff in pro per
26                                                                             /S/
                                                                      Jason Casillas
27                                                                    Plaintiff in pro per
28
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